Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 1 of 53




                         In The Matter Of:
                            Ruth Gray v
                          Conner Industries




                     John F. McMaster, M.D.
                       November 15, 2021




                   Original File 11.15.21 Dr. John F. McMaster.txt
                    Min-U-Script® with Word Index
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 2 of 53
Ruth Gray v                                                                                     John F. McMaster, M.D.
Conner Industries                                                                                    November 15, 2021
                                                     Page 1                                                        Page 3
 1                IN THE UNITED STATES DISTRICT COURT     1                          INDEX OF EXAMINATION
                       FOR THE DISTRICT OF KANSAS
 2                         AT WICHITA, KANSAS             2        JOHN F. MCMASTER, M.D.
 3                                                        3                          DIRECT    CROSS   REDIRECT   RECROSS
      RUTH GRAY,               )
 4    INDIVIDUALLY AND AS      )                          4        by Mr. Wilson.......5
      PERSONAL                 )
 5    REPRESENTATIVE AND       )                          5
      SPECIAL ADMINISTRATOR    ) Case No.
 6    OF THE ESTATE OF         ) 6:20-CV-1037-DDC-GEB     6        Signature of Witness..................137
      STEPHEN GRAY,            )
 7                             )                          7        Certificate of Reporter...............138
                               )
 8                Plaintiffs, )                           8
                               )
 9       vs.                   )                          9                                   EXHIBITS
                               )                                   EXHIBIT
10    CONNER INDUSTRIES,       )                         10        NUMBER            DESCRIPTION                    PAGE
      INC.,                    )
11                             )                         11        Number 66         Notice to Take                   6
                   Defendant. )                                                      Deposition Duces
12    ________________________)                          12                          Tecum
13                                                       13        Number 67         Curriculum Vitae                14
14                                                       14        Number 68         Case List of                     8
                                                                                     Dr. John McMaster,
15             DEPOSITION OF JOHN F. MCMASTER, M.D.,     15                          2011-2020
16    taken by the Plaintiff, before me, Nancy L. Rambo, 16        Number 69         John F. McMaster, M.D.          12
                                                                                     Fee Schedule
17    a Certified Shorthand Reporter, within and for the 17
                                                                   Number 70         Correspondence Dated            27
18    State of Kansas, at 2959 North Rock Road, Suite    18                          September 20, 2021
19    300, Wichita, Sedgwick County, Kansas, commencing 19         Number 71         Case List of                     9
                                                                                     Dr. John McMaster,
20    at 9:07 a.m. on the 15th day of November, 2021.    20                          2011-2021
21                                                       21        Number 72         Fifth Edition -                 69
                                                                                     The Medical Review
22                                                       22                          Officer's Manual
23                                                       23        Number 73         Article - Alcohol               74
                                                                                     Determination in the
24                                                       24                          Clinical Laboratory
25                                                       25

                                                     Page 2                                                        Page 4
 1                       A P P E A R A N C E S            1                                   EXHIBITS
                                                                   EXHIBIT
 2              Plaintiffs, Ruth Gray, Individually and as2        NUMBER            DESCRIPTION                    PAGE
 3    Personal Representative and Special Administrator   3        Number 74         Autopsy Report                  85
 4    of the Estate of Stephen Gray, appear by their      4        Number 75         Technical Note -                92
                                                                                     Comparative Alcohol
 5    attorney, Jeffrey A. Wilson, DeVaughn James Injury  5                          Concentrations in Blood
                                                                                     and Vitreous Fluid with
 6    Lawyers, 3241 North Toben, Wichita, Kansas 67226.   6                          Illustrative Case
                                                                                     Studies
 7            Defendant, Conner Industries, Inc.,         7
                                                                   Number 76         Autopsy Photographs            131
 8    appears by their attorney, Tyler E. Heffron,        8
 9    Triplett Woolf Garretson, LLC, 2959 North Rock      9
10    Road, Suite 300, Wichita, Kansas 67226.            10
11                                                       11
12                                                       12
13                                                       13
14                                                       14
15                                                       15
16                                                       16
17                                                       17
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Min-U-Script®                         Court Reporting Service, Inc. (316) 267-1201                          (1) Pages 1 - 4
         Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 3 of 53
Ruth Gray v                                                                                    John F. McMaster, M.D.
Conner Industries                                                                                   November 15, 2021
                                                    Page 5                                                      Page 7

 1     (Deposition Exhibit Numbers 66                         1   A. I believe so, yes.
 2     through 70 Marked for                                  2      MR. HEFFRON: Just to clarify, plus
 3     Identification.)                                       3      the records that were previously produced
 4                                                            4      in response as third supplement to the
 5     JOHN F. MCMASTER, M.D.,                                5      plaintiff's first request for production of
 6     having been first duly sworn, was                      6      documents.
 7     examined and testified as follows:                     7      MR. WILSON: Yes, thank you. And
 8                                                            8      Mr. Heffron gave me a, I suppose it would
 9     DIRECT EXAMINATION                                     9      be a response to the notice listing in bold
10     BY MR. WILSON:                                        10      some documents that are responsive, and he
11   Q. Good morning, Dr. McMaster.                          11      includes reference to some Bates stamped
12   A. Good morning.                                        12      documents that would also be included, just
13   Q. I know that you've done this a time or two, so I     13      for the record.
14   won't go over all the rules with you, but if you        14      BY MR. WILSON:
15   don't understand one of my questions today, will        15   Q. Have you had any email correspondence with
16   you please ask me to clarify.                           16   Mr. Heffron or Mr. Woolf?
17   A. Yes.                                                 17   A. Other than setting up a depo time, not that I
18   Q. What did you do to prepare for today's               18   sit here and recall.
19   deposition?                                             19   Q. Okay. And let's see here. Okay. And the
20   A. I reviewed my file, my opinion, and the              20   updated testimony list, it looks like it just
21   deposition testimony of Dr. Bledsoe, along with         21   includes four new additions from the one
22   the documents that he provided during his               22   originally produced; is that accurate?
23   deposition.                                             23   A. I -- you're looking at it, I don't have it.
24   Q. After reviewing Dr. Bledsoe's deposition             24   Q. Okay. Well --
25   testimony, have you formed any new opinions in          25   A. I try to keep it as up to date as I can.

                                                    Page 6                                                      Page 8

 1   this case?                                               1   Q. We'll skip over one, I've already marked your
 2   A. No.                                                   2   report as Exhibit 67 (sic), go to Exhibit 68 for
 3   Q. Okay. So I'm going to have the court reporter         3   me. Should be the next one there.
 4   put in front of you, or you may already have it,         4      MR. WILSON: And, Tyler, I have
 5   Deposition Exhibit 66, I believe that's where we         5      copies of all this if you need it.
 6   left off.                                                6      MR. HEFFRON: I may have some of
 7       MR. HEFFRON: I'll trust you're                       7      that, but the report, is that the next
 8       right.                                               8      exhibit?
 9       BY MR. WILSON:                                       9      MR. WILSON: The report is the next
10   Q. This is the notice of deposition we sent to          10      numbered one, but I'm going over to 68 for
11   Mr. Heffron and Mr. Woolf, have you reviewed            11      the testimony list now.
12   this before?                                            12      MR. HEFFRON: Okay.
13   A. Yes, I reviewed it last week when it was emailed     13      BY MR. WILSON:
14   to me.                                                  14   Q. This is the original testimony list you produced
15   Q. It was emailed to you last week?                     15   to us, when did you prepare this?
16   A. Yes.                                                 16   A. I don't know, but it was after 12/16 of 2020.
17   Q. And there's an Exhibit A here that lists some        17   Q. Okay. Since 12/16 of 2020, I'm seeing you gave
18   documents I requested you bring with you today.         18   testimony in a federal case when Mr. Gibson,
19   Your counsel, or Mr. Heffron, has provided me           19   John Gibson retained you?
20   with a flash drive with some documents and a            20   A. If you have an updated case list, I appreciate
21   printed-out fee schedule, an updated testimony          21   being able to look at it.
22   list. The things that are on this flash drive,          22   Q. Sure. What number did we go off at? I always
23   the updated fee schedule, the updated testimony         23   try not to pre-mark exhibits specifically for
24   list, is that -- is that all the responsive             24   this reason, but I messed up here.
25   documents to this request on Exhibit A?                 25      MR. WILSON: Mark this as


Min-U-Script®                        Court Reporting Service, Inc. (316) 267-1201                        (2) Pages 5 - 8
         Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 4 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                   Page 9                                                     Page 11

 1       Exhibit 71, please.                                 1   A. Excuse me?
 2       (Deposition Exhibit Number 71                       2   Q. You don't recall which matter that would have
 3       Marked for Identification.)                         3   been?
 4       BY MR. WILSON:                                      4   A. None on this list.
 5   Q. This is just the updated testimony list.             5   Q. Okay. I know it's not on the list, but you
 6       MR. HEFFRON: I think I gave you all                 6   don't remember which matter that would have been
 7       the copies of everything I printed.                 7   where you were last retained on behalf of the
 8       MR. WILSON: Yeah, sure did, here                    8   plaintiff?
 9       you go.                                             9   A. No, as I said, all my testimony I try to keep
10       BY MR. WILSON:                                     10   track of.
11   Q. So I put in front of you Exhibit 71, if you         11   Q. Did you take any notes while you were working on
12   could just briefly glance at this and the one          12   this file?
13   that's marked as Exhibit 68 and confirm for me,        13   A. Not that I recall. There wasn't a whole lot to
14   looks like there's just four new additions from        14   take notes on.
15   2021 on here?                                          15   Q. Can you tell me how much you've been paid so far
16   A. Yes, that is correct.                               16   for your work in this case?
17   Q. Does this list, Exhibit 71, include all of your     17   A. $4,775.
18   trial, deposition, and other hearing testimony?        18   Q. You said 4,775?
19   A. To the best of my knowledge, I try to keep it up    19   A. $75, correct.
20   to date.                                               20   Q. Okay. Now, is that time and money just
21   Q. And do any -- are any of these cases cases where    21   representative of the time needed to prepare
22   you were retained on behalf of the plaintiff?          22   your report?
23   A. I think that question has been asked before, and    23   A. Yes, sir.
24   the answer to that question is yes.                    24   Q. Now, today Mr. Heffron's brought me an updated
25   Q. Can you point any of them out to me?                25   fee schedule; you originally produced one with

                                                  Page 10                                                     Page 12

 1   A. I think I've done that in the past. It will          1   your expert disclosure. Were your hourly
 2   require me sitting here contemplating what I            2   rates -- well, looks like you charge the same
 3   recollect from each of these cases. My prior            3   regardless of what fee schedule we're working
 4   testimony I pointed out the plaintiff's                 4   on, $325 an hour; is that accurate?
 5   testimonies that I've done. The first one that          5   A. The fee schedule I'm looking at was last updated
 6   comes to mind that I can recall as I sit here           6   for 2020.
 7   without these files was in 2015, Looney versus          7   Q. Okay.
 8   Murphey, which was a med mal case out of                8   A. That's my current charges.
 9   Missouri. But as I said, I answered that                9   Q. You're looking at Exhibit 69?
10   question before, and without these files going         10   A. Correct.
11   back before 2015 and even after 2015, I can't          11   Q. And you said these are your current charges?
12   remember the circumstances around each and every       12   A. That's correct.
13   one of them.                                           13   Q. Does your fee schedule change from case to case?
14   Q. Well, when is the last time you remember being      14   A. No.
15   retained on behalf of a plaintiff?                     15   Q. So, for instance, the charge for in-court
16   A. As I said, as I sit here right now, 2015 is the     16   testimony is the same on every one of your
17   last time that I recall giving testimony either        17   cases?
18   at depo or at trial for the plaintiff.                 18   A. To the best of my recollection. The cases tend
19   Q. Sure. And -- and beyond just testimony, when's      19   to go on for years, and my fee schedule, I try
20   the last time you were retained by a plaintiff's       20   to update annually.
21   attorney?                                              21   Q. When's the last time you changed your fee
22   A. I don't know, probably within the last year to      22   schedule?
23   review circumstances but no testimony occurred.        23   A. I believe it was end of 2019, 2020. I don't
24   Q. Okay. But you don't recall which matter that        24   recall as I sit here today.
25   would have been?                                       25   Q. So as far as you can remember, sometime at the


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                       (3) Pages 9 - 12
         Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 5 of 53
Ruth Gray v                                                                                 John F. McMaster, M.D.
Conner Industries                                                                                November 15, 2021
                                                 Page 13                                                    Page 15

 1   end of 2019 or in 2020 was the last time it was        1   I'm recertified by the American Board of
 2   updated?                                               2   Emergency Medicine from, I think, 2018 to 2028.
 3   A. Correct, I don't remember when I did it.            3   Q. Is it a ten-year certification?
 4   Q. And that would have been what's reflected on        4   A. Yes.
 5   Exhibit 69?                                            5   Q. Okay. And have you been -- are you now a
 6   A. That's correct.                                     6   medical review officer?
 7   Q. Okay.                                               7   A. I don't recall, I may have updated that, how
 8     MR. HEFFRON: Jeff, I have a                          8   long is it good for? Five years. I think it
 9     question.                                            9   was updated and may expire in 2021, but I can't
10     MR. WILSON: Yeah.                                   10   recall as I sit here. Obviously, this hasn't
11     MR. HEFFRON: Is the copies that my                  11   been updated, like I said, since 2016.
12     paralegal brought in this morning, are they         12   Q. Well, are you currently doing any work as a
13     the same as the one you'd previously been           13   medical review officer?
14     provided, can you tell, are they dated the          14   A. Not actively. Occasionally, I get inquiries
15     same?                                               15   from attorneys and insurance companies with
16     MR. WILSON: They -- the new one is                  16   respect to drug screening.
17     dated 2021 and looks like there might be            17   Q. That's not something you would need a medical
18     changes in formatting and then deposition           18   review officer certification for, though?
19     charges are the same -- oh, it looks like           19   A. Medical review officer certification is not
20     it's the exact same --                              20   needed for any of my current positions or
21     MR. HEFFRON: Okay.                                  21   medical activities.
22     MR. WILSON: -- just a different                     22   Q. Okay. Are you still a senior aviation medical
23     date.                                               23   examiner?
24     MR. HEFFRON: I wasn't attempting to                 24   A. Yes, sir.
25     suggest they were the same or different, I          25   Q. And do you still have your HIMS

                                                 Page 14                                                    Page 16

 1      just didn't know, I hadn't put them side by         1   training/verification?
 2      side so ...                                         2   A. Yes, sir.
 3      MR. WILSON: Okay.                                   3   Q. And HIMS, what does that stand for?
 4      BY MR. WILSON:                                      4   A. Human interventional motivational study.
 5   Q. I believe you have Exhibit 67 in front of you,      5   Q. Tell me about that, what does that mean?
 6   which would be your CV, if I'm not mistaken?           6   A. It is an added designation that is given to
 7   A. Yes, sir.                                           7   aviation medical examiners that take additional
 8   Q. Okay. Is this up to date?                           8   training to serve in the capacity of regulating
 9   A. It was last revised, this copy that I'm looking     9   pilots that have drug or alcohol impairment
10   at, on 2/24 of 2016.                                  10   issues and/or pilots that are utilizing
11   Q. Okay. So let's go over a few things, make sure     11   disqualifying medications.
12   they're still accurate, are you still licensed        12   Q. You say that's a extra certification that --
13   in Kansas, Louisiana, Missouri?                       13   A. Extra training --
14   A. I have active licenses in Kansas and Louisiana;    14   Q. Extra training.
15   my license in Missouri I inactivated because I        15   A. -- certification and updates that have to be
16   don't use it.                                         16   done every three years.
17   Q. Okay. So Missouri license is inactive status at    17   Q. So that's extra training, certification that
18   this moment in time?                                  18   allows you to regulate pilots with drug and
19   A. Correct.                                           19   alcohol issues among other things?
20   Q. Okay. Go over to page 2 for me. There's a list     20   A. An aviation medical examiner serves as an agent
21   of certifications on page 2, are those still          21   for the Federal Aviation Administration. We
22   accurate today?                                       22   collect data, do exams, and submit reports to
23   A. Yes, sir.                                          23   the FAA, who is the ultimate authority in
24   Q. Any new ones that aren't listed on here?           24   granting medical certification to pilots.
25   A. Not that I can recall. Other than to say that      25   Q. Okay. But there's aviation medical examiners


Min-U-Script®                      Court Reporting Service, Inc. (316) 267-1201                     (4) Pages 13 - 16
         Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 6 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                  Page 17                                                     Page 19

 1   and then there's extra HIMS training,                   1   depending on what class certification you want
 2   certification, and the extra HIMS certification         2   and how old you are, visual acuity. Those are
 3   is specifically towards regulating pilots with          3   the three things that come to mind.
 4   drug and alcohol issues?                                4   Q. And as a aviation medical examiner, when a
 5   A. Evaluating and monitoring pilots that have drug      5   urinalysis is performed, are you actually doing
 6   and alcohol issues --                                   6   the testing of that specimen?
 7   Q. Okay.                                                7   A. You test the urine for glucose and protein to
 8   A. -- and pilots that are on disqualifying              8   identify a tendency for diabetes or kidney
 9   medications.                                            9   disease.
10   Q. Okay. So what does a -- what's the difference       10   Q. I assume drug testing is part of that too?
11   between a aviation medical examiner and a senior       11   A. No, sir.
12   aviation medical examiner?                             12   Q. Okay. So your job is for -- your role as an
13   A. An aviation medical examiner is initially           13   aviation medical examiner doesn't include any
14   allowed to grant second and third class medical        14   type of drug testing?
15   certifications; a senior aviation medical              15   A. No, sir.
16   examiner is allowed to issue first class medical       16   Q. What about the HIMS training certification, does
17   certificates in addition to second and third.          17   that involve drug testing?
18   Q. So just describe for me, what do aviation           18   A. Yes, sir.
19   medical examiners do?                                  19   Q. And would an aviation medical examiner such as
20   A. We undergo -- initially to become an aviation       20   yourself do that drug testing?
21   medical examiner, you have to be a practicing          21   A. We obtain the specimens, we do not perform the
22   physician. You have to have completed, I think         22   testing, at least I don't, it's sent out to a
23   completed a residency, you have to have a state        23   certification lab.
24   license, and you have to complete a one-week           24   Q. Right, you send a specimen out to a lab and you
25   training course to become an aviation medical          25   get the results back?

                                                  Page 18                                                     Page 20

 1   examiner that's given by the FAA, then take a           1   A. Correct.
 2   test, and you are granted a one-year, annually          2   Q. Any part of your role as a aviation medical
 3   renewable certification, if you will, to grant          3   examiner involve postmortem drug testing or
 4   medical certificates to people aspiring to have         4   alcohol testing?
 5   a first, second, or third class medical. You're         5   A. No, I don't perform services in that capacity on
 6   held to carrying out the duties of a physician          6   crash victims, if you will.
 7   and evaluating individuals as far as their              7   Q. I know that you've been a practicing emergency
 8   suitability or lack of suitability to possess a         8   physician here in Wichita for approximately
 9   medical certificate.                                    9   35 years? Maybe 37 or --
10   Q. Okay. So if I could put that in a nutshell,         10   A. 36.
11   aviation medical examiners certify pilots?             11   Q. 36. 36 years as an emergency physician here in
12   A. They certify individuals that they are medically    12   Wichita, does that -- in your role as an
13   qualified to have a medical certificate, which         13   emergency physician, do you perform postmortem
14   is one of the documents that pilots need to            14   drug testing?
15   pilot an airplane.                                     15   A. That's not part of my practice in the emergency
16   Q. What sort of things do you test to issue medical    16   department at the bedside, no.
17   certificates for pilots?                               17   Q. It sounds like it may have been done a time or
18   A. You do a history, you do a physical exam, and       18   two, though, or am I misreading you there?
19   you perform indicated tests under the guidance         19   A. Well, I -- I don't understand your question. An
20   of the FAA and the federal air regulation rules        20   emergency physician sees living and/or patients
21   and regulations.                                       21   that present to an emergency department and make
22   Q. You say you perform indicated tests, which          22   dispositions. Obviously, when people expire in
23   tests?                                                 23   the emergency department, things happen
24   A. For a first, second, and third class medical,       24   afterwards that we may or may not have a role
25   you need to have a urinalysis and an EKG,              25   in, but ordering tests on deceased individuals


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                      (5) Pages 17 - 20
         Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 7 of 53
Ruth Gray v                                                                                  John F. McMaster, M.D.
Conner Industries                                                                                 November 15, 2021
                                                  Page 21                                                    Page 23

 1   is not part of our job.                                 1   updated your CV?
 2   Q. So, I mean, you as emergency physician, you have     2   A. No, this is my formal education; it does not
 3   not performed postmortem alcohol testing?               3   include any continuing medical education that
 4   A. No, I've never ordered a test because it doesn't     4   I've participated in since graduation from
 5   help me treat the patient.                              5   medical school in 1982.
 6   Q. Have you ever performed postmortem alcohol or        6   Q. Has any of your continuing medical education
 7   drug testing?                                           7   focused on postmortem alcohol and drug testing?
 8   A. Have I ever ordered it, not that I can recall        8   A. Yes.
 9   off the top of my head, no.                             9   Q. Can you name any of them?
10   Q. And you're not a toxicologist, right?               10   A. In my course of training and recredentialing
11   A. No, sir.                                            11   with the FAA, those topics are present in the
12   Q. And you're not a pathologist?                       12   presentations that are given, yes.
13   A. No, sir.                                            13   Q. Would you say it's a focus of the presentation,
14   Q. And none of your certifications are in boards or    14   postmortem alcohol and drug testing?
15   organizations devoted to drug and alcohol              15   A. No.
16   testing?                                               16   Q. And those presentations, do they teach you how
17   A. I don't understand your question, it's              17   to do postmortem alcohol and drug testing?
18   misleading.                                            18   A. No.
19   Q. Okay. Have you performed any autopsies in your      19   Q. Do they teach you how to evaluate postmortem
20   career?                                                20   drug and alcohol testing?
21   A. No, sir.                                            21   A. No, they don't teach you how to evaluate
22   Q. Are you familiar with the methods that are          22   postmortem drug and alcohol testing, but they
23   industry standard in the autopsy field for drug        23   teach providers the ramifications of use of
24   and alcohol testing?                                   24   drugs and alcohol in the flying public.
25   A. I am familiar with the methodology utilized in      25   Q. I want to move on to the professional

                                                  Page 22                                                    Page 24

 1   drug and alcohol testing in the industry and            1   appointment section of your CV, it looks like it
 2   required by the department of transportation.           2   might span two pages. Well, one's labeled
 3   Q. But does that include the methodologies used for     3   special appointments, and the second one is
 4   postmortem drug and alcohol testing?                    4   professional society fellowship, slash,
 5   A. The technology used for postmortem testing as        5   appointments. Anything that is not on here that
 6   far as I know is very similar to the same               6   should be since you last updated your CV?
 7   methodology that's utilized in analyzing                7   A. Not that I can recall.
 8   specimens from living people.                           8   Q. Are you still a clinical assistant professor at
 9   Q. And what are those methodologies? Or, excuse         9   the University of Kansas Medical Center School?
10   me, what -- what is the equipment that is used         10   A. As far as I know, it's a volunteer position.
11   to do that?                                            11   Q. Is your list of hospital appointments accurate
12   A. It's equipment that's typically in laboratory       12   today?
13   settings, has to do with different types of            13   A. Yes, to the best of my knowledge.
14   chromatography, both qualitative and                   14   Q. Well, I mean --
15   quantitative testing.                                  15   A. On second thought, I'm no longer -- I no longer
16   Q. Are there protocols that have to be followed        16   have active staff privileges at Lawrence because
17   during that testing to ensure accuracy?                17   I'm no longer providing any services up there.
18   A. The reference labs, I'm sure, are bound by          18   I'm active staff at Via Christi Hospital, I'm
19   certain protocols that are delegated by the            19   active staff at Rock Regional Hospital, and
20   industry as well as the government.                    20   I'm -- I don't know how they change the staff
21   Q. Do you know what any of those protocols involve?    21   now, but I'm not actively practicing at Wesley,
22   A. I'm not familiar with the protocols, no.            22   I may be associate staff; if you don't admit
23   Q. Let's look at your education section on your CV.    23   patients or care for patients, they tend to put
24   Is there anything that's missing from here, you        24   you in a different category.
25   know, that should be added since you last              25   Q. Okay. So you --


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                     (6) Pages 21 - 24
         Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 8 of 53
Ruth Gray v                                                                                    John F. McMaster, M.D.
Conner Industries                                                                                   November 15, 2021
                                                  Page 25                                                      Page 27

 1   A. But --                                               1   process; is that accurate?
 2   Q. -- you said that you are active at Rock              2   A. Correct.
 3   Regional?                                               3   Q. And that includes things like making sure
 4   A. Yes, sir.                                            4   specimens are uncontaminated?
 5   Q. Okay. Anything else that --                          5   A. Using your medical expertise to assure the
 6   A. No.                                                  6   medical validity to the results and whether
 7   Q. -- needs to be updated on this?                      7   they're medically valid.
 8   A. Rock Regional and Via Christi, it's now              8   Q. And that would include things like making sure
 9   Ascension Via Christi, are the only hospitals I         9   the proper protocols were followed by the lab?
10   actively practice emergency medicine at                10   A. From collection to lab, yes.
11   currently.                                             11   Q. Okay. You can pull out your report now, I
12   Q. Then I want to move on to the professional          12   believe it's marked Exhibit 60 -- no, wait, 70,
13   societies listed on your CV. Same question, are        13   I think. Is that right?
14   there any that have been added to this since you       14   A. Put them in order since he jumps back and forth.
15   last updated your CV?                                  15   Q. Should be the last jump, I hope.
16   A. No, but the CV is dated. The American Academy       16   A. Okay.
17   of Disability Evaluating Physicians has changed        17   Q. Is that marked Exhibit 70?
18   its name, it's now the International Academy of        18   A. Yes, sir.
19   Independent Medical Examiners.                         19   Q. And that's a copy of your report issued in this
20   Q. Okay.                                               20   case?
21   A. That obviously occurred sometime after 2016.        21   A. Yes, sir.
22   Other than that, I can't say that there's any          22   Q. I know that in your report you list that you
23   changes.                                               23   reviewed six pages of deposition testimony
24   Q. Okay. Then the last page, your practice             24   excerpts. Do you know which excerpts you
25   profile, is this up to date? I'm guessing not          25   reviewed?

                                                  Page 26                                                      Page 28

 1   because I think I see Lawrence Emergency                1   A. Not as I sit here today, but as I recall, it was
 2   Medicine Associates listed on here, anything            2   individuals or law enforcement personnel that
 3   else that's not correct about this?                     3   were present after the individual was found, at
 4   A. CEP America has changed its name to Vituity;         4   or after the individual was found, Mr. Gray was
 5   Via Christi Regional Medical Center has changed         5   found.
 6   their name to Ascension Via Christi. That would         6   Q. And did these deposition excerpts help inform
 7   be it.                                                  7   your opinions in this case?
 8   Q. So other than the two name changes you mentioned     8   A. They gave additional information; I don't know
 9   and then Lawrence Emergency Medicine Associates,        9   that they had significant impact in my decision
10   everything else is accurate?                           10   making other than to establish a chronology and
11   A. Correct. Emergency Services, PA now is a            11   time frame of what occurred.
12   defunct corporation as far as I know.                  12   Q. And you also reviewed six photographs, do you
13   Q. Okay. What does a medical review officer do?        13   remember which photographs you reviewed?
14   A. A medical review officer reviews, from a medical    14   A. As I look here, I reviewed 20 autopsy
15   standpoint, the results of drug and alcohol            15   photographs.
16   testing for industries, governmental entities,         16   Q. Yes, and then there's also an item listing
17   or whoever the asking party is to identify             17   postaccident photographs of the scene, the very
18   reasonable medical explanations for the results.       18   first bullet point on page 2 of Exhibit 70. Do
19   Q. Would part of the medical review officer's job      19   you remember which photographs you reviewed?
20   entail reviewing and analyzing postmortem drug         20   A. No, but it was six. I think, if I'm not
21   and alcohol testing?                                   21   mistaken, Mr. Heffron gave you a zip drive with
22   A. It's reviewing the results of those -- results      22   those pictures on it.
23   are obtained from a postmortem individual, yes.        23   Q. I don't know that the pictures are on here. I
24   Q. And part of the job of a medical review officer     24   think they were just identified as being
25   is ensuring the integrity of the drug testing          25   previously produced. Well, just I know you


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                       (7) Pages 25 - 28
         Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 9 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                  Page 29                                                     Page 31

 1   can't remember exactly which photographs they           1   which are multifactorial.
 2   were, but were they photographs of the bin, of          2   Q. It's not a disease, it's a sign of some sort of
 3   Mr. Gray, both, the trailer? Do you remember            3   condition or disease?
 4   what --                                                 4   A. It's a sign of disease processes that are
 5   A. All three.                                           5   multifactorial in origin.
 6   Q. All three, okay. And do those photographs help       6   Q. Okay. Now, the thickening -- or the enlarged
 7   inform your opinions in this case?                      7   heart and the thickening of the walls of the
 8   A. Again, it gave me information that allowed me to     8   main pumping chamber of the heart, that didn't
 9   reconstruct the chronology of the events that           9   cause Mr. Gray to become engulfed in sawdust,
10   occurred that impacted my decisions and                10   did it?
11   opinions, yes.                                         11   A. I don't know of any connection between heart
12   Q. Exhibit 70 is your report, does this report         12   size and sawdust as I sit here today, no.
13   contain all of -- all of the opinions you're           13   Q. So how did this contribute to Mr. Gray's death?
14   prepared to testify about in this case?                14   A. People with enlarged hearts and left ventricular
15   A. It contains all of the opinions I was asked to      15   hypertrophy are more predisposed to acute
16   opine on. I can -- can't say that if a question        16   cardiac events than someone with a normal sized
17   is asked that I won't have an opinion based on         17   heart and normal cardiac anatomy.
18   this report.                                           18   Q. And did Mr. Gray experience an acute cardiac
19   Q. Okay. But without a question being asked, you       19   event?
20   don't have an intention of presenting another          20   A. We don't know.
21   opinion that's not labeled in this Exhibit 70?         21   Q. So if we don't know, then how did this
22   A. No, sir.                                            22   contribute to his death?
23   Q. So I want to go over to page 2 here under           23   A. People with cardiomegaly and left ventricular
24   opinion, and in that first paragraph under             24   hypertrophy are prone to sudden cardiac
25   opinion, you say that, the last sentence, the          25   arrhythmias and sudden cardiac death.

                                                  Page 30                                                     Page 32

 1   following multiple factors contributed to               1   Q. Right, so -- but we don't know whether that
 2   Mr. Gray's unanticipated sudden death, and              2   happened, right?
 3   point 1 is sudden/irreversible respiratory              3   A. You're correct, we have no eyewitness accounts
 4   compromise due to aspiration and asphyxia. Did          4   or any evidence to say one way or the other.
 5   I read that right?                                      5   Q. So in other words, your point 2 on page 2 that
 6   A. Yes, sir.                                            6   he had enlarged heart with thickening of the
 7   Q. What did you mean by aspiration?                     7   walls of the heart, your testimony is that
 8   A. The postmortem evaluation, along with the            8   contributed to Mr. Gray's death because it made
 9   photographs that I was privy to look at, are            9   him more predisposed to an event that we don't
10   indicative of presence of sawdust in his               10   know happened or not?
11   airways.                                               11   A. I'm confused by your long-winded question.
12   Q. Was the sawdust present in his lungs?               12   Q. Okay. We don't know one way or the other
13   A. In the major airways of the lungs, I believe it     13   whether Mr. Gray experienced a cardiac event?
14   was, yes.                                              14   A. We have no independent information to tell us
15   Q. And in point 2, you say, and I may butcher the      15   one way or the other other than the evidence
16   pronunciation here, but cardiomegaly?                  16   that he had enlarged heart and hypertrophy,
17   A. Yes, sir.                                           17   which, again, predisposes individuals over the
18   Q. With left ventricular hypertrophy?                  18   normal population to sudden cardiac death.
19   A. Yes, sir.                                           19   Q. What percentage of people in the population have
20   Q. That just means an enlarged heart with              20   an enlarged heart?
21   thickening of the walls of the heart's main            21   A. I don't know the answer to that question, I'm
22   pumping chamber?                                       22   sure I could find it for you.
23   A. Yes, sir.                                           23   Q. Is it a fairly common condition?
24   Q. Now, that's not a disease, is it?                   24   A. Again, I -- as I sit here today, I can't give
25   A. It is evidence of progressive disease processes,    25   you a speculation on that.


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                      (8) Pages 29 - 32
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 10 of 53
Ruth Gray v                                                                                  John F. McMaster, M.D.
Conner Industries                                                                                 November 15, 2021
                                                 Page 33                                                     Page 35

 1   Q. Okay. Bullet point 3 here, you say                  1   has no cardiac activity or movement of blood
 2   atherosclerotic coronary artery disease?               2   through the liver, I cannot envision how the
 3   A. Yes, sir.                                           3   liver continues to metabolize alcohol.
 4   Q. And that's just plaque buildup inside the walls     4   Q. And that's the body's way of eliminating alcohol
 5   of the arteries?                                       5   from the system?
 6   A. Narrowing of the coronary arteries, yes.            6   A. 98 percent of the alcohol is metabolized by the
 7   Q. That's a common condition in America?               7   liver.
 8      MR. HEFFRON: Object to form.                        8   Q. And the other 2 percent is things like
 9   A. It's seen as we live longer in this society and     9   breathing, sweating?
10   our diets and genetics predispose us to that and      10   A. And urine.
11   habits.                                               11   Q. Urine. And once someone dies, they're no longer
12      BY MR. WILSON:                                     12   breathing?
13   Q. I mean, that's -- that's something that happens    13   A. Correct.
14   to almost everybody as they age?                      14   Q. They're no longer sweating?
15      MR. HEFFRON: Object to form.                       15   A. Correct.
16   A. Again, there -- you can live to be 90 and have     16   Q. And they're no longer urinating?
17   no atherosclerotic disease. Again, you're             17   A. Correct.
18   asking me to speculate on things I don't have         18   Q. So in other words, alcohol is not being
19   independent knowledge as I sit here today to          19   eliminated from the body after death?
20   answer your questions.                                20   A. Correct.
21      BY MR. WILSON:                                     21   Q. And then point 5 here, you say, the alcohol
22   Q. Well, narrowing of the arteries didn't cause       22   level, and in parentheses, greater than
23   Mr. Gray to become engulfed in sawdust, did it?       23   .04 milligrams per liter, at time of death
24   A. There's no correlation between narrowing of the    24   consistent with statutory impairment, and then
25   arteries and being engulfed in sawdust, you're        25   you cite a Kansas statute there. What do you

                                                 Page 34                                                     Page 36

 1   correct.                                            1      mean by this?
 2   Q. And the fourth bullet point here is that the     2      A. I think it's fairly self-explanatory.
 3   vitreous alcohol level is greater than the blood    3      Q. Well, is it blood alcohol level or vitreous
 4   alcohol level, suggestive of subclinical            4      alcohol level?
 5   evidence of alcohol-induced mental acuity           5      A. You have to go to the statute to look at the
 6   changes. Did I read that right?                     6      terminology and then ask me questions about
 7   A. Yes, sir.                                        7      that.
 8   Q. And vitreous, you're talking about the           8      Q. Do you not know?
 9   gelatinous substance in the eye; is that            9      A. I'm here to answer your questions.
10   accurate?                                          10      Q. Well, what I'm saying, Dr. McMaster, is you
11   A. Yes, sir.                                       11      wrote this point 5, correct?
12   Q. That has a higher water content than the blood, 12      A. That's correct.
13   does it not?                                       13      Q. And when you say alcohol level, are you
14   A. Has a higher what?                              14      referring to blood alcohol level or vitreous
15   Q. Water content?                                  15      alcohol level?
16   A. I believe so, yes.                              16      A. I'm referring to the number .04 milligrams per
17   Q. And when someone consumes alcohol, the alcohol  17      deciliter present in body fluids, tissue, blood,
18   is diffused throughout the water in the body?      18      vitreous, whatever you want to define it as.
19   A. Alcohol is absorbed, primarily taken up in      19      You need to -- I can't really comment, I don't
20   water-contained tissues, it is then metabolized    20      write the laws, I just look at what's printed,
21   in the liver, and then it is eliminated or, if     21      and as far as I recall, the statute quoted says
22   you will, as the blood flow continues.             22      an alcohol level, and it doesn't quantify what
23   Q. When someone dies, does the liver keep          23      type of tissue or what body fluids it's
24   metabolizing alcohol?                              24      pertaining to.
25   A. To the best of my knowledge, when someone dies, 25      Q. Well, Doctor, isn't alcohol in the blood how we


Min-U-Script®                      Court Reporting Service, Inc. (316) 267-1201                      (9) Pages 33 - 36
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 11 of 53
Ruth Gray v                                                                                    John F. McMaster, M.D.
Conner Industries                                                                                   November 15, 2021
                                                   Page 37                                                     Page 39

 1   determine whether someone's intoxicated?                 1   A. Again, I use that as one point in the multiple
 2      MR. HEFFRON: Object to form.                          2   other information I have to identify impairment.
 3   A. Intoxication is more a -- I can't tell you what       3   Q. But that one point, you've never relied on a
 4   the statutes refer to. Again, it says alcohol            4   number for any other bodily fluid?
 5   level, it doesn't specify the tissue or the              5   A. I'm confused by the question.
 6   fluid type, it has a distinct level; and                 6   Q. Well, Doctor, you can -- you can test any bodily
 7   intoxication, as far as I understand it, is more         7   tissue or fluid for alcohol, correct?
 8   a legal definition than a medical definition,            8   A. Correct.
 9   albeit they've used numbers in the medical and           9   Q. And you've never relied on a number, alcohol
10   law enforcement community to identify a certain         10   content number from any other tissue besides
11   number as intoxication or impairment.                   11   breath, urine, and blood?
12      BY MR. WILSON:                                       12   A. To incorporate into my decision making and
13   Q. Well, I'm not asking what the statute's talking      13   opinions, yes.
14   about. What I'm asking about is just in terms           14      MR. HEFFRON: Jeff, would this be a
15   of the medical field, when you're trying to             15      good stopping point for a men's room break?
16   figure out if someone is impaired, you look at          16      MR. WILSON: Yeah, sure.
17   their blood alcohol content?                            17      (Thereupon, a recess was taken;
18   A. I look at the individual and the history and         18      whereupon, the following was had.)
19   physical exam findings to identify impairment           19      BY MR. WILSON:
20   and bring with that a number that is accepted in        20   Q. All right. Doctor, I want you to take back a
21   the medical community and the legal community to        21   look at Exhibit 71 for me, your updated
22   identify intoxication and impairment.                   22   testimony list. Do you know if any of these
23   Q. In your career as either an emergency room           23   cases involve a determination of whether someone
24   physician, medical review officer, an aviation          24   was impaired?
25   medical examiner, have you ever ordered drug or         25   A. As I sit here without spending time, no. I

                                                   Page 38                                                     Page 40

 1   alcohol analysis to be performed on the vitreous         1   think, I can't recall, but impairment is an
 2   fluid?                                                   2   issue in cases I've looked at before. Now,
 3   A. No.                                                   3   whether I've testified, I'll have to -- there
 4   Q. It's always been on either the blood or the           4   may be a couple that had to do with impairment,
 5   urine, correct?                                          5   but I can't recall who they are right now.
 6   A. Blood, urine, breath.                                 6   Q. Have you ever had to evaluate -- well, strike
 7   Q. One of those three?                                   7   that. How many times in the past have you been
 8   A. Yes, sir.                                             8   asked to evaluate postmortem alcohol testing
 9   Q. And that's because that's how you evaluate            9   results to determine whether someone was
10   whether someone is impaired, correct?                   10   impaired at the time of death?
11   A. No, that's --                                        11   A. I don't understand your question, in what
12      MR. HEFFRON: Object to the form.                     12   context?
13   A. -- how I get the number to put in conjunction        13   Q. Any context?
14   with my history and physical exam to identify           14   A. I would venture to say that I'm asked to opine
15   impairment and intoxication.                            15   on that probably on a yearly basis over the last
16      BY MR. WILSON:                                       16   10 to 20 years, but, again, I can't sit here and
17   Q. And the number you get whenever you order those      17   recollect each and every time that question is
18   tests is what you use to evaluate whether               18   asked of me.
19   someone is impaired?                                    19   Q. Do you remember the last time you were asked to
20   A. I use that number in conjunction with my history     20   make such an evaluation?
21   and exam findings to give definition of                 21   A. Not as I'm sitting here today, no. It hasn't
22   impairment.                                             22   been within the last several months, I can tell
23   Q. So in your career, you only use blood, urine,        23   you that.
24   and breath to determine whether someone is              24   Q. So at the bottom of this page 2 of your
25   impaired?                                               25   report --


Min-U-Script®                        Court Reporting Service, Inc. (316) 267-1201                     (10) Pages 37 - 40
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 12 of 53
Ruth Gray v                                                                                    John F. McMaster, M.D.
Conner Industries                                                                                   November 15, 2021
                                                  Page 41                                                      Page 43

 1   A. Now we're back on another --                         1      MR. WILSON: I understand.
 2   Q. Yes, we are back --                                  2      BY MR. WILSON:
 3   A. Okay.                                                3   Q. So moving on to the next page of your report,
 4   Q. -- on Exhibit 70.                                    4   you get into talking about Dr. Bledsoe's report
 5   A. Okay.                                                5   and his opinions. One of the things you say
 6   Q. You say, it is well documented within the            6   here is Dr. Bledsoe's purported reliance on
 7   medical literature that despite the appearance          7   rapid sequence intubation is not an appropriate
 8   of normal behavior, computation speed decreases,        8   analogy and, based on my training, education,
 9   mental acuity decreases, and individuals                9   and experience, not a product of reliable
10   manifest increased self-confidence and decreased       10   principles or methods in the medical community
11   inhibition. Did I read that right?                     11   for determining a period of time for conscious
12   A. Yes, sir.                                           12   pain and suffering. Did I read that right?
13   Q. What sort of medical literature are you talking     13   A. Yes, sir.
14   about here?                                            14   Q. So you think it is unreliable for Dr. Bledsoe
15   A. The plethora of medical literature out there        15   to -- well, strike that. You don't think it's
16   that talks about the effects of drugs and              16   appropriate for Dr. Bledsoe to rely on rapid
17   alcohol on individuals.                                17   sequence intubation for his determination of how
18   Q. And did you rely on any of those, any of that       18   long Mr. Gray was alive in the sawdust?
19   literature to form your opinions?                      19   A. That's correct.
20   A. Not any specific piece of the literature; it's      20   Q. What happens when someone undergoes rapid
21   abundant in the medical literature.                    21   sequence intubation?
22   Q. But you can't tell me an article as you --          22   A. Rapid sequence intubation is a term that is
23   A. Not as I sit here today, it's just general          23   utilized to identify the process and procedure
24   medical knowledge.                                     24   for inducing an unconscious state in an
25   Q. And you didn't read any -- any such articles        25   individual in preparation and for performance of

                                                  Page 42                                                      Page 44

 1   before you drafted your report?                         1   placing a permanent airway.
 2   A. No, not in context with specifics to this            2   Q. And one of the steps in that procedure is
 3   report, no.                                             3   rendering the subject unable to breathe on their
 4      MR. HEFFRON: Well, let me -- so                      4   own?
 5      we've disclosed two medical literatures              5   A. Correct.
 6      relative to alcohol information, is that             6   Q. And that's through the use of paralytic drugs,
 7      what you're asking about, Jeff?                      7   if I recall; is that accurate?
 8      MR. WILSON: No, I think the                          8   A. That's correct.
 9      articles that have been disclosed talk               9   Q. So in other words, one of the steps in rapid
10      about testing and various bodily --                 10   sequence intubation is preventing the subject
11      specifically the vitreous humor and blood.          11   from breathing?
12   A. The two that I referenced or utilized in            12   A. Correct.
13   preparation of my report are the excerpts from         13   Q. And then after that step, you then have to
14   the Medical Review Officer's Manual and the            14   complete the process so you can help them
15   article that looks at blood alcohol and vitreous       15   artificially breathe?
16   alcohol concentrations.                                16   A. Correct, place a tube in the airway and use
17      BY MR. WILSON:                                      17   artificial devices to support their respiratory
18   Q. And did you read any other medical literature       18   system.
19   before preparing your report?                          19   Q. Now, there is medical literature that discusses
20   A. No.                                                 20   how long -- well, strike that. There's medical
21      MR. HEFFRON: I'm sorry, Jeff, I                     21   literature that discusses or tests the level of
22      wasn't trying to jump on top of you; I was          22   oxygen in someone's blood following that
23      afraid that the two of you were not                 23   paralysis?
24      tracking with your question and what he was         24       MR. HEFFRON: Object to form.
25      saying.                                             25   A. There's a mechanism of measuring oxygen inside


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                      (11) Pages 41 - 44
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 13 of 53
Ruth Gray v                                                                                  John F. McMaster, M.D.
Conner Industries                                                                                 November 15, 2021
                                                  Page 45                                                    Page 47

 1   and outside a performance of rapid sequence             1   the oxygen levels and how quickly they drop in
 2   intubation procedures.                                  2   circulating blood?
 3       BY MR. WILSON:                                      3   A. Correct.
 4   Q. Okay. But that wasn't quite my question,             4   Q. And the brain relies on circulating blood?
 5   Doctor. My question was there's medical                 5   A. The brain tissue relies on oxygen as a cofactor
 6   literature that has studied kind of -- I'm              6   in the metabolism --
 7   struggling how to phrase this here, we'll strike        7   Q. Okay.
 8   that. As the subject is paralyzed and unable to         8   A. -- that's required to keep the neurons working.
 9   breathe, the oxygen in their blood is decreasing        9   Q. And, Doctor, as an emergency room physician,
10   over time; is that accurate?                           10   you're aware there are medical studies that talk
11   A. Correct.                                            11   about how much oxygen is needed in the blood for
12   Q. And there are studies that have analyzed how        12   someone to remain conscious?
13   long it takes for the oxygen to decrease, fair?        13      MR. HEFFRON: Object to form, lacks
14       MR. HEFFRON: Object to form.                       14      foundation.
15   A. Correct.                                            15   A. I don't know of any literature that talks about
16       BY MR. WILSON:                                     16   how much oxygen is necessary to maintain
17   Q. And those studies show that it takes nine to        17   consciousness.
18   ten minutes for oxygen to be totally depleted?         18      BY MR. WILSON:
19       MR. HEFFRON: Object to form, lacks                 19   Q. Well, are you aware of a threshold to maintain
20       foundation.                                        20   consciousness?
21   A. Depends on the tissues you're looking at and how    21   A. A threshold of what?
22   the measurement is being done.                         22   Q. Blood oxygen concentration?
23     BY MR. WILSON:                                       23   A. That's one factor that is necessary for
24   Q. Well, what is your understanding of -- so it        24   maintaining consciousness.
25   sounds like based on your answer that how long         25   Q. And is there a certain level of blood oxygen

                                                  Page 46                                                    Page 48

 1   it takes for the oxygen to be depleted depends?         1   concentration that below which a person will
 2   A. Depends on the organ system you're looking at.       2   lose consciousness?
 3   Q. Okay. So does the -- does the oxygen                 3   A. The literature may have identified that, yes,
 4   concentration in the blood change depending on          4   but that's not something I dwell upon because
 5   which organ you're looking at?                          5   the brain utilizes glucose to perform its
 6   A. All of our organ systems utilize oxygen for          6   activities, and oxygen is a cofactor to help
 7   metabolism, and depending upon blood flow to            7   glucose be metabolized to make ATP, which is
 8   that organ system, the oxygen will be depleted          8   what the cells need to survive.
 9   differently. Oxygen is carried in the blood in          9   Q. So if I'm hearing you right, it means the brain
10   hemoglobin, and if that oxygen is not                  10   can actually survive a little bit longer because
11   replenished through respiratory efforts, it will       11   it has this glucose?
12   first go down in the blood before any other            12   A. I didn't understand your question, I'm sorry.
13   organ system recognizes a decrease in oxygen.          13   Q. Well, we're talking about consciousness, so
14   Q. Right, it'll go down in the blood before any        14   naturally that involves brain function, correct?
15   system recognizes a decrease?                          15   A. Neuron cell function, yes, at the higher levels
16   A. Correct.                                            16   of the brain, yes.
17   Q. There are studies that have analyzed how long it    17   Q. And you were just telling me that you don't
18   takes for it to drop in the blood?                     18   dwell on any medical literature that identifies
19      MR. HEFFRON: Object to form, lacks                  19   a blood oxygen concentration level below which
20      foundation.                                         20   consciousness will cease because the brain has
21   A. Again, it only identifies the saturation of         21   glucose?
22   oxygen in circulating blood, that's what the           22   A. The articles that you are attempting to utilize
23   studies have looked at.                                23   that Dr. Bledsoe produced are informative, and I
24      BY MR. WILSON:                                      24   have identified, or he identified that when the
25   Q. Okay. So there are studies that have analyzed       25   oxygen level went below 30 percent that higher


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                    (12) Pages 45 - 48
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 14 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                  Page 49                                                    Page 51

 1   cognitive function ceases. That's scientific            1   articles, I don't know where they came from, but
 2   literature that has shown that when you're              2   they seemed reliable and appropriate for what
 3   performing rapid sequence intubation, it's not a        3   they were looking at trying to address, which is
 4   good idea if you want to remain -- or have the          4   the measurement of O2 saturations peripherally
 5   patient remain cognitively intact after you             5   and the effect on humans.
 6   place a definitive airway, it's a good idea to          6   Q. Okay. You said that they seemed appropriate and
 7   not let the O2 sat below -- fall below                  7   reliable?
 8   30 percent.                                             8   A. They seemed -- I have no reason to dispute
 9   Q. Okay.                                                9   anything that's said in them.
10   A. Because, otherwise, when you get the tube in the    10   Q. Okay. UpToDate, is that something you use in
11   airway and they wake up, they may not be               11   your practice?
12   cognitively intact.                                    12   A. No.
13   Q. Okay. So whether there's a threshold or not or      13   Q. Is it something physicians use in their
14   dividing line, whether we can even know where it       14   practice, though?
15   is, you would agree with me that when a person         15   A. Yes.
16   stops breathing, they're not going to lose             16   Q. They rely on it on a day-to-day basis?
17   consciousness immediately absent some sort of          17   A. Yes.
18   trauma or other medication-induced loss of             18   Q. So why isn't -- why can't you compare the
19   consciousness?                                         19   paralysis and the cessation of breathing that
20      MR. HEFFRON: Object to form,                        20   occurs in rapid sequence intubation to
21      incomplete hypothetical.                            21   suffocation in a sawdust bin?
22   A. I'm confused by your question, I don't              22   A. I'm somewhat confused by the question.
23   understand it.                                         23   Q. Well, in rapid sequence intubation, the subject
24      BY MR. WILSON:                                      24   is prevented from breathing, correct?
25   Q. Okay. So when a person is suffocating, unless       25   A. Yes, sir.

                                                  Page 50                                                    Page 52

 1   they're -- have head trauma, they're not going          1   Q. And that's just one of the steps in the process?
 2   to lose consciousness immediately. Would you            2   A. Yes, sir. You paralyze the respiratory drive
 3   agree with that?                                        3   and all other motor functions and higher
 4      MR. HEFFRON: Object to form.                         4   cognitive functions so as to facilitate
 5   A. Again, I don't understand your question because      5   placement of a definitive airway.
 6   higher cognitive function is a higher cortical          6   Q. And so if -- and Mr. Gray was engulfed in
 7   function.                                               7   sawdust, yes?
 8       BY MR. WILSON:                                      8   A. Yes, sir.
 9   Q. Well, higher cognitive function just means           9   Q. And the --
10   consciousness, does it not?                            10   A. We believe, we believe he was engulfed in
11   A. You're correct, the upper parts of the brain are    11   sawdust; we have no witnesses other than the
12   allowing you to perceive, be aware, react, have        12   pictures and how he was found to assume he was
13   emotion.                                               13   engulfed in sawdust.
14   Q. Okay. You mentioned a moment ago that the           14   Q. Are you disputing that he was engulfed in
15   literature Dr. Bledsoe produced was scientific.        15   sawdust?
16   Did I get that right?                                  16   A. No.
17   A. Well, I think it is medical literature, there       17   Q. Okay. And as a result of being engulfed in
18   was an UpToDate article about RSI, and then            18   sawdust, Mr. Gray was unable to breathe?
19   there was two articles about oxygen saturation.        19   A. The assumption is as a result of being engulfed
20   Q. And those articles, are those published in peer     20   in sawdust, he was unable to breathe, yes.
21   review journals?                                       21   Q. And are you disputing that assumption?
22   A. I don't remember what articles -- what journals     22   A. No.
23   they came out of. UpToDate's an online thing           23   Q. So we have two situations, rapid sequence
24   you can subscribe to that's typically used by          24   intubation and Mr. Gray's situation, both
25   multiple providers today. The other two                25   subjects are unable to draw in oxygen into their


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                    (13) Pages 49 - 52
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 15 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                  Page 53                                                     Page 55

 1   lungs, yes?                                             1   A. I'm confused by your question, I'm sorry?
 2   A. Again, rapid sequence intubation after the           2   Q. Well --
 3   individual's paralyzed brings about certain             3   A. The -- the two don't go hand in hand.
 4   metabolic events that occur. The individual is          4   Q. The only reason that you don't feel it's
 5   cognitively unaware and unresponsive.                   5   appropriate to use rapid sequence intubation is
 6   Q. But in both cases, the subjects, Mr. Gray and        6   because potentially Mr. Gray's blood stopped
 7   then the subject undergoing rapid sequence              7   circulating when he was in the sawdust, which is
 8   intubation, is unable to breathe?                       8   not the same thing as a patient that's been
 9   A. Correct.                                             9   paralyzed in rapid sequence intubation?
10   Q. And medical studies tell us how long it will        10   A. Not under a procedure that is performed for an
11   take before blood oxygen concentration drops           11   alternative purpose, the purpose is providing a
12   below 30 percent in rapid sequence intubation,         12   definitive airway to an individual that needs a
13   yes?                                                   13   definitive airway management.
14   A. Yes, sir.                                           14   Q. Right, but your -- your testimony is essentially
15   Q. And why can't we use that same study to             15   that there's a potential that Mr. Gray's blood
16   determine an approximation of how long it would        16   stopped circulating because of his cardiac
17   take Mr. Gray to lose consciousness?                   17   arrythmia, yes?
18   A. It's an illogical analogy.                          18   A. That's one possibility, yes.
19   Q. Why?                                                19   Q. Well, you don't identify any others in your
20   A. Because you're looking only at oxygen               20   report, do you?
21   saturation, not circulation. And circulation is        21   A. No.
22   necessary for perfusion of the brain and higher        22   Q. Okay. And so under that situation, his blood
23   cognitive function.                                    23   stopped circulating when he has the cardiac
24   Q. Is there any evidence that Mr. Gray's               24   arrhythmia, and he's either unconscious
25   circulation stopped immediately?                       25   immediately or conscious for a very short amount

                                                  Page 54                                                     Page 56

 1   A. There's no specific evidence 'cause it was           1   of time. Is that fair to say?
 2   unwitnessed. There is postmortem evidence given         2   A. He's unconscious immediately.
 3   the facts that I identified, left ventricular           3   Q. Okay. So if he undergoes this cardiac
 4   hypertrophy, cardiomegaly --                            4   arrhythmia, unconscious immediately?
 5   Q. Okay.                                                5   A. Correct.
 6   A. -- atherosclerotic cardiovascular disease.           6   Q. So if we assume, and I'm giving you a
 7   Q. I see what you're saying. Now, allow me,             7   hypothetical here, Doctor, if we assume, since
 8   Doctor, if we assume that Mr. Gray did not              8   we have no way to know either way whether he had
 9   undergo any sort of sudden cardiac events, his          9   a cardiac arrythmia, if we assume he didn't,
10   blood would still be circulating while he's            10   then his blood still would have been
11   suffocating in sawdust, yes?                           11   circulating?
12   A. I can't make that assumption based on the facts     12      MR. HEFFRON: Object to form,
13   that I was given.                                      13      incomplete hypothetical.
14   Q. Why not?                                            14   A. Again, I can't assume that his blood wasn't
15   A. Because the postmortem evidence shows evidence      15   circulating because I don't have facts.
16   of a reasonable medical explanation for why the        16      BY MR. WILSON:
17   death occurred.                                        17   Q. But the cardiac arrhythmia is the only potential
18   Q. And you're talking about potential for cardiac      18   cause for an immediate cessation of blood
19   arrhythmia?                                            19   circulation you identify in your report?
20   A. Everything I identified is identified in my         20   A. It's the only one I identified in my report
21   report.                                                21   because it's the most, what shall I say, raises
22   Q. And that's how you -- well, the potential for a     22   to the highest level given the multiple
23   cardiac arrhythmia is what leads you to the            23   comorbidities identified.
24   conclusion that you can't use rapid sequence           24   Q. Okay. So no other possible causes of a
25   intubation as an analogy for Mr. Gray's case?          25   immediate stop in blood circulation have been


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                     (14) Pages 53 - 56
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 16 of 53
Ruth Gray v                                                                                    John F. McMaster, M.D.
Conner Industries                                                                                   November 15, 2021
                                                   Page 57                                                     Page 59

 1   identified in your report?                               1      BY MR. WILSON:
 2   A. No.                                                   2   Q. I appreciate that, Doctor, but my point is here
 3   Q. No meaning that's correct?                            3   in this paragraph, you're saying the cardiac
 4   A. Correct.                                              4   arrythmia is possible, and the event that could
 5   Q. Okay. So further down, the last paragraph             5   have triggered it is a realization he was
 6   before disclosure statements, this is where we           6   engulfed in sawdust?
 7   get to the actual potential for a cardiac                7   A. Again, the stress induced with impending doom
 8   arrythmia, you say, it is entirely possible that         8   induced a cardiac dysrhythmia.
 9   Mr. Gray suffered a sudden cardiac arrythmia in          9   Q. So in other words, there's some interval of time
10   conjunction with the stress induced with                10   there under your hypothetical where Mr. Gray is
11   potential drowning in sawdust. You use the word         11   aware that he is buried in sawdust and is likely
12   possible here, is your testimony that it's              12   about to die?
13   possible he underwent a cardiac arrythmia or            13   A. I can't identify that interval of time, no.
14   that it's likely that he underwent a cardiac            14   Q. I'm not asking you to identify the interval of
15   arrythmia?                                              15   time. Just under your hypothetical because the
16   A. Possible.                                            16   stress is part of it, the interval in time,
17   Q. So you can't say it's 51 percent or more?            17   however long it is, had to exist?
18   A. No.                                                  18   A. In the same regard those individuals that die
19   Q. And your opinion is that this cardiac arrythmia      19   from sudden cardiac arrest have no warning.
20   would have been brought on by the stress induced        20   Q. But here, I mean, one can only be stressed by
21   with potential drowning in sawdust?                     21   the knowledge that he was potentially drowning
22   A. Stress is one factor that can induce cardiac         22   in sawdust if he is aware that he is potentially
23   arrythmias.                                             23   drowning in sawdust?
24   Q. And that's your -- your testimony in your report     24   A. Or physical exertion or change in the weather,
25   is that the stress induced with the potential           25   any -- any number of things can induce stress

                                                   Page 58                                                     Page 60

 1   drowning in sawdust is what could have caused            1   and as a result bring on a cardiac dysrhythmia.
 2   the cardiac arrythmia?                                   2   I think my sentence speaks for itself.
 3   A. That is one of the -- one of the factors that         3   Q. Okay.
 4   could have led to a cardiac dysrhythmia.                 4   A. It is entirely possible that a sudden cardiac
 5   Q. And stress, does that have a medical definition       5   dysrhythmia occurred, he had no circulation to
 6   that's different than the layman definition we           6   his brain, and he had no higher cognitive
 7   use in everyday speak?                                   7   function ability, able to perceive or do
 8   A. Not that I'm aware of, unless you can point me        8   anything.
 9   to some specific article.                                9   Q. And you mentioned physical exertion could cause
10   Q. So in other words, you're using the layman, just     10   it as well?
11   regular, everyday term stress?                          11   A. Yes, it's known people with coronary artery
12   A. Stress as evidenced by what everyone assumed or      12   disease that exert themselves suffer sudden
13   allegedly thought occurred.                             13   cardiac arrest. It's very evident in the winter
14   Q. Okay. And stress, that means the realization         14   when people go out, shovel snow that are
15   that sawdust has engulfed him?                          15   otherwise sedentary and die in the driveway.
16   A. Or the impending doom associated with being          16   Q. For instance, the physical exertion of trying to
17   engulfed by sawdust.                                    17   escape sawdust could be a factor that could
18   Q. So if I could rephrase that, it's entirely           18   induce the arrythmia?
19   possible Mr. Gray suffered a sudden cardiac             19   A. Yes.
20   arrythmia in conjunction with the realization of        20   Q. When someone has a cardiac arrythmia and they
21   a sudden doom due to the sawdust?                       21   lose consciousness, they would be breathing
22      MR. HEFFRON: Object to form.                         22   normally or attempting to breathe normally?
23   A. I wouldn't rephrase that. I wouldn't say it          23   A. I wouldn't classify it as breathing normally.
24   that way, but you're welcome to say it however          24   They have respiratory effort that continues
25   you want.                                               25   after the cardiac arrest.


Min-U-Script®                        Court Reporting Service, Inc. (316) 267-1201                     (15) Pages 57 - 60
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 17 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                  Page 61                                                     Page 63

 1   Q. No different than the respiratory effort             1   A. No, it was a potentially contributing factor to
 2   experienced when someone sleeps?                        2   decision making.
 3   A. That I can't answer, I'm not a pulmonologist,        3   Q. You say potentially, can you say it's more
 4   and I don't study sleep physiology in my spare          4   likely than not?
 5   time.                                                   5   A. More likely than not based on my training,
 6   Q. But in this -- in this scenario with cardiac         6   education, and experience.
 7   arrythmia, the brain has no higher function?            7   Q. So how did it more likely than not contribute to
 8   A. There's total absence of higher cognitive            8   Mr. Gray's death?
 9   function.                                               9   A. Well, the medical literature and the literature
10   Q. And that means he's unable -- Mr. Gray would        10   that I'm familiar with with respect to the DOT
11   have been unable to perceive anything around           11   identifies a blood level or an alcohol level of
12   him?                                                   12   greater than .04 as possessing an increased
13   A. Correct.                                            13   propensity to impairment, impairment meaning
14   Q. He would have been unable to sense the sawdust      14   decision making and higher cognitive functions.
15   around him?                                            15   Q. Now, that's blood alcohol level?
16   A. Correct.                                            16   A. Alcohol level, .04, whether it's blood or
17   Q. He would have been unaware that he was engulfed     17   vitreous. It is known that when alcohol level
18   in sawdust?                                            18   is identified at greater than .04, an individual
19   A. Correct.                                            19   is assumed to be potentially impaired due to the
20   Q. So he would not have been desperately trying to     20   alcohol based on their decision making. We
21   breathe because he's engulfed in sawdust?              21   don't let pilots fly with blood alcohol levels
22   A. There would be respiratory effort, but the          22   above .04.
23   quality of his respiratory effort would be less        23   Q. Blood alcohol level?
24   than normal.                                           24   A. Alcohol levels, however it is obtained, whether
25   Q. And it wouldn't be a conscious effort to            25   it's blood, urine, or breath.

                                                  Page 62                                                     Page 64

 1   breathe?                                                1   Q. Well, Doctor, the way alcohol affects our mental
 2   A. No.                                                  2   acuity is it circulates to the brain, correct?
 3   Q. Have you ever held your breath, Dr. McMaster, in     3   A. It is a toxin that has effect on certain centers
 4   your lifetime?                                          4   in the brain, and those centers are affected
 5   A. Yes.                                                 5   both acutely and chronically.
 6   Q. Like, you know, me and my brothers used to, you      6   Q. And the way alcohol affects those centers in the
 7   know, have a game in a pool where we'd see how          7   brain is because blood circulates the alcohol to
 8   long we could hold our breath, you ever play a          8   the brain?
 9   game like that?                                         9   A. Correct, and causes certain centers of the brain
10   A. I can't recall playing those games, but they do     10   to remodel, if you will, and as such, that
11   occur and you hold your breath and you pass out.       11   remodeling affects both acutely and chronically
12   Q. Well, hopefully, you don't pass out, hopefully,     12   decision making.
13   you come up before then, but if you've held your       13   Q. And the fluid in the eye, the vitreous humor,
14   breath for a long amount of time and then you          14   that doesn't circulate in the body?
15   start to try to breathe, you're going to breathe       15   A. The vitreous doesn't circulate outside the
16   pretty hard, aren't you?                               16   eyeball.
17   A. The cognitive ability or the higher function        17   Q. Right, so it doesn't -- the fluid that you would
18   ability to hold your breath is well known and          18   take a vitreous humor sample from does not
19   can be manifested in otherwise normal                  19   circulate to the brain?
20   individuals. And if you hold your breath and           20   A. The vitreous does not circulate to the brain.
21   you pass out, a lower function of the brain            21   The vitreous is a fluid in an organ system that
22   takes over and allows you to breathe.                  22   contains metabolites, be it alcohol and other
23   Q. Is it your opinion that the level of alcohol        23   metabolites, and can be analyzed.
24   found in Mr. Gray's vitreous humor and heart           24   Q. But the vitreous, the levels of metabolites or
25   blood caused his death?                                25   ethanol found in the vitreous is usually going


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                     (16) Pages 61 - 64
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 18 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                  Page 65                                                     Page 67

 1   to be higher than the blood alcohol content?            1   Q. So you're saying that because the vitreous
 2   A. It depends on when the sample is taken and           2   alcohol level was higher than the blood alcohol
 3   what's going on before and after.                       3   level, that is indicative of subclinical
 4   Q. Okay. Post-equilibrium, the vitreous humor is        4   evidence of alcohol-induced mental acuity
 5   going to have a higher blood -- or higher               5   changes?
 6   alcohol concentration than the blood, correct?          6   A. It is one indicator to suggest that the
 7   A. Post-equilibrium, after you consume alcohol, the     7   individual would be more inclined to undertake
 8   vitreous will contain evidence of alcohol; it           8   risky behaviors and poor decision making.
 9   depends on the rate of uptake by the vitreous           9   Q. So -- but the key there is that the vitreous
10   while it's being circulated as well as the rate        10   level is higher than the blood alcohol level?
11   of elimination of the alcohol from the blood.          11   A. Yes.
12   Q. So when someone drinks alcohol, it's absorbed       12   Q. And the medical literature says that that's an
13   into the body through the lining of the                13   indication of subclinical evidence of
14   intestines, correct?                                   14   alcohol-induced mental acuity changes?
15   A. Correct.                                            15   A. The medical literature says that blood
16   Q. And it's then distributed throughout the water      16   alcohol -- or alcohol levels above .04 bring
17   content in the body?                                   17   with it a higher likelihood of risky behavior,
18   A. Correct.                                            18   poor decision making; therefore, if you have a
19   Q. And because the vitreous has a higher water         19   pilot that has an alcohol level of .041 and he's
20   content than the blood, the vitreous alcohol           20   getting ready to fly an airline, they take him
21   content will be more than the blood, generally         21   off duty and say, you can't fly.
22   speaking, correct?                                     22   Q. But they never test pilots' vitreous levels?
23   A. It depends on where you are on the consumption      23   A. I don't know that I've, in a living individual,
24   scheme of things and elimination of the alcohol        24   ever heard of or seen a vitreous alcohol level
25   that you've consumed.                                  25   utilized for legal or medical reasons, no.

                                                  Page 66                                                     Page 68

 1   Q. All right. So once you're done -- once your          1   Q. And all the medical literature, specifically the
 2   body is done absorbing the alcohol and you              2   medical literature that you've cited and relied
 3   achieve what's called equilibrium, that's what          3   on, talks about blood alcohol level, not
 4   the stage will be called, correct?                      4   vitreous alcohol level?
 5   A. Correct.                                             5   A. It's comparing blood alcohol and vitreous
 6   Q. Once you achieve that equilibrium phase,             6   alcohol levels in people that are deceased.
 7   generally speaking the fluid in the eyeball,            7   Q. Well, I'm talking about when it tries to label a
 8   vitreous humor, is going to have a higher               8   certain level of alcohol as having mental acuity
 9   alcohol content than the blood?                         9   changes, it's only talking about blood alcohol,
10   A. Again, it depends on whether that alcohol is        10   correct?
11   being metabolized and eliminated, where you're         11   A. I don't know 'cause I didn't delve into the
12   on the stage of absorption, equilibrium, and           12   literature that I've read in my career that
13   elimination.                                           13   addresses the -- that specifically.
14   Q. Okay.                                               14   Q. Okay. In your experience as a medical review
15   A. As the blood is eliminated -- or the alcohol is     15   officer, an emergency room physician, a family
16   eliminated from the bloodstream, the vitreous          16   physician, or an aviation medical examiner, have
17   alcohol content will remain somewhat elevated          17   you saved any data from drug and alcohol
18   over the blood.                                        18   testing?
19   Q. So going back to your report, page 2, point 4       19   A. No.
20   under opinion, you say that vitreous alcohol           20   Q. And I take it you haven't published any articles
21   level greater than blood alcohol level,                21   on drug and alcohol testing results?
22   suggestive of subclinical evidence of                  22   A. No.
23   alcohol-induced mental acuity changes. Did I           23   Q. And have you ever been asked to speak on the
24   read that right?                                       24   topic of interpreting drug and alcohol testing?
25   A. Yes.                                                25   A. I can't recall in the last five years being


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                     (17) Pages 65 - 68
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 19 of 53
Ruth Gray v                                                                                    John F. McMaster, M.D.
Conner Industries                                                                                   November 15, 2021
                                                   Page 69                                                     Page 71

 1   asked to give a talk on that topic.                      1   think of subclinically detectable, that is all
 2      MR. WILSON: I believe we're on 72;                    2   in the eyes of the individual that's being asked
 3      is that right?                                        3   to detect alcohol and its effects and the
 4      THE REPORTER: Yes.                                    4   methodology that's being utilized.
 5      BY MR. WILSON:                                        5   Q. Okay. The Medical Review Officer's Manual, is
 6   Q. I'm going to mark Exhibit 72 here.                    6   this a peer review publication?
 7      (Deposition Exhibit Number 72                         7   A. It is published by the -- an individual that is
 8      Marked for Identification.)                           8   involved in medical review officer
 9      BY MR. WILSON:                                        9   certification, and it's published by the -- it's
10   Q. I've put in front of you one of the articles         10   a text occupational providers, it's -- comes
11   that was produced to us, have you seen this             11   about to assist medical review officers in
12   before?                                                 12   performing their tests for industries that
13   A. Yes, it's not an article, it's one page out of       13   employ them.
14   this text.                                              14   Q. So is it peer reviewed?
15   Q. The Medical Review Officer's Manual?                 15   A. As far as I know, I think a number of people
16   A. Yes.                                                 16   look it over, I didn't bring the text with me.
17   Q. What is that manual? Is it something used by         17   I just gave you one page out of it and the
18   medical review officers in the field?                   18   insert, and you can buy the text and find out
19   A. Yes, it's a publication that is -- has been          19   yourself, I don't know.
20   published that medical review officers use to           20   Q. So it sounds like you're not sure whether this
21   help them do their job.                                 21   is peer reviewed or not?
22   Q. Is it a reliable publication?                        22   A. It's a reliable textbook that I utilize and
23   A. I think the medical profession and other             23   medical review officers utilize in the
24   professions rely on it and look at it as being          24   performance of their duties as a medical review
25   reliable, yes.                                          25   officer.

                                                   Page 70                                                     Page 72

 1   Q. If this text, the Medical Review Officer's            1   Q. But it sounds like you're not sure whether it's
 2   Manual, were to say something that conflicts             2   peer reviewed or not?
 3   with your testimony, would you defer to the              3   A. You'll have to define peer reviewed.
 4   book, or would you say that you're correct and           4   Q. Do you not know what peer reviewed means?
 5   the manual is wrong?                                     5   A. I know what it means, but, again, your
 6   A. I would have to review what you're challenging,       6   definition may not be in agreement with mine.
 7   and then I'd give you my opinion.                        7   Q. Well, let's use your definition, is this book
 8   Q. Okay.                                                 8   peer reviewed?
 9   A. I can't sit here and hypothetically say I             9   A. I think it's well recognized by peers that do
10   unilaterally agree with everything in the text.         10   medical review officer duties.
11   Q. Okay. So I want to go over to the second page        11   Q. But you don't know whether it's peer reviewed or
12   here, there's just two pages to it. First of            12   not?
13   all, would you agree with me that the definition        13   A. Again, I've answered the question the best I
14   of subclinical is that it's not detectable or           14   can, I'm not here to argue with you.
15   producing effects --                                    15   Q. Well, it seems like a simple question, Doctor,
16      (Reporter requests clarification                     16   and I'm not hearing an answer to it. You know
17      of Mr. Wilson.)                                      17   how the peer review process works on journals,
18      BY MR. WILSON:                                       18   right, there's a board of people, medical
19   Q. So when we talk about alcohol intoxication, if       19   professionals that review a submission for
20   we were to say someone is at a subclinical stage        20   scientific reliability and accuracy. Is that
21   of alcohol influence, that would mean that the          21   fair to say?
22   effects of alcohol are not detectable or that           22   A. Yes.
23   the alcohol is not producing effects that are           23   Q. Do you know if any such board exists for the
24   detectable by the usual clinical tests?                 24   medical review officer certification?
25   A. Again, that's a very long question. When I           25   A. I don't know that a board exists, but I am


Min-U-Script®                        Court Reporting Service, Inc. (316) 267-1201                     (18) Pages 69 - 72
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 20 of 53
Ruth Gray v                                                                                      John F. McMaster, M.D.
Conner Industries                                                                                     November 15, 2021
                                                   Page 73                                                       Page 75

 1   assuming, given the fact that it's a                     1   effects of alcohol at the time of his death?
 2   well-respected text, that it has been reviewed           2   A. That organ systems show evidence that there was
 3   by a number of peers from this physician.                3   the possibility of effects of alcohol at the
 4   Q. So you're assuming it's peer reviewed?                4   time of his death.
 5   A. Yes.                                                  5   Q. Well, it's not just a possibility, right, your
 6   Q. I want to look at the table here on page 2.           6   testimony is that it's more likely than not that
 7   This table uses blood alcohol concentration for          7   he was under the influence of alcohol at the
 8   its categories of the stages of alcohol                  8   time of his death?
 9   influence, correct?                                      9   A. He had the presence of alcohol in his vitreous
10   A. That's what the table identifies, yes.               10   and blood at the time of his death.
11   Q. Yeah, it doesn't say anything about vitreous         11   Q. And you're basing that on the detection of
12   alcohol level, does it?                                 12   alcohol in his vitreous and blood at his
13   A. No, sir.                                             13   autopsy?
14   Q. And down here at the bottom, there's a citation,     14   A. Yes.
15   appears to be the source for the information on         15   Q. Okay. So I want you to look at this last
16   the table. Would you agree with that?                   16   paragraph on page 749, towards the end of the
17   A. Yes.                                                 17   last sentence, speculative retrograde
18   Q. Looks like it's from the American Journal of         18   extrapolation of an experimentally determined
19   Clinical Pathology, do you know if that's a             19   blood alcohol content to an earlier time should
20   authoritative or reliable medical journal?              20   be avoided because of its many pitfalls. Did I
21   A. I believe it's a reliable source in pathology        21   read that right?
22   fields and toxicology fields, yes.                      22   A. Yes.
23   Q. Okay.                                                23   Q. And that's what you're doing here is
24      MR. WILSON: I'm going to mark                        24   extrapolating backwards to the BAC at the time
25      Exhibit 73 here. Do you want a copy of               25   of death?

                                                   Page 74                                                       Page 76

 1       this?                                                1   A. I am using the blood alcohol levels determined
 2       MR. HEFFRON: Okay.                                   2   in his blood and vitreous to identify the
 3       (Deposition Exhibit Number 73                        3   presence of alcohol within the individual at the
 4       Marked for Identification.)                          4   time of his death.
 5       BY MR. WILSON:                                       5   Q. And table 4 on this same page, it looks like
 6   Q. So if you could just briefly look, I believe          6   this is the table that was taken for Exhibit 72.
 7   that this is the article referenced as the               7   Would you agree with that?
 8   source for the table in Exhibit 72? Let me know          8   A. Not having read it word by word, I would
 9   if you agree with that.                                  9   generically agree with you it does appear very
10   A. It appears to be the article referenced, yes.        10   similar.
11   Q. Okay. I want you to flip over, there's page          11   Q. And so the first stage here is .01 to .05 of
12   numbers, looks like either in the bottom middle         12   blood alcohol concentration, you see that?
13   or top right or top left, it's going to be the          13   A. Yes.
14   second-to-the-last page, page 749 of this               14   Q. And that level is called sobriety, right?
15   article. Now, Doctor, one of the things that            15   A. That's what the author identifies as sobriety,
16   you're doing in this case is you're taking the          16   yes.
17   vitreous alcohol level and the blood alcohol            17   Q. So if we compare Exhibit 72 with this one, you
18   level that was found in Mr. Gray's autopsy and          18   might want to put them side by side, Doctor, the
19   you're taking that and extrapolating backwards          19   first category on Exhibit 72 is labeled
20   to determine whether he was under the influence         20   subclinical rather than sobriety, correct?
21   at the time of his death. Is that fair to say?          21   A. Yes.
22   A. I am extrapolating to identify the effects or        22   Q. Do you see any explanation for the change in
23   potential effects on his cognitive abilities and        23   Exhibit 72?
24   decision making.                                        24   A. I see no explanation for the change in that
25   Q. And your opinion is that he was under the            25   terminology, no.


Min-U-Script®                        Court Reporting Service, Inc. (316) 267-1201                       (19) Pages 73 - 76
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 21 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                  Page 77                                                     Page 79

 1   Q. And it looks like Exhibit 72 also added              1   Q. Well, for instance, if -- when someone undergoes
 2   computation speed diminished, mental acuity             2   a sudden cardiac arrythmia, proteins or enzymes
 3   decreases, and that's not present in Exhibit 73,        3   are released into the blood, correct?
 4   correct?                                                4   A. Yes.
 5   A. That's correct.                                      5   Q. And those are identifiable biomarkers that'll
 6   Q. And so it looks like no source at all is             6   tell you whether or not someone underwent a
 7   provided for that last part, computation speed          7   cardiac arrythmia?
 8   diminished, mental acuity decreases in Exhibit          8   A. I think that is getting outside my area of
 9   72. Would you agree with that?                          9   expertise, I have not studied the release of
10   A. Yes, sir.                                           10   biomarkers after sudden cardiac arrythmias.
11   Q. And if we look at Exhibit 73, the source for the    11   Q. Well, were you able to determine the level of
12   table in 72, there's no citation provided at all       12   postmortem alcohol synthesis in Mr. Gray's body?
13   for where this table comes from in Exhibit 73,         13   A. No.
14   is there? And it may be, Doctor, that you              14   Q. Do you know anything about any endogenous
15   haven't read this study. I'll just represent to        15   sources of alcohol in Mr. Gray's body?
16   you that there is no source for it, and if you'd       16   A. Endogenous --
17   like to take the time to look through it to find       17   Q. Endogenous.
18   it, I'd be happy to give you that time.                18   A. -- sources of alcohol?
19   A. Sobriety and subclinical are two terms that need    19   Q. I'm terrible -- I've gotten pretty good at
20   to be identified by the individual that's being        20   pronunciations, I messed that one up, though.
21   asked to define those things and the authors.          21   Do you know anything about that in Mr. Gray's
22   Q. And this Exhibit 73, have you ever seen this        22   body?
23   before?                                                23   A. No, but based on my limited understanding, there
24   A. No, sir. Do I get to keep it?                       24   were no circumstances that would allow me to
25   Q. Absolutely. I take it, then, you wouldn't be        25   conclude that any endogenous sources of alcohol

                                                  Page 78                                                     Page 80

 1   able to tell me whether or not this is a medical        1   would have produced those levels.
 2   study or just an article, would you?                    2   Q. And what are endogenous sources of alcohol?
 3   A. No, I can't.                                         3   A. Well, if you have a body that is decomposed and
 4   Q. Do you know precisely at what point in time          4   a body that has been dead for days and rigor
 5   Mr. Gray died March 7, 2019?                            5   mortis has set in and things of that nature,
 6   A. No.                                                  6   there is - again, I'm not a pathologist - there
 7   Q. Do you know the time between his time of death       7   is the possibility of things within the fluids
 8   and when he arrived at the forensic lab?                8   of the body or things on the body that could
 9   A. No, not precisely.                                   9   potentially produce alcohol over extended
10   Q. Do you know under what conditions his body was      10   periods of time. But, again, that's getting
11   stored before the autopsy was performed?               11   beyond my area of expertise; those questions
12   A. No.                                                 12   would be better asked of a pathologist.
13   Q. And do you know anything about whether there was    13   Q. Well, you can tell me whether or not this is
14   bacteria, yeast, or mold present in his blood or       14   outside your area of expertise, Doctor, but when
15   vitreous fluid?                                        15   someone dies, one of the first things that
16   A. The autopsy report didn't identify any of those     16   happens is all of the cell walls in the body
17   factors as being present.                              17   become permeable. Is that fair to say?
18   Q. Is that something that autopsy reports usually      18   A. I'm sure that that's not an illogical
19   identify?                                              19   assumption, but I'm just also going to qualify
20   A. I don't know that.                                  20   it depends on the cells that you're talking
21   Q. What about blood markers, proteins and enzymes      21   about.
22   in the blood, is that something an autopsy             22   Q. Okay. One of the things that can happen is
23   report would identify?                                 23   bacteria and other microorganisms from the
24   A. I think that that's up to the decision of the       24   digestive tract can go into other parts of the
25   pathologist whether those markers are requested.       25   body?


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                     (20) Pages 77 - 80
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 22 of 53
Ruth Gray v                                                                                  John F. McMaster, M.D.
Conner Industries                                                                                 November 15, 2021
                                                  Page 81                                                    Page 83

 1   A. Yes.                                                 1   determine that, right?
 2   Q. And when that happens, there's the potential for     2   A. Yeah, but I -- not having the autopsy report in
 3   those microbes to produce alcohol?                      3   front of me, I would assume it was they utilized
 4   A. Depends on the microbe and their metabolism,         4   GC mass spec to get the levels and report them
 5   but I assume it's possible. It's getting way            5   as they did.
 6   outside the scope of what I am asked to opine           6   Q. Why would you assume that?
 7   on.                                                     7   A. Because that's what I've seen in my training,
 8   Q. Well, isn't postmortem alcohol production an         8   education, and experience as long as I've been
 9   important thing to consider when determining            9   doing this as the methodology that typically is
10   what someone's blood alcohol level was at the          10   utilized in forensic analyses.
11   time of death based on postmortem alcohol              11   Q. Well, are you familiar with gas, is it
12   testing?                                               12   chromatography, gas chromatography, is that what
13   A. Yes, and I think the pathologist that performed     13   you're talking about?
14   the autopsy took that all into consideration in        14   A. That's GC.
15   requesting appropriate testing to identify the         15   Q. GC. What about enzymatic oxidation with
16   cause of death as well as contributing factors         16   alcohol?
17   to the cause of death.                                 17   A. I don't know what that refers to, that may be
18   Q. But nothing in the autopsy report talks about       18   another type of testing methodology.
19   postmortem alcohol production, does it?                19   Q. Are you familiar with chemical oxidation with
20   A. No.                                                 20   acid dichromate as a testing procedure or
21   Q. Nothing in the autopsy report talks about the       21   method?
22   presence or absence of microbes?                       22   A. I'm not as I sit here today in 2021, no.
23   A. Not that I recall, no.                              23   Q. Okay. And do you know anything about the
24   Q. And -- and blood was taken from the heart and       24   equipment used at the forensic lab, whether it
25   the vitreous in Mr. Gray's case?                       25   was sterile or not?

                                                  Page 82                                                    Page 84

 1   A. That's correct.                                      1   A. No, I assume that the labs used by the coroner
 2   Q. The heart is not the preferred location to take      2   are certified and credentialed by appropriate
 3   blood for postmortem alcohol testing, is it?            3   authorities.
 4   A. I don't know the answer to that question, I'm        4   Q. And do you know how long of a time interval
 5   not a pathologist.                                      5   there was between when the blood and vitreous
 6   Q. Do you know anything about glucose levels in the     6   samples were taken and when the actual testing
 7   heart?                                                  7   was done?
 8   A. In this individual, no.                              8   A. No.
 9   Q. In the general everyday population?                  9   Q. That's an important factor in the validity of
10   A. Not as I sit here today specifically, I don't       10   these tests, correct?
11   know what you're referring to.                         11   A. I think it has some factor on the validity of
12   Q. Do you know anything about the pH changes that      12   the testing, yes. Again, that's information
13   the body undergoes at death?                           13   that's outside my area of expertise.
14   A. No.                                                 14   Q. And so the time between when Mr. Gray died and
15   Q. Do you know whether that impacts the growth and     15   when he was actually examined in an autopsy,
16   proliferation of microbial life?                       16   that's an important factor as to whether the
17   A. I'm sure it has a contributing factor. To what      17   blood alcohol and vitreous alcohol
18   degree, I don't know, that's outside my area of        18   concentrations are correct?
19   expertise.                                             19      MR. HEFFRON: Object to form.
20   Q. Do you know anything about whether -- well,         20   A. That time frame has an impact on the results
21   we'll strike that. Do you know what method the         21   reported, yes.
22   forensic lab used to determine the vitreous and        22      MR. WILSON: Are we on 74 now?
23   blood alcohol levels in Mr. Gray?                      23      THE REPORTER: Yes.
24   A. No.                                                 24      MR. WILSON: We're about another
25   Q. There's a variety of methods that can be used to    25      hour in if you guys want to take a quick


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                    (21) Pages 81 - 84
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 23 of 53
Ruth Gray v                                                                                    John F. McMaster, M.D.
Conner Industries                                                                                   November 15, 2021
                                                   Page 85                                                     Page 87

 1      bathroom break?                                       1   A. Correct.
 2      MR. HEFFRON: Okay.                                    2   Q. And sawdust was found in Mr. Gray's lungs, how
 3      MR. WILSON: You don't have to, we                     3   far down in the lungs was it found?
 4      can keep going.                                       4   A. What does the autopsy report say?
 5      MR. HEFFRON: No, we'll take you up                    5   Q. I believe it's over here a few more pages down,
 6      on it.                                                6   the respiratory system perhaps. Excuse me, no,
 7      (Thereupon, a recess was taken,                       7   it's going to be on page 3 under evidence of
 8      during which Deposition Exhibit                       8   injury. Under paragraph I there, it says, the
 9      Numbers 74 and 75 Marked for                          9   bronchi are occluded by tightly packed sawdust
10      Identification.)                                     10   with bloody fluid in the left bronchus?
11      BY MR. WILSON:                                       11   A. Could you direct me a little better, where are
12   Q. All right. Doctor, I've marked Exhibit 74,           12   you?
13   which is the autopsy report right there.                13   Q. Sure, under evidence of injury --
14      MR. WILSON: Tyler, do you need a                     14   A. Okay.
15      copy?                                                15   Q. -- on page 3 --
16      MR. HEFFRON: No. Thank you,                          16   A. Okay.
17      though.                                              17   Q. -- paragraph I, it looks like it's the --
18      BY MR. WILSON:                                       18   A. The bronchi are occluded by tightly packed
19   Q. Have you seen this document before, Doctor?          19   sawdust with bloody fluid in the left bronchus.
20   A. Yes, sir.                                            20   Q. Bronchi, what does that refer to?
21   Q. And there's a date and a time up here in the top     21   A. The large airway tubes.
22   right. Do you know if that date and time is             22   Q. Okay.
23   when the autopsy was completed or when the              23   A. Left and right, got a right and left bronchus --
24   report was prepared, or do you know either way?         24   Q. Okay.
25   A. I do not know either way.                            25   A. -- bronchi. And the right divides up, further

                                                   Page 86                                                     Page 88

 1   Q. Okay. And if we turn over to the second page,         1   subdivides in a upper and lower. There's
 2   I'm going to go down to the external examination         2   only -- there's three lobes on the right, two on
 3   heading. And the third paragraph under that              3   the left.
 4   heading, middle of the paragraph, the examiner           4   Q. And you say that the bronchi divide into smaller
 5   is talking about the eyes, and he says, the              5   passageways; is that correct?
 6   sclerae and conjunctivae are hy -- hyperemic,            6   A. Trachea goes right and left, mainstem bronchus,
 7   maybe I'm mispronouncing that. Do you see that?          7   the right mainstem bronchus divides into three
 8   A. Yes, sir.                                             8   other major airways, the left into two.
 9   Q. Do you know what that means?                          9   Q. Do those other --
10   A. Yes.                                                 10   A. The caliber of the airways becomes less as you
11   Q. What does it mean?                                   11   go further out the Christmas tree.
12   A. They were red, bloodshot.                            12   Q. Okay. Are those other airways called something
13   Q. And I believe sawdust was found in Mr. Gray's        13   other than bronchi? Bronchioles or something
14   eyes in addition to other places; is that               14   like that?
15   accurate?                                               15   A. More likely than not bronchioles.
16   A. I have no reason to not believe that sawdust was     16   Q. Okay. And the last para -- the last sentence
17   not found in his ...                                    17   here in this paragraph talks about sawdust is
18   Q. Well, do you know -- do you know anything about      18   present within the posterior oropharynx, larynx,
19   whether there was microbial life in the sawdust?        19   trachea, and esophagus?
20   A. No.                                                  20   A. Yes.
21   Q. And the eyes, that would be a potential entry        21   Q. What is the oropharynx?
22   point for bacteria, yeast, and molds, correct?          22   A. The mouth, the back of the mouth.
23   A. Yes, and viruses.                                    23   Q. Okay. So it's saying sawdust was found the
24   Q. And viruses into the rest of the body, for           24   mouth, the back of the mouth, all the way down
25   instance, coronavirus?                                  25   the throat, and into the large passageways and


Min-U-Script®                        Court Reporting Service, Inc. (316) 267-1201                     (22) Pages 85 - 88
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 24 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                  Page 89                                                     Page 91

 1   then even into the bronchioles as well?                 1   production?
 2   A. Yes.                                                 2      MR. HEFFRON: Object to form, lacks
 3   Q. Under paragraph II here, additional injuries are     3      foundation.
 4   noted. After someone -- someone has died, if            4   A. No, I would not agree with that.
 5   they have a cut, is it going to clot and form a         5      BY MR. WILSON:
 6   scab?                                                   6   Q. Why not?
 7   A. The bleeding will cease, I don't know that you       7   A. The presence of alcohol in the blood and the
 8   will -- I can't answer that question, I can't --        8   vitreous is just that. The lack of report of
 9   the bleeding ceases, the blood will clot in and         9   alcohol in the urine can be due to one of two
10   of its own because it's not circulating, and it        10   factors, one being there was recent consumption
11   will form some sort of method to not continue to       11   and no elimination has occurred prior to the
12   emanate from the vessel, depending on the size         12   death; or, two, the elimination phase had
13   of the vessel.                                         13   completed to the point that there was none to be
14   Q. Okay.                                               14   detected, which is pretty similar to one; or,
15   A. If it's a large vessel, all the blood will go       15   number three, it was not tested for because it
16   out, and then the bleeding will cease. If it's         16   really is not a necessary data point that was --
17   a very small vessel, capillary, the bleeding           17   or is recognized in the pathology field.
18   ceases; whether it forms a scab, probably not.         18   Q. If alcohol was still in the stomach at the time
19   Q. Okay. If you go over to page 5 with me, there's     19   of death, you would expect to see a blood
20   the toxicology portion of the report, and it           20   alcohol content that's higher than a vitreous
21   looks like blood was pulled from the heart; is         21   alcohol content, correct?
22   that right?                                            22   A. Again, it depends on the stage of equilibration,
23   A. Correct.                                            23   consumption, and elimination of the alcohol.
24   Q. And ethanol was found at a concentration of         24   Q. So we're still in the absorption phase because
25   .039 milligrams per liter?                             25   there's alcohol in the stomach. In that

                                                  Page 90                                                     Page 92

 1   A. Milligrams per deciliter.                            1   situation, if a person dies in that state and
 2   Q. Excuse me. Is that transferable to a, you know,      2   when you do postmortem alcohol testing, you're
 3   the way we would put it in everyday terms .039          3   most likely to find a blood alcohol content
 4   blood alcohol content?                                  4   that's higher than a vitreous alcohol content?
 5   A. Yes.                                                 5   A. Depending on the amount ingested, the time
 6   Q. And then the vitreous ethanol was found at a         6   elements, and the chronicity of ingestion of the
 7   concentration of .051 blood alcohol content?            7   individual that's deceased.
 8   Well, excuse me --                                      8   Q. Okay. I'm going to put Exhibit 75 in front of
 9   A. Milligrams per deciliter.                            9   you, this is the produced literature. And
10   Q. Not blood alcohol content but the .051, that        10   describe for me what this -- what this document
11   would be transferable to just a -- I'm                 11   is.
12   struggling how to say this. Same measurement,          12   A. It is the source I utilized to incorporate into
13   same units used?                                       13   my decision making with respect to alcohol
14   A. It's the amount of alcohol that is present in       14   concentrations in blood versus vitreous in
15   the vitreous fluid.                                    15   deceased individuals.
16   Q. Right, and it's milligrams per?                     16   Q. Did you read this article before you wrote your
17   A. Deciliter.                                          17   report?
18   Q. Deciliter. Then it has a section for urine, no      18   A. Yes.
19   alcohol is noted in the urine test. Would you          19   Q. And this is published in the Journal of
20   agree with me?                                         20   Analytical Toxicology; is that correct?
21   A. There is no alcohol identified within the urine.    21   A. Yes.
22   Q. Would you agree with me that when postmortem        22   Q. Is that a publication relied on by clinicians in
23   alcohol testing is done and it's positive in the       23   the field?
24   blood, positive in the vitreous but negative in        24   A. I assume it is, yes.
25   the urine it's indicative of postmortem alcohol        25   Q. You consider it to be reliable and


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                     (23) Pages 89 - 92
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 25 of 53
Ruth Gray v                                                                                 John F. McMaster, M.D.
Conner Industries                                                                                November 15, 2021
                                                 Page 93                                                    Page 95

 1   authoritative?                                         1   opinions? Or did you take it into account?
 2   A. I have no reason to not consider it to be           2   A. I took it into account because the autopsy
 3   reliable, no.                                          3   report did not indicate to me as a somewhat lay
 4   Q. Okay. Well, this study involved postmortem and      4   pathologist, if you will, that there was any
 5   vitreous alcohol testing in 295 alcohol positive       5   extenuating circumstances surrounding the time
 6   cases; is that correct?                                6   between when he was declared dead and when the
 7   A. Correct.                                            7   autopsy was performed. And furthermore, there
 8   Q. Do you know if that's a big enough sample size      8   was no evidence of bodily decompensation or
 9   to have statistical validity?                          9   rigor mortis identified in the autopsy report.
10   A. No, I'm not a statistician.                        10   Q. Well, Doctor, a long period of time between
11   Q. And in this study, they found that vitreous        11   death and testing is not required for postmortem
12   alcohol concentration exceeded the blood alcohol      12   alcohol production, correct?
13   concentration in 209 cases, being 71 percent of       13   A. In order to get -- this is, again, what limited
14   those selected?                                       14   knowledge I have, in order to get any
15   A. Yes.                                               15   significant evidence of alcohol production by
16   Q. And the reason given in this study for that --     16   microbes, there needs to be an adequate period
17   well, strike that. The reason this study gives        17   of time for those microbes to utilize the
18   for vitreous alcohol concentration being higher       18   glucose and produce enough alcohol to be
19   than blood is that the water content of the           19   detected, which would require an extended period
20   vitreous is higher, correct?                          20   of time from the point of death till obtaining
21   A. That may be one reason; the other is the           21   the sample.
22   elimination of alcohol in an individual is much       22   Q. Well, but there's medical literature that
23   delayed from the vitreous as opposed to the           23   details examples where patients have been found
24   bloodstream.                                          24   with significant postmortem alcohol production
25   Q. And this article talks about when the blood        25   12 hours after death?

                                                 Page 94                                                    Page 96

 1   alcohol content is less than .1, the ratio of          1      MR. HEFFRON: Object to form, lacks
 2   vitreous alcohol content to blood is highly            2      foundation.
 3   variable, correct?                                     3   A. I have no knowledge of that literature.
 4   A. Yes.                                                4      MR. HEFFRON: Is that a question?
 5   Q. In this case, Mr. Gray's blood alcohol content      5      Hold on, Doctor, is that a question, Jeff?
 6   was less than .1?                                      6      MR. WILSON: It was.
 7   A. Yes.                                                7      MR. HEFFRON: What was the question?
 8   Q. It was less than .4 -- or .04?                      8      MR. WILSON: Can you read the
 9   A. It was .039.                                        9      question back, please.
10   Q. At the time the autopsy was performed?             10      (At this time, the reporter read
11   A. From the blood that was drawn from the heart.      11      the designated portion.)
12   Q. And speaking of that blood, I don't know if we     12      MR. HEFFRON: That's not a question.
13   directly covered this earlier, the blood in the       13      MR. WILSON: Your opinion is noted.
14   heart has more glucose than the blood in the          14      BY MR. WILSON:
15   femoral vein?                                         15   Q. I think it is, Doctor, and you can answer
16   A. I don't know the quantification of blood in        16   subject to Mr. Heffron's objection.
17   the -- glucose in the heart blood as opposed to       17   A. Excuse me?
18   the femoral blood, no, that's beyond my area of       18   Q. You can answer subject to Mr. Heffron's
19   expertise as I sit here today.                        19   objection.
20   Q. Well, would you agree with me that glucose is      20   A. Why don't you re-ask the question, I can answer
21   one of the primary substrates used by microbial       21   it since I get confused with all of the --
22   life to produce alcohol postmortem?                   22   Q. I understand.
23   A. Yes.                                               23   A. -- back and forth.
24   Q. And how did you take into account postmortem       24      MR. WILSON: You can read it back
25   alcohol production when arriving at your              25      one more time, I'm so sorry, Nancy.


Min-U-Script®                      Court Reporting Service, Inc. (316) 267-1201                    (24) Pages 93 - 96
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 26 of 53
Ruth Gray v                                                                                  John F. McMaster, M.D.
Conner Industries                                                                                 November 15, 2021
                                                  Page 97                                                    Page 99

 1      (At this time, the reporter read                     1   sentence, in the postabsorptive phase, and once
 2      the designated portion.)                             2   equilibrium has been established, the VAC/BAC
 3      MR. HEFFRON: I'm going to object to                  3   ratios should reflect differences in water
 4      the form, that's not a question, that's              4   content. Did I read that right?
 5      your -- Jeff, that's your testimony,                 5   A. Yes.
 6      declaratory statement here. You can answer           6   Q. That's saying the more water, the higher the
 7      if you can, Doctor.                                  7   alcohol content?
 8   A. I have no knowledge of that literature.              8   A. Yes.
 9      BY MR. WILSON:                                       9   Q. And then continuing on in the last line of this
10   Q. Well, what are you basing this idea that you        10   first page, continuing onto the second page, of
11   have to have a significant amount of time and          11   the many listed factors that can influence the
12   decomposition before postmortem alcohol                12   blood alcohol content, postmortem production of
13   production can take place?                             13   alcohol must always be considered. Did I read
14   A. My training and education. Primarily my             14   that right?
15   education that dates back over 35 years.               15   A. Yes.
16   Q. How many courses did you take that focused on       16   Q. And you didn't consider post alcohol -- or
17   postmortem alcohol production?                         17   postmortem alcohol production, correct?
18   A. I have taken no specific course that addressed      18       MR. HEFFRON: Object to form.
19   that. I took pathology in medical school, which        19   A. I --
20   was a one-year course.                                 20       MR. HEFFRON: Go ahead.
21   Q. Would you agree with me that postmortem             21   A. I considered it within the degree of education
22   synthesis of alcohol is common up to a level of        22   that I've obtained.
23   .07 blood alcohol content?                             23       BY MR. WILSON:
24      MR. HEFFRON: Object to form, lacks                  24   Q. But there's nothing in your report that talks
25      foundation.                                         25   about or refers to postmortem alcohol

                                                  Page 98                                                   Page 100

 1   A. I cannot agree with that because I have no           1   production?
 2   knowledge of what you reported nor independent          2   A. That is correct.
 3   education in that area.                                 3   Q. And you don't know whether the autopsy examiner
 4      BY MR. WILSON:                                       4   did that either?
 5   Q. Well, on the very first page of this exhibit         5   A. I don't understand -- I don't understand your
 6   here in front of you, first paragraph says,             6   question.
 7   estimation of the blood alcohol concentration at        7   Q. You don't know whether the examining doctor at
 8   the time of death from postmortem samples is            8   the autopsy considered post alcohol -- or
 9   complicated by many factors. Would you agree            9   postmortem alcohol production?
10   with that?                                             10   A. I don't know one way or the other. I would
11   A. Yes.                                                11   assume given the area of specialization that
12   Q. And it goes on to say, these include the quality    12   that is considered when they write a report.
13   and location of the sample, specimen collection        13   Q. That's just an assumption you're making?
14   technique, trauma - in parentheses,                    14   A. That's correct, I'm not a pathologist.
15   contamination - time between death, autopsy and        15   Q. And that paragraph continues on, although
16   analysis, presence of microorganisms, diffusion,       16   postmortem synthesis of alcohol is typically
17   environmental conditions, and storage. Did I           17   less than .07 grams per 100 milliliters,
18   read that right?                                       18   concentrations of greater than the .1 grams per
19   A. Yes.                                                19   100 milliliters have been reported. Did I read
20   Q. You don't know any of these factors in regards      20   that right?
21   to Mr. Gray's postmortem alcohol testing, do           21   A. Yes.
22   you?                                                   22   Q. So the article that you relied on to form your
23   A. Not other than what I could identify within the     23   opinions in this case tells us that levels up to
24   information I was provided.                            24   .1 blood alcohol content can be generated
25   Q. And down at the second paragraph, the very last     25   postmortem?


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                   (25) Pages 97 - 100
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 27 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                  Page 101                                                   Page 103

 1   A. Yes.                                                  1   A. We don't know that any took place.
 2   Q. And it's saying, you know, it's not even a rare       2      BY MR. WILSON:
 3   thing for it to come up to as much as .07?               3   Q. We don't know that any didn't take place?
 4      MR. HEFFRON: Object to form.                          4   A. Based on the autopsy report, I was unable to
 5   A. I guess I'm confused by your question, I'm            5   identify any factor that would have contributed
 6   sorry.                                                   6   to postmortem alcohol production.
 7      BY MR. WILSON:                                        7   Q. But you felt confident -- confident enough in
 8   Q. We'll just move on to the next one. That              8   your conclusions to write your report?
 9   paragraph continues that postmortem production           9   A. Yes.
10   depends on many factors, including the species          10   Q. And your report says nothing about postmortem
11   of microorganism, postmortem interval,                  11   alcohol production?
12   temperature, environmental conditions, and              12   A. Correct.
13   trauma to the body. And, again, Doctor, you             13   Q. Did you ask whether there was any blood sample
14   don't -- you don't know one way or the other            14   that could be analyzed for microorganisms left
15   whether any of these factors existed in this            15   in the lab?
16   case?                                                   16   A. No.
17   A. No, again, I rely on the expertise of the            17   Q. Did you call the doctor that did the autopsy?
18   pathologist that performed the autopsy. And I           18   A. No.
19   would, based on my education, venture to say            19   Q. Did you ask anybody for additional information
20   that if any of those factors were in play in            20   on the interval between death and when the
21   this particular case that they would have been          21   autopsy was done?
22   reported in the report.                                 22   A. No.
23   Q. But you're just assuming that's the case?            23   Q. So the various factors that this article talks
24   A. Assuming that case based on my training,             24   about that are important in considering
25   education, and experience and practicing in the         25   postmortem alcohol production, did you ask for

                                                  Page 102                                                   Page 104

 1   city.                                                    1   any of that information?
 2   Q. Go down to figure 2, which is in the bottom           2   A. Not other than what is contained -- no, I asked
 3   right corner of the second page. This is a               3   no one, but evidence is contained within the
 4   table measuring the ratio of vitreous alcohol            4   documents I was provided that addresses a
 5   content to blood alcohol content. Would you              5   majority of those issues.
 6   agree with me?                                           6   Q. So were you able to rule out blood alcohol
 7   A. Yes, it's a scatter plot.                             7   content being influenced by postmortem
 8   Q. And if I'm reading this scatter plot correctly,       8   production of alcohol in Mr. Gray's case?
 9   at lower blood alcohol concentrations such as            9   A. Could you read that question back?
10   .039, the ratio of vitreous alcohol content to          10      (At this time, the reporter read
11   that blood alcohol content is very -- or very           11      the designated portion.)
12   hard to predict or determine?                           12   A. Not other than the ability to rule it out based
13      MR. HEFFRON: Object to form.                         13   on the documents and reports provided me.
14   A. My interpretation is that .0 -- I'm sorry,           14      BY MR. WILSON:
15   you're saying what -- could you read the                15   Q. So here at the end of this article, there's 12
16   question back?                                          16   references listed. To your knowledge, do all of
17      BY MR. WILSON:                                       17   these references come from reliable or
18   Q. Sure. Well, the way I'm reading this is that         18   authoritative medical publications?
19   when you get blood alcohol content below .1, the        19   A. I would assume that they come from reliable
20   ratio of vitreous fluid is highly variable?             20   references given this publication and the
21   A. Yes.                                                 21   journal in which it was published.
22   Q. And focusing just on Mr. Gray's blood alcohol        22   Q. So the American Journal of Clinical Pathology,
23   content, we don't know one way or the other how         23   is that a reliable and authoritative medical
24   much postmortem alcohol production took place?          24   publication?
25      MR. HEFFRON: Object to form.                         25   A. I have no reason to doubt its authenticity and


Min-U-Script®                        Court Reporting Service, Inc. (316) 267-1201                  (26) Pages 101 - 104
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 28 of 53
Ruth Gray v                                                                                    John F. McMaster, M.D.
Conner Industries                                                                                   November 15, 2021
                                                 Page 105                                                     Page 107

 1   authoritative nature.                                   1   statutorily impaired you're talking about a
 2   Q. To your knowledge, pathologists in the field         2   legal conclusion, and you told me it's a medical
 3   would read and rely on that paper?                      3   conclusion. Do you remember that testimony?
 4   A. Yes.                                                 4   A. I answered your question, I'm -- I'm focused on
 5   Q. Okay. Have we covered -- well, let me back up        5   your questions.
 6   real quick. Are you aware of any medical                6   Q. Okay. All right. Well, let's keep going then.
 7   literature that uses vitreous alcohol level to          7   You cite a statute here on page 2 of your
 8   determine mental acuity changes?                        8   report, you say, alcohol level greater than
 9   A. No.                                                  9   .04 milligrams per deciliter at time of death is
10   Q. So how do we know that's a reliable way to          10   consistent with statutory impairment, correct?
11   assess someone's mental acuity changes?                11   A. Correct.
12   A. It is a marker of alcohol use, consumption, and     12   Q. So if the alcohol level was below .04 milligrams
13   misuse, and as such there is medical literature        13   per deciliter, that would not be consistent with
14   that identifies the effects of alcohol on              14   statutory impairment, correct?
15   different tissues and behaviors.                       15       MR. HEFFRON: Object to form.
16   Q. But is there any medical or professional            16   A. Again, that's a legal definition.
17   literature that tells us using vitreous level          17       BY MR. WILSON:
18   versus blood alcohol level is a reliable way to        18   Q. Does that mean you can't answer my question?
19   estimate someone's impairment?                         19   A. You're asking me about statutory impairment; a
20   A. Not that I'm aware of.                              20   level below .04 is indicative, based on my
21   Q. And if Mr. Gray's alcohol level is below .04, he    21   medical knowledge, of possibility of impairment.
22   would not be considered statutorily impaired,          22   Q. I'm going to object as nonresponsive, Doctor.
23   correct?                                               23   It's a fairly simple question, you put a
24       MR. HEFFRON: Object to form, calls                 24   threshold here in your report, .04, and you're
25       for a legal conclusion.                            25   saying over the line is consistent with

                                                 Page 106                                                     Page 108

 1   A. I can't answer that question, I didn't write the     1   statutory impairment; under the line is
 2   statute.                                                2   inconsistent with statutory impairment, correct?
 3      BY MR. WILSON:                                       3   A. Based on the statute but not based on my medical
 4   Q. Well, you tell us in your report that having .04     4   knowledge.
 5   or more is statutorily impaired; you can't tell         5     MR. HEFFRON: Well, and, Jeff, I'm
 6   us whether having less than that is not                 6     going to articulate more as to my
 7   statutorily impaired?                                   7     objection. I mean, you're using that
 8      MR. HEFFRON: Object to form, lacks                   8     statute. You know from Dr. Bledsoe's
 9      foundation.                                          9     deposition that there's other statutes,
10   A. Has to do with a legal definition of impairment,    10     regulations that use other measures of the
11   not a medical definition of impairment.                11     milligrams per deciliter that are less than
12      BY MR. WILSON:                                      12     .04. For instance, the federal DOT
13   Q. So when you're talking about the presumption of     13     regulation discussing any amount of
14   impairment under K.S.A. 44-501, you're talking         14     alcohol, so anything over .00, would be per
15   about a legal conclusion?                              15     that definition impaired.
16   A. I'm talking about a medical conclusion based on     16     BY MR. WILSON:
17   my training, education, and experience.                17   Q. Doctor, K.S.A. 44-501 is the only statute,
18   Q. Okay. And you say in your report that .04 or        18   regulation, or standard you've cited in your
19   more is statutorily impaired, correct?                 19   report, correct?
20   A. According to the Kansas statute, yes.               20   A. Correct.
21   Q. Well, are we talking about the Kansas statute       21   Q. Have we now covered all of the reasons you
22   definition or the medical definition?                  22   believe Mr. Gray was impaired at the time of his
23   A. I'm answering your questions.                       23   death?
24   Q. Well, I just asked you, Doctor, you know,           24   A. I've answered all the questions you've asked me
25   when -- when you're talking about being presumed       25   and given you all of the opinions given the


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                   (27) Pages 105 - 108
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 29 of 53
Ruth Gray v                                                                                  John F. McMaster, M.D.
Conner Industries                                                                                 November 15, 2021
                                                 Page 109                                                   Page 111

 1   information I've been provided as I sit here            1   Q. Would you agree with me that postmortem glucose
 2   today.                                                  2   is higher in the right side of the heart than
 3   Q. Well, is there any fact that you relied on that      3   the left?
 4   we haven't discussed?                                   4      MR. HEFFRON: Object to form.
 5   A. No.                                                  5   A. I don't have any reason to disagree with that,
 6   Q. Is there any other reason that you've reached        6   but, again, that's not something that I can sit
 7   your conclusions -- sorry, we'll strike that.           7   here and verify. I assume it can be easily
 8   Any other reason that supports your opinions            8   identified in medical literature or text.
 9   that we haven't discussed that you're aware of          9      BY MR. WILSON:
10   as you sit here today?                                 10   Q. Would you agree with me that glucose is the
11   A. Not as I sit here today, no.                        11   primary source of endogenous ethanol?
12   Q. Are there any facts that you might learn that       12   A. I would agree with that as I sit here, but,
13   might change your opinions?                            13   again, that's getting beyond my area of
14   A. It would depend on the facts and my ability to      14   expertise and practice.
15   review those facts. As I sit here today, I --          15   Q. Well, because of that, because glucose is the
16   other than ones that you have hypothesized being       16   primary source of endogenous ethanol, tissues
17   brought into evidence, I can't bring anything          17   high in glucose storage capacity will have the
18   up.                                                    18   highest levels of postmortem ethanol production?
19   Q. Can you think of any documents that you haven't     19   A. If there's microbes there that can metabolize
20   reviewed that if you were provided them might          20   the glucose, yes.
21   cause your opinions to change?                         21   Q. And microbes can enter the body through the eyes
22   A. I don't know that I can think of any documents      22   like we discussed?
23   that would cause me to change the two opinions         23   A. Yes.
24   or three opinions that I've put forth in my            24   Q. They can enter the body through cuts, abrasions?
25   document -- in my report. But then again, I'm          25   A. Yes.

                                                 Page 110                                                   Page 112

 1   open to reviewing any documents that can be             1   Q. They can enter the body through the lungs?
 2   produced and reevaluate my opinions and revise          2   A. Yes.
 3   them.                                                   3   Q. And the vitreous humor, that has levels of
 4   Q. Are you familiar with the American Journal of        4   glucose in it, doesn't it?
 5   Forensic Pathology?                                     5   A. I have no reason to believe it does not.
 6   A. It's not a journal I've ever read unless it's        6   Q. Would you agree with me that physical exertion
 7   one of the ones that's -- I mean, it's not a            7   raises the pH of the body?
 8   journal I have in my library or that I can say          8   A. I have no reason to disagree with that
 9   I've ever read.                                         9   statement.
10   Q. What about the International Journal of             10   Q. Would you agree with me that elevated pH levels
11   Toxicology?                                            11   in the body enhances microbial -- microbial
12   A. Again, nothing I read on a daily basis.             12   proliferation?
13   Q. How many species of bacteria can produce alcohol    13   A. I have -- again, you're getting -- asking
14   in a body postmortem?                                  14   questions outside my area of expertise and
15   A. I do not know.                                      15   practice, but I have no reason to disagree with
16   Q. What about yeast, do you know how many species      16   your comments as I sit here today.
17   of yeast can do so?                                    17   Q. What do you perceive is your role and function
18   A. I do not know that either.                          18   in this case?
19   Q. Same question for mold?                             19   A. My role and function in this case was to review
20   A. I do not know.                                      20   the reports and documents provided me and opine
21   Q. Do you know if the blood that was tested in this    21   on two facts, one, the veracity of Dr. Bledsoe's
22   case was taken from the left or right side of          22   analogy and, number two, any influence that
23   Mr. Gray's heart?                                      23   alcohol may have had in this untimely death.
24   A. Not unless the autopsy report identifies that,      24   Q. Is it important that you be fair and objective
25   no.                                                    25   in your analysis of the facts of this case?


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                  (28) Pages 109 - 112
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 30 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                 Page 113                                                   Page 115

 1   A. Yes.                                                 1   Q. In your review of the photographs, documents,
 2   Q. And as part of that, when you're considering the     2   autopsy report, medical literature,
 3   alcohol levels in Mr. Gray's body at his                3   Dr. Bledsoe's deposition, his report and the
 4   autopsy, it's important to consider other               4   literature cited by him, what's the strongest
 5   potential causes of it besides alcohol                  5   fact in this case for the plaintiff?
 6   ingestion, correct?                                     6       MR. HEFFRON: Object to form. On
 7   A. Yes.                                                 7       what?
 8   Q. What further work do you intend to do on this        8   A. That -- I can't answer the question, I mean,
 9   case?                                                   9   what's the plaintiff want?
10   A. I intend to do no further work unless I am asked    10       BY MR. WILSON:
11   or required to by the case as it proceeds.             11   Q. Justice.
12   Q. Have you been asked to do any further work?         12       MR. HEFFRON: Object to form, it's
13   A. No.                                                 13       ambiguous, vague, confusing, lacks
14   Q. Do you have any criticisms of Dr. Bledsoe?          14       foundation.
15   A. I have no criticisms of Dr. Bledsoe, no.            15   A. I -- you'll have to define justice, I mean, I --
16   Q. Have you made any credibility judgments as part     16   I can't answer the question.
17   of your analysis in this case?                         17       BY MR. WILSON:
18   A. I have no credibility judgments, no.                18   Q. Well, if someone were to say Mr. Gray was likely
19   Q. Did you ask for any information that was not        19   alive and conscious for a time following his
20   provided?                                              20   engulfment in sawdust, what would be the
21   A. No.                                                 21   strongest fact in favor of that opinion?
22   Q. Were you asked to consider any opinions that you    22       MR. HEFFRON: Object to form,
23   weren't able to provide?                               23       incomplete hypothetical, speculative.
24   A. No.                                                 24   A. Yeah, I can't speculate on that, I can't answer
25   Q. Why did you agree to be an expert in this case?     25   that.

                                                 Page 114                                                   Page 116

 1   A. Because forensic analyses are an area that I         1      BY MR. WILSON:
 2   have been involved with over the last 20 to             2   Q. Do you consider this case to be frivolous?
 3   25 years and I enjoy doing it.                          3      MR. HEFFRON: Object to form, calls
 4   Q. You enjoy being an expert witness?                   4      for a legal conclusion.
 5   A. I enjoy utilizing my medical and scientific          5   A. I'm not here to judge the frivolousness of the
 6   knowledge to educate triers of fact, be it              6   case; I'm here to educate the trier of fact of
 7   juries or attorneys, so they can make a decision        7   the medical facts.
 8   on the case -- on the situations they're looking        8      BY MR. WILSON:
 9   at, that I enjoy, yes, it's teaching.                   9   Q. If you had to pick a person who would be a fair
10   Q. And that's what an expert witness does?             10   and unbiased expert in this case and it can't be
11   A. Yes.                                                11   you or someone you work with, who would it be?
12   Q. Are you 100 percent certain about your opinions     12      MR. HEFFRON: Object to form, on
13   in this case?                                          13      what?
14   A. I don't think medicine can achieve 100 percent      14   A. I -- I can't really answer that, I -- what
15   certainty.                                             15   question do you want the trier of fact to
16   Q. Is there any additional facts that could be         16   answer?
17   provided to give you 100 percent certainty about       17      BY MR. WILSON:
18   your opinions in this case?                            18   Q. Well, how about the questions you answered in
19   A. Not as I sit here today. That's like the other      19   your report, if you had to pick one person who
20   question you asked, my opinions would change           20   would be a fair and unbiased expert to answer
21   with more information.                                 21   those same questions and it can't be you or
22   Q. Well, is it possible to be 100 percent certain      22   someone you work with, who would it be?
23   about your opinions?                                   23      MR. HEFFRON: Same objection.
24   A. Anything's possible but, again, I'm here to         24   A. I -- again, I can't answer that. There's a
25   educate and teach, not make decisions.                 25   variety of people in the population that have


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                  (29) Pages 113 - 116
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 31 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                 Page 117                                                   Page 119

 1   different degrees of education, training, and           1   Q. So that's an assumption you're making?
 2   experience so it's -- I can't -- I can't                2       MR. HEFFRON: Object to form.
 3   identify a single individual.                           3   A. Again, I answered the question the best I could.
 4      BY MR. WILSON:                                       4       BY MR. WILSON:
 5   Q. So you can't -- you can't think of a single          5   Q. Well, I'm going to object as being
 6   individual?                                             6   nonresponsive.
 7   A. No.                                                  7       It's not stated anywhere and, therefore,
 8   Q. You indicated that Dr. Bledsoe was                   8   it's something that -- it's not a fact stated in
 9   inappropriately relying on rapid sequence               9   any EMS records, for instance, correct?
10   intubation for his opinion regarding how long          10   A. What fact in EMS records?
11   Mr. Gray was alive following his engulfment,           11   Q. The EMS records do not address potential for
12   correct?                                               12   postmortem alcohol production?
13   A. Yes.                                                13   A. No, they do not.
14   Q. Other than that, was there anything that you        14   Q. And the autopsy report doesn't either?
15   believe Dr. Bledsoe was right about?                   15   A. It does not.
16   A. His report focused on O2 saturations and the        16   Q. And none of the documents you reviewed in this
17   deterioration of O2 saturations with time given        17   case reference that?
18   respiratory drive, and the analogy he used was         18   A. Again, other than as I mentioned previously, the
19   inappropriately or incorrectly applied to this         19   chronology and the time frame incorporated into
20   case given the fact that we have no witnesses to       20   my medical decision making based on my training,
21   identify what exactly transpired.                      21   education in the area of alcohol production and
22   Q. So it sounds like your answer to the question       22   pathology.
23   might be his analogy was improper and wrong, but       23   Q. But you've already testified several times today
24   the facts and the studies he relied on up to           24   that the specifics of how alcohol is produced in
25   that point were appropriate and correct?               25   the body postmortem is beyond your area of

                                                 Page 118                                                   Page 120

 1      MR. HEFFRON: Object to form, asked                   1   expertise, correct?
 2      and answered.                                        2   A. Yes, but I have limited knowledge as to the time
 3   A. The literature he utilized and the analogy he        3   frame that is necessary to achieve quantifiable
 4   drew identified only one possible speculation as        4   production of alcohol by microbes.
 5   to how this individual died.                            5   Q. And what is that time frame?
 6      BY MR. WILSON:                                       6   A. It extends out days, if not weeks.
 7   Q. Okay. But is there anything of Dr. Bledsoe's         7   Q. So you're not aware of any medical literature
 8   report or his deposition that you believe he got        8   giving less than 24-hour period as enough time
 9   right?                                                  9   to generate an appreciable amount of alcohol?
10      MR. HEFFRON: Object to form, asked                  10   A. No, I'm not.
11      and answered.                                       11   Q. So because Mr. Gray had sawdust in his eyes, if
12   A. The fact that the individual died and it was an     12   there was microbial life in that sawdust, it
13   unwitnessed death.                                     13   could have entered his system through his eyes?
14      BY MR. WILSON:                                      14   A. Yes.
15   Q. Anything else?                                      15   Q. And it could have entered his vitreous humor?
16   A. Not as I sit here today.                            16   A. What entered the vitreous humor?
17   Q. To arrive at your opinions in this case, you had    17   Q. Microbial life?
18   to assume that there was no appreciable level of       18   A. That I can't answer, I don't know that a microbe
19   postmortem alcohol production, correct?                19   can penetrate the eyeball to get to the vitreous
20      MR. HEFFRON: Object to form.                        20   humor, that's beyond my area of expertise.
21   A. If, in fact, there was any postmortem alcohol       21   Q. You can't say one way or the other?
22   production, it was not significant.                    22   A. No.
23      BY MR. WILSON:                                      23   Q. No, being that's right, you can't say one way or
24   Q. And none of that's stated in any of the records?    24   the other?
25   A. Correct.                                            25   A. Yeah, I don't know, you're asking questions I


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                  (30) Pages 117 - 120
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 32 of 53
Ruth Gray v                                                                                    John F. McMaster, M.D.
Conner Industries                                                                                   November 15, 2021
                                                  Page 121                                                    Page 123

 1   have --                                              1       A. It depends on the situation, you'd have to give
 2   Q. I just wanted to clarify your answer just to      2       me a better situation.
 3   make it clear for the record.                        3          BY MR. WILSON:
 4      So your opinion in this case, or one of           4       Q. What else would you need to know to make that
 5   them, is that Mr. Gray was under the influence       5       determination?
 6   of alcohol at the time of his death, correct?        6       A. What else would I need to know to make what
 7   A. My opinion is that Mr. Gray had evidence of       7       determination?
 8   alcohol within his tissues, his blood system,        8       Q. Whether someone breathing normally would have
 9   his vitreous at the time of his untimely death.      9       pulled sawdust -- someone being unconscious and
10   Q. Is it your opinion that the level of alcohol     10       breathing normally would have pulled sawdust
11   found in Mr. Gray's body contributed to his         11       down into the proximal bronchioles of the lung?
12   death?                                              12       A. Being unconscious and breathing normally are two
13   A. It is my opinion that alcohol was one factor     13       different data points that I can't put together
14   that was a comorbidity identified that              14       in your question.
15   contributed to his untimely death.                  15       Q. Let's just take unconscious, if someone's
16   Q. Is it your opinion that if Mr. Gray didn't have  16       unconscious and they're engulfed in sawdust,
17   any levels of ethanol in his system he would not    17       would you agree with me that they're not going
18   have died?                                          18       to pull sawdust down to the proximal bronchioles
19      MR. HEFFRON: Object to the form.                 19       of their lungs?
20   A. Could you read that question back again, please. 20       A. No.
21      (At this time, the reporter read                 21       Q. Why not?
22      the designated portion.)                         22       A. Because the respiratory drive comes from a lower
23      MR. HEFFRON: Same objection, calls               23       center in the brain that doesn't require higher
24      for speculation.                                 24       cognitive function where we perceive and develop
25   A. I can't say whether he would have or wouldn't 25          emotions and experience things.

                                                  Page 122                                                    Page 124

 1   have died had alcohol been not present in his            1   Q. So Mr. Gray would have experienced things and
 2   system.                                                  2   developed emotions and started breathing harder
 3      BY MR. WILSON:                                        3   as a result even if he was unconscious?
 4   Q. Would you agree with me that when it comes to         4   A. Read the question back, please.
 5   alcohol testing, the result of the analysis is           5      (At this time, the reporter read
 6   only as good as the sample received?                     6      the designated portion.)
 7   A. Yes.                                                  7   A. I -- the question confuses me because
 8   Q. So for your opinion regarding the potential of a      8   consciousness is at a higher level than
 9   cardiac arrythmia, you didn't cite any studies           9   respiratory effort.
10   for that opinion in your report, did you?               10      BY MR. WILSON:
11   A. No.                                                  11   Q. So is it your testimony that someone who is
12   Q. Did you read any studies on cardiac arrythmia        12   unconscious, if they are engulfed in sawdust,
13   before writing your report?                             13   they will start breathing very hard in response
14   A. No.                                                  14   to that sawdust?
15   Q. So you didn't rely on any medical literature for     15   A. No, that's not my testimony.
16   your opinions?                                          16   Q. Okay. I'm struggling to understand, then,
17   A. No.                                                  17   Doctor. If someone is rendered unconscious,
18   Q. No being you didn't rely?                            18   they're not going to be breathing as hard in
19   A. I didn't, I relied on my training, education,        19   that engulfed sawdust?
20   and experience.                                         20   A. They would still have respiratory drive for a
21   Q. Would you agree with me that if someone was          21   short period of time.
22   unconscious and breathing normally, sawdust             22   Q. They would still be breathing in other words or
23   would not have been pulled down into the                23   trying to breathe?
24   proximal bronchioles in the lung?                       24   A. They will have respiratory effort for a short
25      MR. HEFFRON: Object to form.                         25   period of time.


Min-U-Script®                        Court Reporting Service, Inc. (316) 267-1201                   (31) Pages 121 - 124
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 33 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                 Page 125                                                   Page 127

 1   Q. And what level of respiratory effort?                1   Q. But I'm trying to figure out, Doctor, what about
 2   A. It can appear normal to the untrained observer.      2   your training, education, and experience leads
 3   Q. In what way would it appear normal?                  3   you to the conclusion that unconscious breathing
 4   A. They take a breath.                                  4   could pull sawdust down that far?
 5   Q. Wouldn't be labored breathing?                       5   A. I've been at the bedside of hundreds of people
 6   A. They take a breath. I'm trying to answer your        6   that have had no higher cognitive function that
 7   questions as you present them, they take a              7   still for a short period of time exhibit
 8   breath.                                                 8   respiratory effort.
 9   Q. Well, Doctor, I mean, you know where I'm going       9   Q. And what about those observations lead you to --
10   with this, Dr. Bledsoe testified that the only         10   leads you to the conclusion that Mr. Gray could
11   way to get sawdust down into the proximal              11   have pulled that sawdust down into his lung with
12   bronchioles of the lung was if he was conscious        12   unconscious breathing?
13   and kind of panicking and breathing really hard        13   A. My experience.
14   to try to get that sawdust -- or get breath into       14   Q. But what about that experience, can you describe
15   his lungs. Do you remember that?                       15   it for me?
16   A. I remember that and I disagree with that            16   A. I don't know how else to describe it, people
17   opinion.                                               17   that are unconscious and in the later stages of
18   Q. Okay. How so, why?                                  18   dying will continue to have respiratory drive
19   A. Again, if you lose consciousness, you can still     19   for a period of time after their heart has
20   have respiratory drive and bring sawdust into          20   ceased functioning.
21   your upper airway and large airways of the lung.       21   Q. Okay. So what I'm trying to figure out, Doctor,
22   Q. But what about past the large airways of the        22   is if I wanted to confirm this opinion of yours,
23   lung, would you be able to get sawdust down into       23   is there any medical literature that analyzes
24   those airways?                                         24   how far someone could pull sawdust into their
25   A. In my medical opinion, the ability to get           25   lungs?

                                                 Page 126                                                   Page 128

 1   sawdust where it was found on this autopsy did          1   A. I know of nothing, no.
 2   not require higher cognitive function.                  2   Q. Do you know of any medical literature where I
 3   Q. And are you basing that on any medical studies       3   could find an analogous situation that I could
 4   or literature?                                          4   look at?
 5   A. No, I'm basing it on my training, education, and     5   A. I could think of an analogous situation but not
 6   experience and review of the documents provided         6   medical literature.
 7   me.                                                     7   Q. Give me the analogous situation you can think
 8   Q. So in your 36 years of clinical practice here in     8   of.
 9   Wichita, how many times have you had the                9   A. What transpires after an individual goes into
10   opportunity to investigate sawdust being in the        10   sudden cardiac arrest.
11   lungs of a patient?                                    11   Q. And what about that situation makes it
12   A. Zero.                                               12   analogous?
13   Q. And how many times have you been able to            13   A. The heart quits beating, there's no blood flow
14   evaluate whether someone could pull a substance        14   to the brain, you're unconscious.
15   into their lungs with unconscious breathing?           15   Q. Are they breathing?
16   A. Read that question back again, please.              16   A. There's still respiratory drive, yes.
17      (At this time, the reporter read                    17   Q. So I -- Doctor, I'm just trying to figure out,
18      the designated portion.)                            18   you're telling me that your education and
19   A. 36 years worth of being at the bedside of dying     19   training and experience leads you to the
20   patients.                                              20   conclusion that Mr. Gray could have been
21      BY MR. WILSON:                                      21   unconscious and pulled this sawdust down into
22   Q. So you've seen them pull substances like sawdust    22   his lungs. How do I know that that's a reliable
23   or similar substances into their lungs of              23   opinion or a scientifically valid opinion other
24   unconscious breathing?                                 24   than your telling me it is so?
25   A. I've seen them pull air into their lungs.           25   A. I just gave you an example to look at


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                  (32) Pages 125 - 128
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 34 of 53
Ruth Gray v                                                                                   John F. McMaster, M.D.
Conner Industries                                                                                  November 15, 2021
                                                 Page 129                                                   Page 131

 1   individuals in the literature with respect to        1      Q. Do you know if Exhibit 75 or 72 have been
 2   sudden cardiac arrest and what transpires after      2      criticized for their findings in any way?
 3   the heart quits pumping blood to the brain.          3      A. No, I do not.
 4   Q. And maybe this is just me being a layperson, but  4      Q. Last thing I want to go over with you, Doctor,
 5   I'm struggling to see the connection with how        5      is Exhibit --
 6   far someone could pull sawdust into their lungs?     6         MR. WILSON: What are we on?
 7   A. The respiratory drive does not cease at the same  7         THE REPORTER: Ready for 76.
 8   time that the cardiac pumping function to the        8         BY MR. WILSON:
 9   brain ceases.                                        9      Q. Okay, this is the last one, Exhibit 76, these
10   Q. So is any level of respiratory drive enough to   10      are autopsy photos that you reviewed.
11   pull sawdust down into the lungs?                   11         (Deposition Exhibit Number 76
12   A. Yes.                                             12         Marked for Identification.)
13   Q. And is that --                                   13         MR. HEFFRON: Do you have a printout
14   A. Depends on the quality of the sawdust, how small 14         for me, Jeff, I didn't bring them?
15   the particles are, whether they're aerosolized.     15         MR. WILSON: I do.
16   Q. Did you analyze the quality of the sawdust in    16         MR. HEFFRON: Not that that's
17   this case?                                          17         anything I'm real excited to look at
18   A. No.                                              18         but ...
19   Q. It sounds like that would be an important factor 19         BY MR. WILSON:
20   to look at to determine whether Mr. Gray could      20      Q. And I have put little page numbers on the bottom
21   get that down there unconscious.                    21      right-hand corner. So I want to go over a few
22      MR. HEFFRON: Object to form.                     22      of these with you just to get more information
23      BY MR. WILSON:                                   23      about the -- Exhibit 4 -- or, sorry, Exhibit 76,
24   Q. Would you agree?                                 24      page 4 of this exhibit is a picture of
25   A. It would only depend upon how far the sawdust 25         Mr. Gray's torso, correct?

                                                 Page 130                                                   Page 132

 1   went in the airways.                                    1   A. Yes, sir.
 2   Q. So just to be clear, there's no medical              2   Q. And I notice that there's -- looks like some
 3   professional, no medical society, no medical            3   purple marks around his neck and upper chest
 4   literature, nowhere else other than Dr. McMaster        4   area. Do you know what would have caused that?
 5   in this room that I can look at to determine the        5   A. I don't know.
 6   reliability of your opinion that Mr. Gray could         6   Q. Well, the reason I ask is your report talks
 7   have gotten sawdust down there unconsciously?           7   about -- I believe there's a -- you say there's
 8       MR. HEFFRON: Object to form.                        8   a lack of evidence of struggle or trauma to
 9   A. I think I have identified there probably exists      9   Mr. Gray's body; is that accurate?
10   medical literature out there, but I cannot             10   A. Yes.
11   direct you to it. If you would like me to              11   Q. Wouldn't severe bruising, if this is bruising,
12   investigate it on your behalf, please let me           12   be indicative of trauma?
13   know.                                                  13      MR. HEFFRON: What are you -- I'm
14       BY MR. WILSON:                                     14      sorry, Jeff, what are you having the doctor
15   Q. So, Doctor, I know that you pulled this medical     15      look at?
16   literature, the two articles you gave us,              16      MR. WILSON: Page 4.
17   Exhibit 75 and 72, did you look for any medical        17      MR. HEFFRON: Okay, yeah.
18   study that contradicted your opinions in this          18      BY MR. WILSON:
19   case?                                                  19   Q. I mean, if you're seeing something different,
20   A. No.                                                 20   Doctor, that's perfectly fine, I'm just
21   Q. Do you know if Exhibit 75 or 72 have been cited     21   wondering if that's bruising or if you know what
22   by any other medical publications?                     22   that is?
23   A. I don't know. I didn't do any research to see       23   A. It's ecchymosis around the neck that I could
24   how many times the documents I provided you have       24   speculate could be due to any number of things,
25   been cited in other publications.                      25   none the least of which resuscitation efforts.


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                  (33) Pages 129 - 132
        Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 35 of 53
Ruth Gray v                                                                                  John F. McMaster, M.D.
Conner Industries                                                                                 November 15, 2021
                                                 Page 133                                                   Page 135

 1   Q. Okay. And page 5, it looks like there's a            1   is that this is the right lung and this is the
 2   catheter inserted in his leg going, I assume, to        2   left lung.
 3   the femoral artery. Is that what you see in             3   Q. Okay. And you were just pointing to the one on
 4   this photo?                                             4   the left and the right side respectfully on the
 5   A. No, I see the possibility of a catheter placed       5   photo?
 6   in the tibia, which would be an intraosseous            6   A. It's just like an x-ray.
 7   line.                                                   7   Q. Sure.
 8   Q. Okay. What is an intraosseous line used for?         8   A. If he's sitting there looking at you --
 9   A. It is a needle that is placed in the bone to         9   Q. Fair enough.
10   infuse fluids. It is typically utilized as an          10   A. -- his right lung and his left lung.
11   easier access point than a vein to administer          11   Q. If we go over to page 14, it's more of a
12   drugs and fluids.                                      12   close-up of the -- what we believe might be the
13   Q. Okay. And we're going to go over to page 9.         13   left lung, and it looks like you can see the
14   A. Show me the picture because I don't -- okay.        14   saw --
15   Q. There -- there should be page numbers there on      15   A. I think that's the right lung.
16   one of the corners, do you see them? I tried to        16   Q. Right lung, excuse me. We're on page 14 of this
17   write them on every page.                              17   exhibit, that's the important part.
18      MR. HEFFRON: Here, Doctor, you can                  18   A. Yes.
19      use the set I got, it has got page numbers          19   Q. And we see one of his lungs, and it looks like
20      down at the bottom.                                 20   there's -- is that the sawdust there coming out
21   A. Okay, that's fine, I just need to see the           21   of the lung?
22   picture.                                               22   A. I don't know, you'll have to ask the
23      MR. HEFFRON: I'll share with you.                   23   pathologist.
24   A. Okay.                                               24   Q. But if that is the sawdust, your testimony is
25      BY MR. WILSON:                                      25   unconscious breathing is enough to get it down

                                                 Page 134                                                   Page 136

 1   Q. This is kind of a more up-close photo, what did      1   that far?
 2   you refer to the markings around his shoulder           2   A. That's possible, yes.
 3   area and neck earlier, you used a medical term?         3   Q. What does page 18 show?
 4   A. Ecchymosis, bruising.                                4   A. Is this 18?
 5   Q. And you believe that would be consistent with        5      MR. HEFFRON: Yeah.
 6   resuscitative efforts?                                  6   A. I believe that is the larynx and the trachea,
 7   A. That is one speculation. Another speculation is      7   the proximal airway as you go down before you
 8   if at some point he had a C-collar in place,            8   get to the lungs.
 9   that can occur.                                         9      BY MR. WILSON:
10   Q. Could it be the result of a hard object striking    10   Q. Okay. And then --
11   his body?                                              11   A. The epiglottis is up at the top.
12   A. It's possible.                                      12   Q. And then page 19?
13   Q. Okay. So page 12, and these are gruesome            13   A. That's that same piece of tissue transected
14   pictures but I just need to know what we're            14   longitudinally to look at the trachea.
15   looking at here on page 12. I believe these are        15   Q. Okay. I just wanted to know what I was looking
16   his lungs; is that accurate?                           16   at, Doctor, thank you. That's all the questions
17   A. I believe you are correct.                          17   I have for you today.
18   Q. And do you know, there's one on the left and one    18      MR. HEFFRON: I don't have any
19   on the right if we're looking at the photo             19      questions today. Doctor will read and
20   oriented with the marker at the bottom, would          20      sign, you can send it to my office, I'll
21   that be the layout that they were in the body,         21      get it to him.
22   or do you know?                                        22      (Whereupon, the deposition was
23   A. It may represent -- again, you're getting           23      concluded at 12:10 p.m.)
24   outside my area of expertise, but my limited           24
25   training, education, and experience in pathology       25


Min-U-Script®                       Court Reporting Service, Inc. (316) 267-1201                  (34) Pages 133 - 136
       Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 36 of 53
Ruth Gray v                                                                         John F. McMaster, M.D.
Conner Industries                                                                        November 15, 2021
                                                  Page 137
 1              I, JOHN F. MCMASTER, M.D., the witness
 2     herein, have read the transcript of my testimony,
 3     and the same is true and correct to the best of my
 4     knowledge, with the exception of the changes noted
 5     on a separate page, together with notation of the
 6     reasons for making such corrections.
 7
 8                        ______________________________
                          JOHN F. MCMASTER, M.D.
 9
10
       STATE OF KANSAS              )
11                                  ) ss:
       ________________ COUNTY      )
12
13              Subscribed and sworn to before me, the
14     undersigned authority, this the _____ day of
15     ____________, 2021.
16
17                        ______________________________
18                        Notary Public, ________ County
                          State of Kansas
19
       My appointment expires:
20
       _______________________
21
22
23
24     (CASE: Ruth Gray -vs- Conner Industries, Inc.,
       TAKEN 11/15/2021)
25

                                                  Page 138
 1                        C E R T I F I C A T E
 2     STATE OF KANSAS    )
                          )   ss:
 3     SEDGWICK COUNTY    )
 4              I, Nancy L. Rambo, do hereby certify the
 5   foregoing deposition was stenographically recorded
 6   by me as stated in the caption.     The deponent was
 7   duly sworn to tell the truth, the whole truth, and
 8   nothing but the truth.    Colloquies, statements,
 9   questions and answers thereto were reduced to
10   typewriting under my direction and supervision, and
11   the deposition is a true and correct record of the
12   testimony/evidence given by the deponent.
13              I further certify that I am not a relative
14   or employee or attorney or counsel of any of the
15   parties, nor am I a relative or employee of such
16   attorney or counsel, nor am I financially interested
17   in the action.
18              WITNESS my hand and official seal at
19   Wichita, Sedgwick County, Kansas, this 27th day of
20   November, 2021.
21
22                       ________________________________
                           NANCY L. RAMBO, R.P.R., C.S.R.
23                       Registered Professional Reporter
                           Certified Shorthand Reporter
24
       Costs:
25


Min-U-Script®                        Court Reporting Service, Inc. (316) 267-1201       (35) Pages 137 - 138
                 Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 37 of 53
Ruth Gray v                                                                                                  John F. McMaster, M.D.
Conner Industries                                                                                                 November 15, 2021

                            14:14;24:16,18,19;        112:13;114:24;116:24;         15,18,24;97:12,17,22,    analyzed (5)
             $              25:2                       119:3,18;121:20;             23;98:7,21;99:7,12,13,     45:12;46:17,25;
                         actively (3)                  125:19;126:16;134:23         16,17,25;100:8,9,16,       64:23;103:14
$325 (1)                    15:14;24:21;25:10       age (1)                         24;102:4,5,9,10,11,19,   analyzes (1)
  12:4                   activities (2)                33:14                        22,24;103:6,11,25;         127:23
$4,775 (1)                  15:21;48:6              agent (1)                       104:6,8;105:7,12,14,     analyzing (2)
  11:17                  activity (1)                  16:20                        18,21;107:8,12;            22:7;26:20
$75 (1)                     35:1                    ago (1)                         108:14;110:13;112:23;    anatomy (1)
  11:19                  actual (2)                    50:14                        113:3,5;118:19,21;         31:17
                            57:7;84:6               agree (27)                      119:12,21,24;120:4,9;    and/or (2)
             A           actually (3)                  49:15;50:3;70:10,13;         121:6,8,10,13;122:1,5      16:10;20:20
                            19:5;48:10;84:15           73:16;74:9;76:7,9;        alcohol-induced (4)         annually (2)
abilities (1)            acuity (12)                   77:9;90:20,22;91:4;          34:5;66:23;67:4,14         12:20;18:2
  74:23                     19:2;34:5;41:9;64:2;       94:20;97:21;98:1,9;       alive (3)                   answered (8)
ability (6)                 66:23;67:4,14;68:8;        102:6;111:1,10,12;           43:18;115:19;117:11        10:9;72:13;107:4;
  60:7;62:17,18;            77:2,8;105:8,11            112:6,10;113:25;          allegedly (1)                 108:24;116:18;118:2,
  104:12;109:14;125:25   acute (2)                     122:4,21;123:17;             58:13                      11;119:3
able (8)                    31:15,18                   129:24                    allow (2)                   Anything's (1)
  8:21;60:7;78:1;        acutely (2)                agreement (1)                   54:7;79:24                 114:24
  79:11;104:6;113:23;       64:5,11                    72:6                      allowed (3)                 appear (3)
  125:23;126:13          added (4)                  ahead (1)                       17:14,16;29:8              76:9;125:2,3
above (2)                   16:6;22:25;25:14;          99:20                     allowing (1)                appearance (1)
  63:22;67:16               77:1                    air (2)                         50:12                      41:7
abrasions (1)            addition (2)                  18:20;126:25              allows (2)                  appears (2)
  111:24                    17:17;86:14             airline (1)                     16:18;62:22                73:15;74:10
absence (2)              additional (5)                67:20                     almost (1)                  applied (1)
  61:8;81:22                16:7;28:8;89:3;         airplane (1)                    33:14                      117:19
absent (1)                  103:19;114:16              18:15                     along (2)                   appointment (1)
  49:17                  additions (2)              airway (10)                     5:21;30:8                  24:1
Absolutely (1)              7:21;9:14                  44:1,16;49:6,11;          alternative (1)             appointments (3)
  77:25                  address (2)                   52:5;55:12,13;87:21;         55:11                      24:3,5,11
absorbed (2)                51:3;119:11                125:21;136:7              although (1)                appreciable (2)
  34:19;65:12            addressed (1)              airways (9)                     100:15                     118:18;120:9
absorbing (1)               97:18                      30:11,13;88:8,10,12;      always (3)                  appreciate (2)
  66:2                   addresses (2)                 125:21,22,24;130:1           8:22;38:4;99:13            8:20;59:2
absorption (2)              68:13;104:4             albeit (1)                   ambiguous (1)               appropriate (8)
  66:12;91:24            adequate (1)                  37:9                         115:13                     43:7,16;51:2,6;55:5;
abundant (1)                95:16                   alcohol (214)                America (2)                   81:15;84:2;117:25
  41:21                  administer (1)                16:9,19;17:4,6;20:4;         26:4;33:7                approximately (1)
Academy (2)                 133:11                     21:3,6,15,24;22:1,4;      American (5)                  20:8
  25:16,18               Administration (1)            23:7,14,17,20,22,24;         15:1;25:16;73:18;        approximation (1)
accepted (1)                16:21                      26:15,21;34:3,4,17,17,       104:22;110:4               53:16
  37:20                  admit (1)                     19,24;35:3,4,6,18,21;     among (1)                   area (17)
access (1)                  24:22                      36:3,4,13,14,15,22,25;       16:19                      79:8;80:11,14;82:18;
  133:11                 aerosolized (1)               37:4,17;38:1;39:7,9;      amount (7)                    84:13;94:18;98:3;
According (1)               129:15                    40:8;41:17;42:6,15,16;        55:25;62:14;90:14;         100:11;111:13;112:14;
  106:20                 affected (1)                  62:23;63:11,15,16,17,        92:5;97:11;108:13;         114:1;119:21,25;
account (3)                 64:4                       20,21,23,24;64:1,6,7,        120:9                      120:20;132:4;134:3,24
  94:24;95:1,2           affects (3)                  22;65:1,6,7,8,11,12,20,    analogous (4)               argue (1)
accounts (1)                64:1,6,11                  24;66:2,9,10,15,17,20,       128:3,5,7,12               72:14
  32:3                   afraid (1)                    21;67:2,2,10,16,16,19,    analogy (7)                 around (6)
accuracy (2)                42:23                     24;68:3,4,5,6,8,9,17,21,      43:8;53:18;54:25;          10:12;61:11,15;
  22:17;72:20            afterwards (1)                24;70:19,21,22,23;           112:22;117:18,23;          132:3,23;134:2
accurate (13)               20:24                      71:3;73:7,8,12;74:17,        118:3                    arrest (5)
  7:22;12:4;14:12,22;    Again (38)                    17;75:1,3,7,9,12,19;      analyses (2)                  59:19;60:13,25;
  24:11;26:10;27:1;         29:8;32:17,24;33:16,       76:1,3,12;79:12,15,18,       83:10;114:1                128:10;129:2
  34:10;44:7;45:10;         17;37:4;39:1;40:16;       25;80:2,9;81:3,8,10,11,    analysis (5)                arrhythmia (5)
  86:15;132:9;134:16       46:21;50:5;53:2;56:14;      19;82:3,23;83:16;            38:1;98:16;112:25;         54:19,23;55:24;56:4,
achieve (4)                59:7;66:10;70:25;72:5,      84:17,17;90:4,7,10,14,       113:17;122:5               17
  66:3,6;114:14;120:3       13;80:6,10;84:12;          19,21,23,25;91:7,9,18,    Analytical (1)              arrhythmias (1)
acid (1)                    91:22;95:13;101:13,        20,21,23,25;92:2,3,4,        92:20                      31:25
  83:20                     17;107:16;109:25;          13;93:5,5,12,12,18,22;    analyze (1)                 arrive (1)
active (5)                  110:12;111:6,13;           94:1,2,5,22,25;95:12,        129:16                     118:17

Min-U-Script®                           Court Reporting Service, Inc. (316) 267-1201                                 (1) $325 - arrive
              Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 38 of 53
Ruth Gray v                                                                                                 John F. McMaster, M.D.
Conner Industries                                                                                                November 15, 2021

arrived (1)                assure (1)                   78:14;80:23;86:22;      blood (120)                   22:18
  78:8                        27:5                      110:13                    34:3,12,22;35:1;          brain (23)
arriving (1)               atherosclerotic (3)        based (17)                  36:3,14,17,25;37:17;        47:4,5;48:5,9,14,16,
  94:25                       33:2,17;54:6              29:17;43:8;45:25;         38:4,6,23;39:11;42:11,      20;50:11;53:22;60:6;
arrythmia (17)             ATP (1)                      54:12;63:5,20;79:23;      15;44:22;45:9;46:4,7,       61:7;62:21;64:2,4,7,8,
  55:17;56:9;57:8,9,          48:7                      81:11;101:19,24;          9,12,14,18,22;47:2,4,       9,19,20;123:23;
  13,15,19;58:2,20;59:4;   attempting (3)               103:4;104:12;106:16;      11,22,25;48:19;53:11;       128:14;129:3,9
  60:18,20;61:7;79:2,7;       13:24;48:22;60:22         107:20;108:3,3;119:20     54:10;55:6,15,22;         break (2)
  122:9,12                 attorney (1)               basing (4)                  56:10,14,18,25;62:25;       39:15;85:1
arrythmias (2)                10:21                     75:11;97:10;126:3,5       63:11,15,16,21,23,25;     breath (14)
  57:23;79:10              attorneys (2)              basis (3)                   64:7;65:1,5,6,11,20,21;     38:6,24;39:11;62:3,
arteries (4)                  15:15;114:7               40:15;51:16;110:12        66:9,15,18,21;67:2,10,      8,11,14,18,20;63:25;
  33:5,6,22,25             authenticity (1)           Bates (1)                   15;68:3,5,9;73:7;           125:4,6,8,14
artery (3)                    104:25                    7:11                      74:17;75:10,12,19;        breathe (13)
  33:2;60:11;133:3         author (1)                 bathroom (1)                76:1,2,12;78:14,21,22;      44:3,15;45:9;52:18,
article (14)                  76:15                     85:1                      79:3;81:10,24;82:3,23;      20;53:8;60:22;61:21;
  41:22;42:15;50:18;       authoritative (5)          beating (1)                 84:5,17;89:9,15,21;         62:1,15,15,22;124:23
  58:9;69:13;74:7,10,15;      73:20;93:1;104:18,        128:13                    90:4,7,10,24;91:7,19;     breathing (24)
  78:2;92:16;93:25;           23;105:1                become (5)                  92:3,14;93:12,19,25;        35:9,12;44:11;49:16;
  100:22;103:23;104:15     authorities (1)              17:20,25;31:9;33:23;      94:2,5,11,12,13,14,16,      51:19,24;60:21,23;
articles (10)                 84:3                      80:17                     17,18;97:23;98:7;           122:22;123:8,10,12;
  41:25;42:9;48:22;        authority (1)              becomes (1)                 99:12;100:24;102:5,9,       124:2,13,18,22;125:5,
  50:19,20,22;51:1;           16:23                     88:10                     11,19,22;103:13;            13;126:15,24;127:3,
  68:20;69:10;130:16       authors (1)                bedside (3)                 104:6;105:18;110:21;        12;128:15;135:25
articulate (1)                77:21                     20:16;126:19;127:5        121:8;128:13;129:3        briefly (2)
  108:6                    autopsies (1)              behalf (4)                bloodshot (1)                 9:12;74:6
artificial (1)                21:19                     9:22;10:15;11:7;          86:12                     bring (8)
  44:17                    autopsy (33)                 130:12                  bloodstream (2)               6:18;37:20;60:1;
artificially (1)              21:23;28:14;74:18;      behavior (2)                66:16;93:24                 67:16;71:16;109:17;
  44:15                       75:13;78:11,16,18,22;     41:8;67:17              bloody (2)                    125:20;131:14
Ascension (2)                 81:14,18,21;83:2;       behaviors (2)               87:10,19                  brings (1)
  25:9;26:6                   84:15;85:13,23;87:4;      67:8;105:15             Board (4)                     53:3
asphyxia (1)                  94:10;95:2,7,9;98:15;   below (10)                  15:1;72:18,23,25          bronchi (6)
  30:4                        100:3,8;101:18;103:4,     48:1,19,25;49:7,7;      boards (1)                    87:9,18,20,25;88:4,
aspiration (2)                17,21;110:24;113:4;       53:12;102:19;105:21;      21:14                       13
  30:4,7                      115:2;119:14;126:1;       107:12,20               bodily (4)                  Bronchioles (7)
aspiring (1)                  131:10                  besides (2)                 39:4,6;42:10;95:8           88:13,15;89:1;
  18:4                     aviation (19)                39:10;113:5             body (33)                     122:24;123:11,18;
assess (1)                    15:22;16:7,20,21,25;    best (6)                    34:18;35:19;36:17,          125:12
  105:11                      17:11,12,13,15,18,20,     9:19;12:18;24:13;         23;64:14;65:13,17;        bronchus (5)
assist (1)                    25;18:11;19:4,13,19;      34:25;72:13;119:3         66:2;78:10;79:12,15,        87:10,19,23;88:6,7
  71:11                       20:2;37:24;68:16        better (3)                  22;80:3,4,8,8,16,25;      brothers (1)
assistant (1)              avoided (1)                  80:12;87:11;123:2         82:13;86:24;101:13;         62:6
  24:8                        75:20                   beyond (6)                  110:14;111:21,24;         brought (4)
associate (1)              aware (10)                   10:19;80:11;94:18;        112:1,7,11;113:3;           11:24;13:12;57:20;
  24:22                       47:10,19;50:12;58:8;      111:13;119:25;120:20      119:25;121:11;132:9;        109:17
associated (1)                59:11,22;105:6,20;      big (1)                     134:11,21                 bruising (4)
  58:16                       109:9;120:7               93:8                    body's (1)                    132:11,11,21;134:4
Associates (2)                                        bin (2)                     35:4                      buildup (1)
  26:2,9                              B                 29:2;51:21              bold (1)                      33:4
assume (17)                                           biomarkers (2)              7:9                       bullet (3)
  19:10;52:12;54:8;        BAC (1)                      79:5,10                 bone (1)                      28:18;33:1;34:2
  56:6,7,9,14;81:5;83:3,     75:24                    bit (1)                     133:9                     buried (1)
  6;84:1;92:24;100:11;     back (19)                    48:10                   book (2)                      59:11
  104:19;111:7;118:18;       10:11;19:25;27:14;       Bledsoe (10)                70:4;72:7                 butcher (1)
  133:2                      39:20;41:1,2;66:19;        5:21;43:14,16;48:23;    both (6)                      30:15
assumed (2)                  88:22,24;96:9,23,24;       50:15;113:14,15;          22:14;29:3;52:24;         buy (1)
  58:12;63:19                97:15;102:16;104:9;        117:8,15;125:10           53:6;64:5,11                71:18
assuming (4)                 105:5;121:20;124:4;      Bledsoe's (7)             bottom (7)
  73:1,4;101:23,24           126:16                     5:24;43:4,6;108:8;        40:24;73:14;74:12;                      C
assumption (6)             backwards (2)                112:21;115:3;118:7        102:2;131:20;133:20;
  52:19,21;54:12;            74:19;75:24              bleeding (4)                134:20                    caliber (1)
  80:19;100:13;119:1       bacteria (4)                 89:7,9,16,17            bound (1)                     88:10

Min-U-Script®                             Court Reporting Service, Inc. (316) 267-1201                           (2) arrived - caliber
             Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 39 of 53
Ruth Gray v                                                                                                John F. McMaster, M.D.
Conner Industries                                                                                               November 15, 2021

call (1)                     115:5;116:2,6,10;       chamber (2)               classify (1)                  42:16;84:18;92:14;
  103:17                     117:20;118:17;119:17;      30:22;31:8                60:23                      100:18;102:9
called (4)                   121:4;129:17;130:19     change (10)               clear (2)                   conclude (1)
  66:3,4;76:14;88:12       cases (10)                   12:13;24:20;46:4;         121:3;130:2                79:25
calls (3)                    9:21,21;10:3;12:17,        59:24;76:22,24;        clinical (5)                concluded (1)
  105:24;116:3;121:23        18;39:23;40:2;53:6;        109:13,21,23;114:20       24:8;70:24;73:19;          136:23
came (2)                     93:6,13                 changed (4)                  104:22;126:8             conclusion (10)
  50:23;51:1               categories (1)               12:21;25:17;26:4,5     clinicians (1)                54:24;105:25;
can (69)                     73:8                    changes (11)                 92:22                      106:15,16;107:2,3;
  7:25;9:25;10:6;          category (2)                 13:18;25:23;26:8;      close-up (1)                  116:4;127:3,10;128:20
  11:15;12:25;13:14;         24:24;76:19                34:6;66:23;67:5,14;       135:12                   conclusions (2)
  14:25;21:8;23:9;24:7;    catheter (2)                 68:9;82:12;105:8,11    clot (2)                      103:8;109:7
  27:11;29:16;33:16;         133:2,5                 charge (2)                   89:5,9                   condition (3)
  39:6,6;40:22;44:14;      cause (10)                   12:2,15                cofactor (2)                  31:3;32:23;33:7
  48:10;49:14;50:24;         31:9;33:22;54:1;        charges (3)                  47:5;48:6                conditions (3)
  57:22;58:8;59:20,25;       56:18;60:9;68:11;          12:8,11;13:19          cognitive (13)                78:10;98:17;101:12
  62:19;63:3;64:23;          81:16,17;109:21,23      chemical (1)                 49:1;50:6,9;52:4;        confident (2)
  71:18;72:14;80:13,22,    caused (3)                   83:19                     53:23;60:6;61:8;62:17;     103:7,7
  24;82:25;85:4;91:9;        58:1;62:25;132:4        chest (1)                    63:14;74:23;123:24;      confirm (2)
  96:8,15,18,20,24;97:6,   causes (3)                   132:3                     126:2;127:6                9:13;127:22
  7,13;99:11;100:24;         56:24;64:9;113:5        Christi (5)               cognitively (3)             conflicts (1)
  109:19,22;110:1,8,13,    C-collar (1)                 24:18;25:8,9;26:5,6       49:5,12;53:5               70:2
  17;111:6,7,19,21,24;       134:8                   Christmas (1)             collect (1)                 confused (7)
  112:1;114:7,14;          cease (4)                    88:11                     16:22                      32:11;39:5;49:22;
  120:19;125:2,19;           48:20;89:7,16;129:7     chromatography (3)        collection (2)                51:22;55:1;96:21;
  127:14;128:7;130:5;      ceased (1)                   22:14;83:12,12            27:10;98:13                101:5
  133:18;134:9;135:13;       127:20                  chronically (2)           coming (1)                  confuses (1)
  136:20                   ceases (4)                   64:5,11                   135:20                     124:7
capacity (3)                 49:1;89:9,18;129:9      chronicity (1)            comment (1)                 confusing (1)
  16:8;20:5;111:17         cell (2)                     92:6                      36:19                      115:13
capillary (1)                48:15;80:16             chronology (3)            comments (1)                conjunction (4)
  89:17                    cells (2)                    28:10;29:9;119:19         112:16                     38:13,20;57:10;
cardiac (42)                 48:8;80:20              circulate (4)             common (3)                    58:20
  31:16,17,18,24,25;       Center (3)                   64:14,15,19,20            32:23;33:7;97:22         conjunctivae (1)
  32:13,18;35:1;54:9,18,     24:9;26:5;123:23        circulated (1)            community (4)                 86:6
  23;55:16,23;56:3,9,17;   centers (4)                  65:10                     37:10,21,21;43:10        connection (2)
  57:7,9,13,14,19,22;        64:3,4,6,9              circulates (2)            comorbidities (1)             31:11;129:5
  58:2,4,19;59:3,8,19;     CEP (1)                      64:2,7                    56:23                    conscious (6)
  60:1,4,13,20,25;61:6;      26:4                    circulating (10)          comorbidity (1)               43:11;47:12;55:25;
  79:2,7,10;122:9,12;      certain (9)                  46:22;47:2,4;54:10;       121:14                     61:25;115:19;125:12
  128:10;129:2,8             22:19;37:10;47:25;         55:7,16,23;56:11,15;   companies (1)               consciousness (14)
cardiomegaly (3)             53:3;64:3,9;68:8;          89:10                     15:15                      47:17,20,24;48:2,13,
  30:16;31:23;54:4           114:12,22               circulation (6)           compare (2)                   20;49:17,19;50:2,10;
cardiovascular (1)         certainty (2)                53:21,21,25;56:19,        51:18;76:17                53:17;60:21;124:8;
  54:6                       114:15,17                  25;60:5                comparing (1)                 125:19
care (1)                   certificate (2)           circumstances (4)            68:5                     consider (7)
  24:23                      18:9,13                    10:12,23;79:24;95:5    complete (2)                  81:9;92:25;93:2;
career (4)                 certificates (3)          citation (2)                 17:24;44:14                99:16;113:4,22;116:2
  21:20;37:23;38:23;         17:17;18:4,17              73:14;77:12            completed (4)               consideration (1)
  68:12                    certification (15)        cite (3)                     17:22,23;85:23;            81:14
carried (1)                  15:3,18,19;16:12,15,       35:25;107:7;122:9         91:13                    considered (5)
  46:9                       17,24;17:2,2;18:3;      cited (5)                 complicated (1)               99:13,21;100:8,12;
carrying (1)                 19:1,16,23;71:9;72:24      68:2;108:18;115:4;        98:9                       105:22
  18:6                     certifications (3)           130:21,25              compromise (1)              considering (2)
case (42)                    14:21;17:15;21:14       city (1)                     30:4                       103:24;113:2
  6:1;8:18,20;10:8;        certified (1)                102:1                  computation (3)             consistent (5)
  11:16;12:13,13;27:20;      84:2                    clarification (1)            41:8;77:2,7                35:24;107:10,13,25;
  28:7;29:7,14;54:25;      certify (2)                  70:16                  concentration (14)            134:5
  74:16;81:25;94:5;          18:11,12                clarify (3)                  46:4;47:22;48:1,19;      consume (1)
  100:23;101:16,21,23,     cessation (2)                5:16;7:2;121:2            53:11;65:6;73:7;76:12;     65:7
  24;104:8;110:22;           51:19;56:18             class (5)                    89:24;90:7;93:12,13,     consumed (1)
  112:18,19,25;113:9,11,   challenging (1)              17:14,16;18:5,24;         18;98:7                    65:25
  17,25;114:8,13,18;         70:6                       19:1                   concentrations (5)          consumes (1)

Min-U-Script®                            Court Reporting Service, Inc. (316) 267-1201                           (3) call - consumes
             Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 40 of 53
Ruth Gray v                                                                                               John F. McMaster, M.D.
Conner Industries                                                                                              November 15, 2021

  34:17                     7:15                      25;76:4;78:7;81:11,16,     109:14;129:25               19:8
consumption (4)           cortical (1)                17;82:13;91:12,19;       depending (5)               dichromate (1)
  65:23;91:10,23;           50:6                      95:11,20,25;98:8,15;       19:1;46:4,7;89:12;          83:20
  105:12                  counsel (1)                 103:20;107:9;108:23;       92:5                      die (3)
contain (2)                 6:19                      112:23;118:13;121:6,     Depends (13)                  59:12,18;60:15
  29:13;65:8              couple (1)                  9,12,15                    45:21;46:1,2;65:2,9,      died (7)
contained (2)               40:4                    deceased (4)                 23;66:10;80:20;81:4;        78:5;84:14;89:4;
  104:2,3                 course (4)                  20:25;68:6;92:7,15         91:22;101:10;123:1;         118:5,12;121:18;122:1
contains (2)                17:25;23:10;97:18,      deciliter (8)                129:14                    dies (5)
  29:15;64:22               20                        36:17;90:1,9,17,18;      depleted (3)                  34:23,25;35:11;
contamination (1)         courses (1)                 107:9,13;108:11            45:18;46:1,8                80:15;92:1
  98:15                     97:16                   decision (13)              depo (2)                    diets (1)
contemplating (1)         court (1)                   28:9;39:12;63:2,14,        7:17;10:18                  33:10
  10:2                      6:3                       20;64:12;67:8,18;        Deposition (20)             difference (1)
content (34)              covered (3)                 74:24;78:24;92:13;         5:1,19,21,23,24;6:5,        17:10
  34:12,15;37:17;           94:13;105:5;108:21        114:7;119:20               10;9:2,18;13:18;27:23;    differences (1)
  39:10;65:1,17,20,21;    crash (1)                 decisions (2)                28:6;69:7;74:3;85:8;        99:3
  66:9,17;75:19;90:4,7,     20:6                      29:10;114:25               108:9;115:3;118:8;        different (10)
  10;91:20,21;92:3,4;     credentialed (1)          declaratory (1)              131:11;136:22               13:22,25;22:13;
  93:19;94:1,2,5;97:23;     84:2                      97:6                     describe (4)                  24:24;58:6;61:1;
  99:4,7,12;100:24;       credibility (2)           declared (1)                 17:18;92:10;127:14,         105:15;117:1;123:13;
  102:5,5,10,11,19,23;      113:16,18                 95:6                       16                          132:19
  104:7                   criticisms (2)            decompensation (1)         designated (6)              differently (1)
context (3)                 113:14,15                 95:8                       96:11;97:2;104:11;          46:9
  40:12,13;42:2           criticized (1)            decomposed (1)               121:22;124:6;126:18       diffused (1)
continue (2)                131:2                     80:3                     designation (1)               34:18
  89:11;127:18            current (3)               decomposition (1)            16:6                      diffusion (1)
continues (5)               12:8,11;15:20             97:12                    desperately (1)               98:16
  34:22;35:3;60:24;       currently (2)             decrease (3)                 61:20                     digestive (1)
  100:15;101:9              15:12;25:11               45:13;46:13,15           despite (1)                   80:24
continuing (4)            cut (1)                   decreased (1)                41:7                      diminished (2)
  23:3,6;99:9,10            89:5                      41:10                    details (1)                   77:2,8
contradicted (1)          cuts (1)                  decreases (4)                95:23                     DIRECT (3)
  130:18                    111:24                    41:8,9;77:3,8            detect (1)                    5:9;87:11;130:11
contribute (3)            CV (8)                    decreasing (1)               71:3                      directly (1)
  31:13,22;63:7             14:6;22:23;23:1;          45:9                     detectable (4)                94:13
contributed (5)             24:1,6;25:13,15,16      defer (1)                    70:14,22,24;71:1          Disability (1)
  30:1;32:8;103:5;                                    70:3                     detected (2)                  25:17
  121:11,15                          D              define (4)                   91:14;95:19               disagree (4)
contributing (3)                                      36:18;72:3;77:21;        detection (1)                 111:5;112:8,15;
  63:1;81:16;82:17        daily (1)                   115:15                     75:11                       125:16
copies (3)                  110:12                  definition (14)            deterioration (1)           disclosed (2)
  8:5;9:7;13:11           data (4)                    37:8,8;38:21;58:5,6;       117:17                      42:5,9
copy (4)                    16:22;68:17;91:16;        70:13;72:6,7;106:10,     determination (4)           disclosure (2)
  14:9;27:19;73:25;         123:13                    11,22,22;107:16;           39:23;43:17;123:5,7         12:1;57:6
  85:15                   date (7)                    108:15                   determine (12)              discussed (3)
corner (2)                  7:25;9:20;13:23;        definitive (4)               37:1;38:24;40:9;            109:4,9;111:22
  102:3;131:21              14:8;25:25;85:21,22       49:6;52:5;55:12,13         53:16;74:20;79:11;        discusses (2)
corners (1)               dated (3)                 defunct (1)                  82:22;83:1;102:12;          44:19,21
  133:16                    13:14,17;25:16            26:12                      105:8;129:20;130:5        discussing (1)
coronary (3)              dates (1)                 degree (2)                 determined (2)                108:13
  33:2,6;60:11              97:15                     82:18;99:21                75:18;76:1                disease (10)
coronavirus (1)           days (2)                  degrees (1)                determining (2)               19:9;30:24,25;31:2,
  86:25                     80:4;120:6                117:1                      43:11;81:9                  3,4;33:2,17;54:6;60:12
coroner (1)               day-to-day (1)            delayed (1)                develop (1)                 dispositions (1)
  84:1                      51:16                     93:23                      123:24                      20:22
corporation (1)           dead (2)                  delegated (1)              developed (1)               dispute (1)
  26:12                     80:4;95:6                 22:19                      124:2                       51:8
correctly (1)             death (40)                delve (1)                  devices (1)                 disputing (2)
  102:8                     30:2;31:13,22,25;         68:11                      44:17                       52:14,21
correlation (1)             32:8,18;35:19,23;       department (4)             devoted (1)                 disqualifying (2)
  33:24                     40:10;54:17;62:25;        20:16,21,23;22:2           21:15                       16:11;17:8
correspondence (1)          63:8;74:21;75:1,4,8,10, depend (2)                 diabetes (1)                distinct (1)

Min-U-Script®                            Court Reporting Service, Inc. (316) 267-1201                     (4) consumption - distinct
             Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 41 of 53
Ruth Gray v                                                                                             John F. McMaster, M.D.
Conner Industries                                                                                            November 15, 2021

  37:6                      118:4                    128:18;134:25              10,13,14,17,19;58:15,     111:11,16,18;121:17
distributed (1)           drinks (1)              effect (2)                    17;59:6;61:17,21;       evaluate (7)
  65:16                     65:12                    51:5;64:3                  123:16;124:12,19          23:19,21;38:9,18;
divide (1)                drive (12)              effects (10)               engulfment (2)               40:6,8;126:14
  88:4                      6:20,22;28:21;52:2;      41:16;70:15,22,23;         115:20;117:11           Evaluating (3)
divides (2)                 117:18;123:22;124:20;    71:3;74:22,23;75:1,3;   enhances (1)                 17:5;18:7;25:17
  87:25;88:7                125:20;127:18;128:16;    105:14                     112:11                  evaluation (2)
dividing (1)                129:7,10              effort (9)                 enjoy (4)                    30:8;40:20
  49:14                   driveway (1)               60:24;61:1,22,23,25;       114:3,4,5,9             even (5)
Doctor (38)                 60:15                    124:9,24;125:1;127:8    enlarged (6)                 10:11;49:14;89:1;
  36:25;39:6,20;45:5;     drop (2)                efforts (3)                   30:20;31:6,14;32:6,       101:2;124:3
  47:9;54:8;56:7;59:2;      46:18;47:1               46:11;132:25;134:6         16,20                   event (4)
  64:1;72:15;74:15;       drops (1)               either (11)                enough (7)                   31:19;32:9,13;59:4
  76:18;77:14;80:14;        53:11                    10:17;37:23;38:4;          93:8;95:18;103:7;       events (4)
  85:12,19;95:10;96:5,    drowning (5)               55:24;56:8;74:12;         120:8;129:10;135:9,25      29:9;31:16;53:4;
  15;97:7;100:7;101:13;     57:11,21;58:1;59:21,     85:24,25;100:4;         ensure (1)                   54:9
  103:17;106:24;107:22;     23                       110:18;119:14              22:17                   everybody (1)
  108:17;124:17;125:9;    drug (28)               EKG (1)                    ensuring (1)                 33:14
  127:1,21;128:17;          15:16;16:9,18;17:4,      18:25                      26:25                   everyday (4)
  130:15;131:4;132:14,      5;19:10,14,17,20;20:3,elements (1)               entail (1)                   58:7,11;82:9;90:3
  20;133:18;136:16,19       14;21:7,15,23;22:1,4;    92:6                       26:20                   everyone (1)
document (3)                23:7,14,17,20,22;     elevated (2)               enter (3)                    58:12
  85:19;92:10;109:25        26:15,20,25;37:25;       66:17;112:10               111:21,24;112:1         evidence (22)
documented (1)              68:17,21,24           eliminated (5)             entered (3)                  30:25;32:4,15;34:5;
  41:6                    drugs (4)                  34:21;35:19;66:11,         120:13,15,16              53:24;54:1,2,15,15;
documents (18)              23:24;41:16;44:6;        15,16                   entirely (3)                 65:8;66:22;67:4,13;
  5:22;6:18,20,25;7:6,      133:12                eliminating (1)               57:8;58:18;60:4           75:2;87:7,13;95:8,15;
  10,12;18:14;104:4,13;   due (5)                    35:4                    entities (1)                 104:3;109:17;121:7;
  109:19,22;110:1;          30:4;58:21;63:19;     elimination (7)               26:16                     132:8
  112:20;115:1;119:16;      91:9;132:24              65:11,24;66:13;         entry (1)                  evidenced (1)
  126:6;130:24            duly (1)                   91:11,12,23;93:22          86:21                     58:12
done (11)                   5:6                   else (8)                   environmental (2)          evident (1)
  5:13;10:1,5;16:16;      during (3)                 25:5;26:3,10;118:15;       98:17;101:12              60:13
  20:17;45:22;66:1,2;       5:22;22:17;85:8          123:4,6;127:16;130:4    envision (1)               exact (1)
  84:7;90:23;103:21       duties (3)              email (1)                     35:2                      13:20
doom (3)                    18:6;71:24;72:10         7:15                    enzymatic (1)              exactly (2)
  58:16,21;59:7           duty (1)                emailed (2)                   83:15                     29:1;117:21
DOT (2)                     67:21                    6:13,15                 enzymes (2)                exam (4)
  63:10;108:12            dwell (2)               emanate (1)                   78:21;79:2                18:18;37:19;38:14,
doubt (1)                   48:4,18                  89:12                   epiglottis (1)               21
  104:25                  dying (2)               Emergency (16)                136:11                  EXAMINATION (2)
down (24)                   126:19;127:18            15:2;20:7,11,13,15,     equilibration (1)            5:9;86:2
  46:12,14;57:5;73:14;    dysrhythmia (4)            20,21,23;21:2;25:10;       91:22                   examined (2)
  86:2;87:3,5;88:24;        58:4;59:8;60:1,5         26:1,9,11;37:23;47:9;   equilibrium (4)              5:7;84:15
  98:25;102:2;122:23;                                68:15                      66:3,6,12;99:2          examiner (16)
  123:11,18;125:11,23;                E           emotion (1)                equipment (3)                15:23;16:20;17:11,
  127:4,11;128:21;                                   50:13                      22:10,12;83:24            12,13,16,21;18:1;19:4,
  129:11,21;130:7;        earlier (3)             emotions (2)               escape (1)                   13,19;20:3;37:25;
  133:20;135:25;136:7       75:19;94:13;134:3        123:25;124:2               60:17                     68:16;86:4;100:3
Dr (21)                   easier (1)              employ (1)                 esophagus (1)              examiners (5)
  5:11,21,24;36:10;         133:11                   71:13                      88:19                     16:7,25;17:19;18:11;
  43:4,6,14,16;48:23;     easily (1)              EMS (3)                    essentially (1)              25:19
  50:15;62:3;108:8;         111:7                    119:9,10,11                55:14                   examining (1)
  112:21;113:14,15;       ecchymosis (2)          end (4)                    establish (1)                100:7
  115:3;117:8,15;118:7;     132:23;134:4             12:23;13:1;75:16;          28:10                   example (1)
  125:10;130:4            educate (3)                104:15                  established (1)              128:25
drafted (1)                 114:6,25;116:6        endogenous (7)                99:2                    examples (1)
  42:1                    education (21)             79:14,16,17,25;80:2;    estimate (1)                 95:23
draw (1)                    22:23;23:2,3,6;43:8;     111:11,16                  105:19                  exams (1)
  52:25                     63:6;83:8;97:14,15;   enforcement (2)            estimation (1)               16:22
drawn (1)                   98:3;99:21;101:19,25;    28:2;37:10                 98:7                    exceeded (1)
  94:11                     106:17;117:1;119:21; engulfed (17)               ethanol (7)                  93:12
drew (1)                    122:19;126:5;127:2;      31:9;33:23,25;52:6,        64:25;89:24;90:6;       excerpts (4)

Min-U-Script®                            Court Reporting Service, Inc. (316) 267-1201                   (5) distributed - excerpts
              Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 42 of 53
Ruth Gray v                                                                                                  John F. McMaster, M.D.
Conner Industries                                                                                                 November 15, 2021

  27:24,24;28:6;42:13       extra (6)                 federal (4)                   23:7;97:16;107:4;          7,9;53:23;60:7;61:7,9;
excited (1)                   16:12,13,14,17;17:1,       8:18;16:21;18:20;          117:16                     62:17,21;112:17,19;
  131:17                      2                          108:12                  focusing (1)                  123:24;126:2;127:6;
Excuse (7)                  extrapolating (3)         fee (8)                       102:22                     129:8
  11:1;22:9;87:6;90:2,        74:19,22;75:24             6:21,23;11:25;12:3,     followed (2)                functioning (1)
  8;96:17;135:16            extrapolation (1)            5,13,19,21                 22:16;27:9                 127:20
exert (1)                     75:18                   feel (1)                   following (5)               functions (3)
  60:12                     eye (2)                      55:4                       30:1;39:18;44:22;          52:3,4;63:14
exertion (4)                  34:9;64:13              fellowship (1)                115:19;117:11            further (6)
  59:24;60:9,16;112:6       eyeball (3)                  24:4                    follows (1)                   57:5;87:25;88:11;
Exhibit (52)                  64:16;66:7;120:19       felt (1)                      5:7                        113:8,10,12
  5:1;6:5,17,25;8:2,2,      eyes (7)                     103:7                   forensic (6)                furthermore (1)
  8;9:1,2,11,13,17;12:9;      71:2;86:5,14,21;        femoral (3)                   78:8;82:22;83:10,24;       95:7
  13:5;14:5;27:12,17;         111:21;120:11,13           94:15,18;133:3             110:5;114:1
  28:18;29:12,21;39:21;     eyewitness (1)            few (3)                    form (43)                              G
  41:4;69:6,7;73:25;          32:3                       14:11;87:5;131:21          33:8,15;37:2;38:12;
  74:3,8;76:6,17,19,23;                               field (6)                     41:19;44:24;45:14,19;    game (2)
  77:1,3,8,11,13,22;85:8,                F               21:23;37:15;69:18;         46:19;47:13;49:20;         62:7,9
  12;92:8;98:5;127:7;                                    91:17;92:23;105:2          50:4;56:12;58:22;        games (1)
  130:17,21;131:1,5,9,      FAA (4)                   fields (2)                    84:19;89:5,11;91:2;        62:10
  11,23,23,24;135:17           16:23;18:1,20;23:11       73:22,22                   96:1;97:4,24;99:18;      gas (2)
exhibits (1)                facilitate (1)            figure (5)                    100:22;101:4;102:13,       83:11,12
  8:23                         52:4                      37:16;102:2;127:1,         25;105:24;106:8;         gave (9)
exist (1)                   fact (12)                    21;128:17                  107:15;111:4;115:6,        7:8;8:17;9:6;28:8,
  59:17                        73:1;109:3;114:6;      file (2)                      12,22;116:3,12;118:1,      21;29:8;71:17;128:25;
existed (1)                    115:5,21;116:6,15;        5:20;11:12                 10,20;119:2;121:19;        130:16
  101:15                       117:20;118:12,21;      files (2)                     122:25;129:22;130:8      GC (3)
exists (3)                     119:8,10                  10:7,10                 formal (1)                    83:4,14,15
  72:23,25;130:9            factor (11)               find (5)                      23:2                     gelatinous (1)
expect (1)                     47:23;57:22;60:17;        32:22;71:18;77:17;      formatting (1)                34:9
  91:19                        63:1;82:17;84:9,11,16;    92:3;128:3                 13:18                    general (2)
experience (16)                103:5;121:13;129:19    findings (3)               formed (1)                    41:23;82:9
  31:18;43:9;63:6;          factors (12)                 37:19;38:21;131:2          5:25                     generally (2)
  68:14;83:8;101:25;           30:1;58:3;78:17;       fine (2)                   forms (1)                     65:21;66:7
  106:17;117:2;122:20;         81:16;91:10;98:9,20;      132:20;133:21              89:18                    generate (1)
  123:25;126:6;127:2,          99:11;101:10,15,20;    first (16)                 forth (3)                     120:9
  13,14;128:19;134:25          103:23                    5:6;7:5;10:5;17:16;        27:14;96:23;109:24       generated (1)
experienced (3)             facts (11)                   18:5,24;28:18;29:24;    found (18)                    100:24
  32:13;61:2;124:1             54:3,12;56:15;            46:12;70:12;76:11,19;      28:3,4,5;52:12;          generically (1)
experimentally (1)             109:12,14,15;112:21,      80:15;98:5,6;99:10         62:24;64:25;74:18;         76:9
  75:18                        25;114:16;116:7;       Five (2)                      86:13,17;87:2,3;88:23;   genetics (1)
expert (6)                     117:24                    15:8;68:25                 89:24;90:6;93:11;          33:10
  12:1;113:25;114:4,        fair (9)                  flash (2)                     95:23;121:11;126:1       Gibson (2)
  10;116:10,20                 45:13;56:1;72:21;         6:20,22                 foundation (8)                8:18,19
expertise (13)                 74:21;80:17;112:24;    flip (1)                      45:20;46:20;47:14;       given (14)
  27:5;79:9;80:11,14;          116:9,20;135:9            74:11                      91:3;96:2;97:25;106:9;     16:6;18:1;23:12;
  82:19;84:13;94:19;        fairly (3)                flow (3)                      115:14                     54:2,13;56:22;73:1;
  101:17;111:14;112:14;        32:23;36:2;107:23         34:22;46:7;128:13       four (2)                      93:16;100:11;104:20;
  120:1,20;134:24           fall (1)                  fluid (13)                    7:21;9:14                  108:25,25;117:17,20
expire (2)                     49:7                      37:6;38:2;39:4,7;       fourth (1)                  gives (1)
  15:9;20:22                familiar (7)                 64:13,17,21;66:7;          34:2                       93:17
explanation (3)                21:22,25;22:22;           78:15;87:10,19;90:15;   frame (5)                   giving (3)
  54:16;76:22,24               63:10;83:11,19;110:4      102:20                     28:11;84:20;119:19;        10:17;56:6;120:8
explanations (1)            family (1)                fluids (5)                    120:3,5                  glance (1)
  26:18                        68:15                     36:17,23;80:7;          frivolous (1)                 9:12
extended (2)                far (15)                     133:10,12                  116:2                    glucose (16)
  80:9;95:19                   11:15;12:25;18:7;      fly (3)                    frivolousness (1)             19:7;48:5,7,11,21;
extends (1)                    22:6;24:10;26:12;         63:21;67:20,21             116:5                      82:6;94:14,17,20;
  120:6                        36:21;37:7;71:15;87:3; flying (1)                 front (7)                     95:18;111:1,10,15,17,
extenuating (1)                127:4,24;129:6,25;        23:24                      6:4;9:11;14:5;69:10;       20;112:4
  95:5                         136:1                  focus (1)                     83:3;92:8;98:6           goes (3)
external (1)                favor (1)                    23:13                   function (18)                 88:6;98:12;128:9
  86:2                         115:21                 focused (4)                   48:14,15;49:1;50:6,      Good (8)

Min-U-Script®                              Court Reporting Service, Inc. (316) 267-1201                            (6) excited - Good
              Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 43 of 53
Ruth Gray v                                                                                                  John F. McMaster, M.D.
Conner Industries                                                                                                 November 15, 2021

  5:11,12;15:8;39:15;        81:2                       66:8;67:2,10,17;91:20;      85:10;131:12             included (1)
  49:4,6;79:19;122:6       happy (1)                    92:4;93:18,20;99:6;      identified (18)               7:12
government (1)               77:18                      111:2;123:23;124:8;         28:24;48:3,24,24;        includes (3)
  22:20                    hard (6)                     126:2;127:6                 54:3,20,20;56:20,23;       7:11,21;27:3
governmental (1)             62:16;102:12;            highest (2)                   57:1;63:18;77:20;        including (1)
  26:16                      124:13,18;125:13;          56:22;111:18                90:21;95:9;111:8;          101:10
graduation (1)               134:10                   highly (2)                    118:4;121:14;130:9       incomplete (3)
  23:4                     harder (1)                   94:2;102:20              identifies (7)                49:21;56:13;115:23
grams (2)                    124:2                    HIMS (5)                      46:21;48:18;63:11;       inconsistent (1)
  100:17,18                head (2)                     15:25;16:3;17:1,2;          73:10;76:15;105:14;        108:2
grant (2)                    21:9;50:1                  19:16                       110:24                   incorporate (2)
  17:14;18:3               heading (2)                history (4)                identify (22)                 39:12;92:12
granted (1)                  86:3,4                     18:18;37:18;38:14,          19:8;26:17;37:10,19,     incorporated (1)
  18:2                     heard (1)                    20                          22;38:14;39:2;43:23;       119:19
granting (1)                 67:24                    hold (5)                      55:19;56:19;59:13,14;    incorrectly (1)
  16:24                    hearing (3)                  62:8,11,18,20;96:5          74:22;76:2;78:16,19,       117:19
Gray (31)                    9:18;48:9;72:16          hope (1)                      23;81:15;98:23;103:5;    in-court (1)
  28:4;29:3;31:9,18;       heart (22)                   27:15                       117:3,21                   12:15
  32:13;33:23;43:18;         30:20;31:7,8,11,17;      hopefully (2)              II (1)                      increased (2)
  52:6,18;53:6,17;54:8;      32:6,7,16,20;62:24;        62:12,12                    89:3                       41:10;63:12
  57:9;58:19;59:10;          81:24;82:2,7;89:21;      hospital (3)               illogical (2)               Independent (4)
  61:10;78:5;82:23;          94:11,14,17;110:23;        24:11,18,19                 53:18;80:18                25:19;32:14;33:19;
  84:14;108:22;115:18;       111:2;127:19;128:13;     hospitals (1)              immediate (2)                 98:2
  117:11;120:11;121:5,       129:3                      25:9                        56:18,25                 indicate (1)
  7,16;124:1;127:10;       hearts (1)                 hour (2)                   immediately (6)               95:3
  128:20;129:20;130:6        31:14                      12:4;84:25                  49:17;50:2;53:25;        indicated (3)
Gray's (27)                heart's (1)                hourly (1)                    55:25;56:2,4               18:19,22;117:8
  30:2;31:13;32:8;           30:21                      12:1                     impact (2)                  indication (1)
  52:24;53:24;54:25;       HEFFRON (75)               hours (1)                     28:9;84:20                 67:13
  55:6,15;62:24;63:8;        6:7,11,19;7:2,8,16;        95:25                    impacted (1)                indicative (5)
  74:18;79:12,15,21;         8:6,12;9:6;13:8,11,21,   Human (1)                     29:10                      30:10;67:3;90:25;
  81:25;86:13;87:2;94:5;     24;28:21;33:8,15;37:2;     16:4                     impacts (1)                   107:20;132:12
  98:21;102:22;104:8;        38:12;39:14;42:4,21;     humans (1)                    82:15                    indicator (1)
  105:21;110:23;113:3;       44:24;45:14,19;46:19;      51:5                     impaired (14)                 67:6
  121:11;131:25;132:9        47:13;49:20;50:4;        humor (10)                    37:16;38:10,19,25;       individual (22)
greater (7)                  56:12;58:22;74:2;          42:11;62:24;64:13,          39:24;40:10;63:19;         26:23;28:3,4;37:18;
  34:3;35:22;63:12,18;       84:19;85:2,5,16;91:2;      18;65:4;66:8;112:3;         105:22;106:5,7,19;         43:25;53:4;55:12;
  66:21;100:18;107:8         96:1,4,7,12;97:3,24;       120:15,16,20                107:1;108:15,22            63:18;67:7,23;71:2,7;
growth (1)                   99:18,20;101:4;          hundreds (1)               impairment (22)               76:3;77:20;82:8;92:7;
  82:15                      102:13,25;105:24;          127:5                       16:9;35:24;37:11,19,       93:22;117:3,6;118:5,
gruesome (1)                 106:8;107:15;108:5;      hy (1)                        22;38:15,22;39:2;40:1,     12;128:9
  134:13                     111:4;115:6,12,22;         86:6                        4;63:13,13;105:19;       individuals (11)
guess (1)                    116:3,12,23;118:1,10,    hyperemic (1)                 106:10,11,14;107:10,       18:7,12;20:25;28:2;
  101:5                      20;119:2;121:19,23;        86:6                        14,19,21;108:1,2           32:17;41:9,17;59:18;
guessing (1)                 122:25;129:22;130:8;     hypertrophy (5)            impending (2)                 62:20;92:15;129:1
  25:25                      131:13,16;132:13,17;       30:18;31:15,24;             58:16;59:7               individual's (1)
guidance (1)                 133:18,23;136:5,18         32:16;54:4               important (8)                 53:3
  18:19                    Heffron's (3)              hypothesized (1)              81:9;84:9,16;103:24;     induce (3)
guys (1)                     11:24;96:16,18             109:16                      112:24;113:4;129:19;       57:22;59:25;60:18
  84:25                    held (3)                   hypothetical (6)              135:17                   induced (5)
                             18:6;62:3,13               49:21;56:7,13;59:10,     improper (1)                  57:10,20,25;59:7,8
          H                help (6)                     15;115:23                   117:23                   inducing (1)
                             21:5;28:6;29:6;          hypothetically (1)         inactivated (1)               43:24
habits (1)                   44:14;48:6;69:21           70:9                        14:15                    industries (2)
  33:11                    hemoglobin (1)                                        inactive (1)                  26:16;71:12
hand (2)                     46:10                               I                  14:17                    industry (3)
  55:3,3                   high (1)                                              inappropriately (2)           21:23;22:1,20
happen (2)                   111:17                   idea (3)                      117:9,19                 influence (7)
  20:23;80:22              higher (32)                  49:4,6;97:10             inclined (1)                  70:21;73:9;74:20;
happened (2)                 34:12,14;48:15,25;       identifiable (1)              67:7                       75:7;99:11;112:22;
  32:2,10                    50:6,6,9;52:3;53:22;       79:5                     include (6)                   121:5
happens (4)                  60:6;61:7,8;62:17;       Identification (6)            9:17;19:13;22:3;         influenced (1)
  33:13;43:20;80:16;         63:14;65:1,5,5,19;         5:3;9:3;69:8;74:4;          23:3;27:8;98:12            104:7

Min-U-Script®                             Court Reporting Service, Inc. (316) 267-1201                  (7) government - influenced
              Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 44 of 53
Ruth Gray v                                                                                                    John F. McMaster, M.D.
Conner Industries                                                                                                   November 15, 2021

inform (2)                     92:12;94:24;95:1,2;      Justice (2)                   16;98:25;99:9;114:2;        112:3,10;113:3;121:17
   28:6;29:7                   109:17;119:19;122:23;      115:11,15                   131:4,9                  library (1)
information (14)               123:11;125:11,14,20,                                later (1)                      110:8
   28:8;29:8;32:14;            23;126:15,23,25;                   K                   127:17                   license (3)
   39:2;42:6;73:15;84:12;      127:11,24;128:9,21;                                 law (2)                        14:15,17;17:24
   98:24;103:19;104:1;         129:6,11                 Kansas (6)                    28:2;37:10               licensed (1)
   109:1;113:19;114:21;     intoxicated (1)               14:13,14;24:9;35:25;     Lawrence (3)                   14:12
   131:22                      37:1                       106:20,21                   24:16;26:1,9             licenses (1)
informative (1)             Intoxication (6)            keep (8)                   laws (1)                       14:14
   48:23                       37:3,7,11,22;38:15;        7:25;9:19;11:9;             36:20                    life (5)
infuse (1)                     70:19                      34:23;47:8;77:24;85:4;   lay (1)                        82:16;86:19;94:22;
   133:10                   intraosseous (2)              107:6                       95:3                        120:12,17
ingested (1)                   133:6,8                  key (1)                    layman (2)                  lifetime (1)
   92:5                     intubation (17)               67:9                        58:6,10                     62:4
ingestion (2)                  43:7,17,21,22;44:10;     kidney (1)                 layout (1)                  likelihood (1)
   92:6;113:6                  45:2;49:3;51:20,23;        19:8                        134:21                      67:17
inhibition (1)                 52:24;53:2,8,12;54:25;   kind (3)                   layperson (1)               likely (9)
   41:11                       55:5,9;117:10              45:6;125:13;134:1           129:4                       57:14;59:11;63:4,5,
initially (2)               investigate (2)             knowledge (16)             lead (1)                       7;75:6;88:15;92:3;
   17:13,20                    126:10;130:12              9:19;24:13;33:19;           127:9                       115:18
injuries (1)                involve (4)                   34:25;41:24;59:21;       leads (4)                   limited (4)
   89:3                        19:17;20:3;22:21;          95:14;96:3;97:8;98:2;       54:23;127:2,10;             79:23;95:13;120:2;
injury (2)                     39:23                      104:16;105:2;107:21;        128:19                      134:24
   87:8,13                  involved (3)                  108:4;114:6;120:2        learn (1)                   line (6)
inquiries (1)                  71:8;93:4;114:2          known (3)                     109:12                      49:14;99:9;107:25;
   15:14                    involves (1)                  60:11;62:18;63:17        least (2)                      108:1;133:7,8
insert (1)                     48:14                    KSA (2)                       19:22;132:25             lining (1)
   71:18                    issue (3)                     106:14;108:17            led (1)                        65:13
inserted (1)                   17:16;18:16;40:2                                       58:4                     list (14)
   133:2                    issued (1)                             L               left (21)                      6:22,24;7:20;8:11,
inside (2)                     27:19                                                  6:6;30:18;31:14,23;         14,20;9:5,17;11:4,5;
   33:4;44:25               issues (5)               lab (8)                          54:3;74:13;87:10,19,        14:20;24:11;27:22;
instance (6)                   16:10,19;17:4,6;         19:23,24;27:9,10;             23,23;88:3,6,8;103:14;      39:22
   12:15;60:16;79:1;           104:5                    78:8;82:22;83:24;             110:22;111:3;134:18;     listed (5)
   86:25;108:12;119:9       item (1)                    103:15                        135:2,4,10,13               14:24;25:13;26:2;
insurance (1)                  28:16                 label (1)                     leg (1)                        99:11;104:16
   15:15                                                68:7                          133:2                    listing (2)
intact (2)                              J            labeled (3)                   legal (9)                      7:9;28:16
   49:5,12                                              24:2;29:21;76:19              37:8,21;67:25;           lists (1)
integrity (1)               Jeff (9)                 laboratory (1)                   105:25;106:10,15;           6:17
   26:25                      13:8;39:14;42:7,21;       22:12                         107:2,16;116:4           liter (2)
intend (2)                    96:5;97:5;108:5;       labored (1)                   less (9)                       35:23;89:25
   113:8,10                   131:14;132:14             125:5                         61:23;88:10;94:1,6,      literature (44)
intention (1)               job (5)                  labs (2)                         8;100:17;106:6;             41:7,13,15,19,20,21;
   29:20                      19:12;21:1;26:19,24;      22:18;84:1                    108:11;120:8                42:18;44:19,21;45:6;
International (2)             69:21                  lack (3)                      level (53)                     47:15;48:3,18;49:2;
   25:18;110:10             JOHN (2)                    18:8;91:8;132:8               34:3,4;35:22;36:3,4,        50:15,17;63:9,9;67:12,
interpretation (1)            5:5;8:19               lacks (8)                        13,14,15,22;37:5,6;         15;68:1,2,12;92:9;
   102:14                   Journal (9)                 45:19;46:19;47:13;            44:21;47:25;48:19,25;       95:22;96:3;97:8;105:7,
interpreting (1)              73:18,20;92:19;           91:2;96:1;97:24;106:8;        56:22;62:23;63:11,11,       13,17;111:8;115:2,4;
   68:24                      104:21,22;110:4,6,8,10    115:13                        15,16,17,23;66:21,21;       118:3;120:7;122:15;
interval (7)                journals (3)             large (5)                        67:2,3,10,10,19,24;         126:4;127:23;128:2,6;
   59:9,13,14,16;84:4;        50:21,22;72:17            87:21;88:25;89:15;            68:3,4,8;73:12;74:17,       129:1;130:4,10,16
   101:11;103:20            judge (1)                   125:21,22                     18;76:14;79:11;81:10;    literatures (1)
interventional (1)            116:5                  larynx (2)                       97:22;105:7,17,18,21;       42:5
   16:4                     judgments (2)               88:18;136:6                   107:8,12,20;118:18;      little (3)
intestines (1)                113:16,18              last (32)                        121:10;124:8;125:1;         48:10;87:11;131:20
   65:14                    jump (2)                    6:13,15;10:14,17,20,          129:10                   live (2)
into (35)                     27:15;42:22               22;11:7;12:5,21;13:1;      levels (19)                    33:9,16
   39:12;43:4;52:25;        jumps (1)                   14:9;22:25;24:6;25:15,        47:1;48:15;63:21,24;     liver (5)
   65:13;68:11;79:3;          27:14                     24;27:15;29:25;40:15,         64:24;67:16,22;68:6;        34:21,23;35:2,3,7
   80:24;81:14;86:24;       juries (1)                  19,22;57:5;68:25;             76:1;80:1;82:6,23;       living (3)
   88:4,7,8,25;89:1;          114:7                     75:15,17;77:7;88:16,          83:4;100:23;111:18;         20:20;22:8;67:23

Min-U-Script®                              Court Reporting Service, Inc. (316) 267-1201                               (8) inform - living
               Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 45 of 53
Ruth Gray v                                                                                               John F. McMaster, M.D.
Conner Industries                                                                                              November 15, 2021

lobes (1)                      135:19;136:8           77:14;83:17;93:21;         Medicine (5)               72:6
   88:2                                               112:23;134:23                15:2;25:10;26:2,9;     minutes (1)
location (2)                            M            Maybe (3)                     114:14                   45:18
   82:2;98:13                                         20:9;86:7;129:4            men's (1)                misleading (1)
long (16)                    main (2)                MCMASTER (5)                  39:15                    21:18
   15:8;43:18;44:20;          30:21;31:8              5:5,11;36:10;62:3;         mental (11)              mispronouncing (1)
   45:13,25;46:17;53:10,     mainstem (2)             130:4                        34:5;41:9;64:1;          86:7
   16;59:17;62:8,14;          88:6,7                 MD (1)                        66:23;67:4,14;68:8;    misreading (1)
   70:25;83:8;84:4;95:10;    maintain (2)             5:5                          77:2,8;105:8,11          20:18
   117:10                     47:16,19               mean (16)                   mentioned (4)            missing (1)
longer (8)                   maintaining (1)          16:5;21:2;24:14;             26:8;50:14;60:9;         22:24
   24:15,15,17;33:9;          47:24                   30:7;33:13;36:1;59:20;       119:18                 Missouri (4)
   35:11,14,16;48:10         major (2)                70:21;86:11;107:18;        messed (2)                 10:9;14:13,15,17
longitudinally (1)            30:13;88:8              108:7;110:7;115:8,15;        8:24;79:20             mistaken (2)
   136:14                    majority (1)             125:9;132:19               metabolic (1)              14:6;28:21
long-winded (1)               104:5                  meaning (2)                   53:4                   misuse (1)
   32:11                     makes (1)                57:3;63:13                 metabolism (3)             105:13
look (24)                     128:11                 means (8)                     46:7;47:6;81:4         mold (2)
   8:21;22:23;28:14;         making (15)              30:20;48:9;50:9;           metabolites (3)            78:14;110:19
   30:9;36:5,20;37:16,18;     27:3,8;28:10;39:12;     58:14;61:10;72:4,5;          64:22,23,24            molds (1)
   39:21;69:24;71:16;         63:2,14,20;64:12;67:8,  86:9                       metabolize (2)             86:22
   73:6;74:6;75:15;77:11,     18;74:24;92:13;        measurement (3)               35:3;111:19            moment (2)
   17;128:4,25;129:20;        100:13;119:1,20         45:22;51:4;90:12           metabolized (4)            14:18;50:14
   130:5,17;131:17;          mal (1)                 measures (1)                  34:20;35:6;48:7;       money (1)
   132:15;136:14              10:8                    108:10                       66:11                    11:20
looked (2)                   management (1)          measuring (2)               metabolizing (1)         monitoring (1)
   40:2;46:23                 55:13                   44:25;102:4                  34:24                    17:5
looking (14)                 manifest (1)            mechanism (1)               method (3)               months (1)
   7:23;12:5,9;14:9;          41:10                   44:25                        82:21;83:21;89:11        40:22
   45:21;46:2,5;51:3;        manifested (1)          med (1)                     methodologies (2)        more (23)
   53:20;114:8;134:15,        62:19                   10:8                         22:3,9                   31:15;32:9;37:3,7;
   19;135:8;136:15           Manual (6)              medical (124)               methodology (5)            57:17;63:3,5,7;65:21;
looks (18)                    42:14;69:15,17;70:2,    15:6,13,17,19,21,22;         21:25;22:7;71:4;         67:7;75:6;87:5;88:15;
   7:20;9:14;12:2;            5;71:5                  16:7,20,24,25;17:11,         83:9,18                  94:14;96:25;99:6;
   13:17,19;24:1;42:15;      many (11)                12,13,14,15,16,19,21,      methods (3)                106:5,19;108:6;
   73:18;74:12;76:5;77:1,     40:7;75:20;97:16;       25;18:4,5,9,11,13,16,        21:22;43:10;82:25        114:21;131:22;134:1;
   6;87:17;89:21;132:2;       98:9;99:11;101:10;      24;19:4,13,19;20:2;        microbe (2)                135:11
   133:1;135:13,19            110:13,16;126:9,13;     23:3,5,6;24:9;25:19;         81:4;120:18            morning (3)
Looney (1)                    130:24                  26:5,13,14,14,18,19,       microbes (7)               5:11,12;13:12
   10:7                      March (1)                24;27:5,6;37:8,9,15,21,      81:3,22;95:16,17;      mortis (2)
lose (6)                      78:5                    24,25;41:7,13,15,21,         111:19,21;120:4          80:5;95:9
   48:2;49:16;50:2;          Mark (3)                 24;42:5,14,18;43:10;       microbial (7)            most (2)
   53:17;60:21;125:19         8:25;69:6;73:24         44:19,20;45:5;47:10;         82:16;86:19;94:21;       56:21;92:3
loss (1)                     Marked (11)              48:18;50:17;53:10;           112:11,11;120:12,17    motivational (1)
   49:18                      5:2;8:1;9:3,13;27:12,   54:16;58:5;63:9;67:12,     microorganism (1)          16:4
lot (1)                       17;69:8;74:4;85:9,12;   15,25;68:1,2,14,16;          101:11                 motor (1)
   11:13                      131:12                  69:15,18,20,23;70:1;       microorganisms (3)         52:3
Louisiana (2)                marker (2)               71:5,8,11,23,24;72:10,       80:23;98:16;103:14     mouth (4)
   14:13,14                   105:12;134:20           18,24;73:20;78:1;          middle (2)                 88:22,22,24,24
lower (4)                    markers (2)              95:22;97:19;104:18,          74:12;86:4             move (3)
   62:21;88:1;102:9;          78:21,25                23;105:6,13,16;106:11,     might (8)                  23:25;25:12;101:8
   123:22                    markings (1)             16,22;107:2,21;108:3;        13:17;24:2;76:18;      movement (1)
lung (14)                     134:2                   111:8;114:5;115:2;           109:12,13,20;117:23;     35:1
   122:24;123:11;            marks (1)                116:7;119:20;120:7;          135:12                 moving (1)
   125:12,21,23;127:11;       132:3                   122:15;125:25;126:3;       milligrams (9)             43:3
   135:1,2,10,10,13,15,16,   mass (1)                 127:23;128:2,6;130:2,        35:23;36:16;89:25;     much (6)
   21                         83:4                    3,3,10,15,17,22;134:3        90:1,9,16;107:9,12;      11:15;47:11,16;
lungs (19)                   matter (3)              medically (2)                 108:11                   93:22;101:3;102:24
   30:12,13;53:1;87:2,        10:24;11:2,6            18:12;27:7                 milliliters (2)          multifactorial (2)
   3;112:1;123:19;           may (18)                medication-induced (1)        100:17,19                31:1,5
   125:15;126:11,15,23,       6:4;8:6;15:7,9;20:17,   49:18                      mind (2)                 multiple (4)
   25;127:25;128:22;          24,24;24:22;30:15;     medications (2)               10:6;19:3                30:1;39:1;50:25;
   129:6,11;134:16;           40:4;48:3;49:11;72:6;   16:11;17:9                 mine (1)                   56:22

Min-U-Script®                                 Court Reporting Service, Inc. (316) 267-1201                     (9) lobes - multiple
              Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 46 of 53
Ruth Gray v                                                                                           John F. McMaster, M.D.
Conner Industries                                                                                          November 15, 2021

Murphey (1)             notice (3)                 60:5;91:11                5:20;29:17,21,24,25;       80:9;86:1;87:5;89:19;
 10:8                     6:10;7:9;132:2        occurs (1)                   57:19;62:23;66:20;         97:15;107:25;108:14;
must (1)                nowhere (1)                51:20                     70:7;74:25;96:13;          114:2;131:4,21;
 99:13                    130:4                 off (4)                      115:21;117:10;121:4,       133:13;135:11
                        number (20)                6:6;8:22;21:9;67:21       7,10,13,16;122:8,10;     own (2)
           N              8:22;9:2;36:16;       office (1)                   125:17,25;127:22;          44:4;89:10
                          37:11,20;38:13,17,20;    136:20                    128:23,23;130:6          oxidation (2)
name (5)                  39:4,9,10;59:25;69:7; officer (13)               opinions (26)                83:15,19
  23:9;25:18;26:4,6,8     71:15;73:3;74:3;91:15;   15:6,13,18,19;26:13,      5:25;28:7;29:7,11,       oxygen (26)
Nancy (1)                 112:22;131:11;132:24     14,24;37:24;68:15;        13,15;39:13;41:19;         44:22,25;45:9,13,18;
  96:25                 numbered (1)               71:8,25;72:10,24          43:5;95:1;100:23;          46:1,3,6,8,9,10,13,22;
Narrowing (3)             8:10                  officers (4)                 108:25;109:8,13,21,23,     47:1,5,11,16,22,25;
  33:6,22,24            Numbers (7)                69:18,20;71:11,23         24;110:2;113:22;           48:6,19,25;50:19;
naturally (1)             5:1;37:9;74:12;85:9;  officer's (5)                114:12,18,20,23;           52:25;53:11,20
  48:14                   131:20;133:15,19         26:19;42:14;69:15;        118:17;122:16;130:18
nature (2)              nutshell (1)               70:1;71:5               opportunity (1)                       P
  80:5;105:1              18:10                 old (1)                      126:10
necessary (5)                                      19:2                    opposed (2)                PA (1)
  47:16,23;53:22;                  O            once (5)                     93:23;94:17                26:11
  91:16;120:3                                      35:11;66:1,1,6;99:1     order (4)                  packed (2)
neck (3)                O2 (4)                  one (66)                     27:14;38:17;95:13,         87:9,18
  132:3,23;134:3          49:7;51:4;117:16,17      5:15;7:21;8:1,3,10;       14                       page (41)
need (12)               Object (42)                9:12;10:5,13;11:25;     ordered (3)                  14:20,21;25:24;
  8:5;15:17;18:14,25;     33:8,15;37:2;38:12;      12:16;13:13,16;18:14;     21:4,8;37:25               28:18;29:23;32:5;
  36:19;48:8;77:19;       44:24;45:14,19;46:19;    24:3;32:4,12,15;38:7;   ordering (1)                 40:24;43:3;66:19;
  85:14;123:4,6;133:21;   47:13;49:20;50:4;        39:1,3;43:5;44:2,9;       20:25                      69:13;70:11;71:17;
  134:14                  56:12;58:22;84:19;       47:23;52:1;55:18;       organ (7)                    73:6;74:11,14,14;
needed (3)                91:2;96:1;97:3,24;       56:20;57:22;58:3,3;       46:2,5,6,8,13;64:21;       75:16;76:5;86:1;87:7,
  11:21;15:20;47:11       99:18;101:4;102:13,      59:20;67:6;69:10,13;      75:2                       15;89:19;98:5;99:10,
needle (1)                25;105:24;106:8;         71:17;74:15;76:17;      organizations (1)            10;102:3;107:7;
  133:9                   107:15,22;111:4;         79:20;80:15,22;91:9,      21:15                      131:20,24;132:16;
needs (3)                 115:6,12,22;116:3,12;    10,14;93:21;94:21;      oriented (1)                 133:1,13,15,17,19;
  25:7;55:12;95:16        118:1,10,20;119:2,5;     96:25;100:10;101:8,       134:20                     134:13,15;135:11,16;
negative (1)              121:19;122:25;129:22;    14;102:23;104:3;        origin (1)                   136:3,12
  90:24                   130:8;134:10             110:7;112:21;116:19;      31:5                     pages (4)
Neuron (1)              objection (5)              118:4;120:21,23;        original (1)                 24:2;27:23;70:12;
  48:15                   96:16,19;108:7;          121:4,13;131:9;           8:14                       87:5
neurons (1)               116:23;121:23            133:16;134:7,18,18;     originally (2)             paid (1)
  47:8                  objective (1)              135:3,19                  7:22;11:25                 11:15
new (5)                   112:24                ones (3)                   oropharynx (2)             pain (1)
  5:25;7:21;9:14;       observations (1)           14:24;109:16;110:7        88:18,21                   43:12
  13:16;14:24             127:9                 one's (1)                  others (1)                 panicking (1)
next (5)                observer (1)               24:2                      55:19                      125:13
  8:3,7,9;43:3;101:8      125:2                 one-week (1)               otherwise (3)              paper (1)
nine (1)                obtain (1)                 17:24                     49:10;60:15;62:19          105:3
  45:17                   19:21                 one-year (2)               out (27)                   para (1)
None (6)                obtained (3)               18:2;97:20                9:25;10:4,8;18:6;          88:16
  11:4;21:14;91:13;       26:23;63:24;99:22     online (1)                   19:22,24;27:11;37:16;    paragraph (14)
  118:24;119:16;132:25 obtaining (1)               50:23                     41:15;50:23;60:14;         29:24;57:5;59:3;
nonresponsive (2)         95:20                 only (15)                    62:11,12,21;69:13;         75:16;86:3,4;87:8,17;
  107:22;119:6          Obviously (3)              25:9;38:23;46:21;         71:17,18;88:11;89:16;      88:17;89:3;98:6,25;
nor (1)                   15:10;20:22;25:21        53:20;55:4;56:17,20;      104:6,12;120:6;127:1,      100:15;101:9
  98:2                  Occasionally (1)           59:20;68:9;88:2;          21;128:17;130:10;        paralegal (1)
normal (8)                15:14                    108:17;118:4;122:6;       135:20                     13:12
  31:16,17;32:18;41:8; occluded (2)                125:10;129:25           outside (9)                paralysis (2)
  61:24;62:19;125:2,3     87:9,18               onto (1)                     45:1;64:15;79:8;           44:23;51:19
normally (7)            occupational (1)           99:10                     80:14;81:6;82:18;        paralytic (1)
  60:22,22,23;122:22;     71:10                 open (1)                     84:13;112:14;134:24        44:6
  123:8,10,12           occur (3)                  110:1                   over (26)                  paralyze (1)
noted (3)                 53:4;62:11;134:9      opine (4)                    5:14;8:1,10;14:11,         52:2
  89:4;90:19;96:13      occurred (8)               29:16;40:14;81:6;         20;29:23;32:17;40:15;    paralyzed (3)
notes (2)                 10:23;25:21;28:11;       112:20                    45:10;62:22;66:18;         45:8;53:3;55:9
  11:11,14                29:10;54:17;58:13;    opinion (26)                 70:11;71:16;74:11;       parentheses (2)

Min-U-Script®                          Court Reporting Service, Inc. (316) 267-1201              (10) Murphey - parentheses
             Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 47 of 53
Ruth Gray v                                                                                                 John F. McMaster, M.D.
Conner Industries                                                                                                November 15, 2021

  35:22;98:14               132:20                      131:24;133:14,22           62:7                       112:15;126:8
part (11)                 perform (6)                pictures (4)                poor (2)                   practicing (4)
  19:10;20:2,15;21:1;       18:19,22;19:21;20:5,        28:22,23;52:12;            67:8,18                    17:21;20:7;24:21;
  26:19,24;59:16;77:7;      13;48:5                     134:14                   population (4)               101:25
  113:2,16;135:17         performance (3)            piece (2)                     32:18,19;82:9;           precisely (2)
participated (1)            43:25;45:1;71:24            41:20;136:13               116:25                     78:4,9
  23:4                    performed (11)             pilot (2)                   portion (7)                predict (1)
particles (1)               19:5;21:3,6,19;38:1;        18:15;67:19                89:20;96:11;97:2;          102:12
  129:15                    55:10;78:11;81:13;       pilots (11)                   104:11;121:22;124:6;     predispose (1)
particular (1)              94:10;95:7;101:18           16:9,10,18,24;17:3,5,      126:18                     33:10
  101:21                  performing (2)                8;18:11,14,17;63:21      position (1)               predisposed (2)
parts (2)                   49:3;71:12               pilots' (1)                   24:10                      31:15;32:9
  50:11;80:24             perfusion (1)                 67:22                    positions (1)              predisposes (1)
party (1)                   53:22                    pitfalls (1)                  15:20                      32:17
  26:17                   perhaps (1)                   75:20                    positive (3)               preferred (1)
pass (3)                    87:6                     place (7)                     90:23,24;93:5              82:2
  62:11,12,21             period (9)                    44:16;49:6;97:13;        possess (1)                pre-mark (1)
passageways (2)             43:11;95:10,16,19;          102:24;103:1,3;134:8       18:8                       8:23
  88:5,25                   120:8;124:21,25;         placed (2)                  possessing (1)             preparation (2)
past (3)                    127:7,19                    133:5,9                    63:12                      42:13;43:25
  10:1;40:7;125:22        periods (1)                placement (1)               possibility (6)            prepare (3)
pathologist (10)            80:10                       52:5                       55:18;75:3,5;80:7;         5:18;8:15;11:21
  21:12;78:25;80:6,12;    peripherally (1)           places (1)                    107:21;133:5             prepared (2)
  81:13;82:5;95:4;          51:4                        86:14                    possible (14)                29:14;85:24
  100:14;101:18;135:23    permanent (1)              placing (1)                   56:24;57:8,12,13,16;     preparing (1)
pathologists (1)            44:1                        44:1                       58:19;59:4;60:4;81:5;      42:19
  105:2                   permeable (1)              plaintiff (6)                 114:22,24;118:4;         presence (6)
Pathology (8)               80:17                       9:22;10:15,18;11:8;        134:12;136:2               30:10;75:9;76:3;
  73:19,21;91:17;         person (6)                    115:5,9                  post (2)                     81:22;91:7;98:16
  97:19;104:22;110:5;       48:1;49:15,25;92:1;      plaintiff's (3)               99:16;100:8              present (12)
  119:22;134:25             116:9,19                    7:5;10:4,20              postabsorptive (1)           20:21;23:11;28:3;
patient (4)               personnel (1)              plaque (1)                    99:1                       30:12;36:17;77:3;
  21:5;49:5;55:8;           28:2                        33:4                     postaccident (1)             78:14,17;88:18;90:14;
  126:11                  pertaining (1)             play (2)                      28:17                      122:1;125:7
patients (5)                36:24                       62:8;101:20              Post-equilibrium (2)       presentation (1)
  20:20;24:23,23;         pH (3)                     playing (1)                   65:4,7                     23:13
  95:23;126:20              82:12;112:7,10              62:10                    posterior (1)              presentations (2)
peer (11)                 phase (4)                  please (7)                    88:18                      23:12,16
  50:20;71:6,14,21;         66:6;91:12,24;99:1          5:16;9:1;96:9;           postmortem (55)            presenting (1)
  72:2,3,4,8,11,17;73:4   photo (4)                     121:20;124:4;126:16;       20:3,13;21:3,6;22:4,       29:20
peers (2)                   133:4;134:1,19;             130:12                     5;23:7,14,17,19,22;      presumed (1)
  72:9;73:3                 135:5                    plethora (1)                  26:20,23;30:8;40:8;        106:25
penetrate (1)             photographs (10)              41:15                      54:2,15;79:12;81:8,11,   presumption (1)
  120:19                    28:12,13,15,17,19;       plot (2)                      19;82:3;90:22,25;92:2;     106:13
people (14)                 29:1,2,6;30:9;115:1         102:7,8                    93:4;94:22,24;95:11,     pretty (3)
  18:4;20:22;22:8;        photos (1)                 plus (1)                      24;97:12,17,21;98:8,       62:16;79:19;91:14
  31:14,23;32:19;60:11,     131:10                      7:2                        21;99:12,17,25;100:9,    prevented (1)
  14;68:6;71:15;72:18;    phrase (1)                 pm (1)                        16,25;101:9,11;            51:24
  116:25;127:5,16           45:7                        136:23                     102:24;103:6,10,25;      preventing (1)
per (12)                  physical (7)               point (23)                    104:7;110:14;111:1,        44:10
  35:23;36:16;89:25;        18:18;37:19;38:14;          9:25;28:18;30:3,15;        18;118:19,21;119:12,     previously (4)
  90:1,9,16;100:17,18;      59:24;60:9,16;112:6         32:5;33:1;34:2;35:21;      25                         7:3;13:13;28:25;
  107:9,13;108:11,14      physician (12)                36:11;39:1,3,15;58:8;    potential (14)               119:18
perceive (5)                17:22;18:6;20:8,11,         59:2;66:19;78:4;86:22;     54:18,22;55:15;          primarily (2)
  50:12;60:7;61:11;         13,20;21:2;37:24;47:9;      91:13,16;95:20;            56:17;57:7,11,21,25;       34:19;97:14
  112:17;123:24             68:15,16;73:3               117:25;133:11;134:8        74:23;81:2;86:21;        primary (3)
percent (11)              Physicians (2)             pointed (1)                   113:5;119:11;122:8         94:21;111:11,16
  35:6,8;48:25;49:8;        25:17;51:13                 10:4                     potentially (7)            principles (1)
  53:12;57:17;93:13;      physiology (1)             pointing (1)                  55:6;59:21,22;63:1,        43:10
  114:12,14,17,22           61:4                        135:3                      3,19;80:9                printed (2)
percentage (1)            pick (2)                   points (1)                  practice (8)                 9:7;36:20
  32:19                     116:9,19                    123:13                     20:15;25:10,24;          printed-out (1)
perfectly (1)             picture (3)                pool (1)                      51:11,14;111:14;           6:21

Min-U-Script®                            Court Reporting Service, Inc. (316) 267-1201                         (11) part - printed-out
             Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 48 of 53
Ruth Gray v                                                                                               John F. McMaster, M.D.
Conner Industries                                                                                              November 15, 2021

printout (1)                 30:16                                               24;97:1;98:18;99:4,13;     110:2
  131:13                   pronunciations (1)                   Q                100:19;102:15;104:9,     refer (3)
prior (2)                    79:20                                               10;105:3;110:6,9,12;       37:4;87:20;134:2
  10:3;91:11               propensity (1)             qualified (1)              121:20,21;122:12;        reference (3)
privileges (1)               63:13                      18:13                    124:4,5;126:16,17;         7:11;22:18;119:17
  24:16                    proper (1)                 qualify (1)                136:19                   referenced (3)
privy (1)                    27:9                       80:19                  reading   (2)                42:12;74:7,10
  30:9                     protein (1)                qualitative (1)            102:8,18                 references (3)
probably (4)                 19:7                       22:14                  ready (2)                    104:16,17,20
  10:22;40:15;89:18;       proteins (2)               quality (4)                67:20;131:7              referring (3)
  130:9                      78:21;79:2                 61:23;98:12;129:14,    real (2)                     36:14,16;82:11
procedure (4)              protocols (5)                16                       105:6;131:17             refers (2)
  43:23;44:2;55:10;          22:16,19,21,22;27:9      quantifiable (1)         realization (3)              83:17;99:25
  83:20                    provide (1)                  120:3                    58:14,20;59:5            reflect (1)
procedures (1)               113:23                   quantification (1)       really (4)                   99:3
  45:2                     provided (15)                94:16                    36:19;91:16;116:14;      reflected (1)
proceeds (1)                 5:22;6:19;13:14;         quantify (1)               125:13                     13:4
  113:11                     77:7,12;98:24;104:4,       36:22                  re-ask  (1)                regard (1)
process (5)                  13;109:1,20;112:20;      quantitative (1)           96:20                      59:18
  27:1;43:23;44:14;          113:20;114:17;126:6;       22:15                  reason (16)                regarding (2)
  52:1;72:17                 130:24                   quick (2)                  8:24;51:8;55:4;            117:10;122:8
processes (2)              providers (3)                84:25;105:6              86:16;93:2,16,17,21;     regardless (1)
  30:25;31:4                 23:23;50:25;71:10        quickly (1)                104:25;109:6,8;111:5;      12:3
produce (5)                providing (2)                47:1                     112:5,8,15;132:6         regards (1)
  80:9;81:3;94:22;           24:17;55:11              quite (1)                reasonable    (2)            98:20
  95:18;110:13             proximal (5)                 45:4                     26:18;54:16              Regional (4)
produced (12)                122:24;123:11,18;        quits (2)                reasons (2)                  24:19;25:3,8;26:5
  7:3,22;8:14;11:25;         125:11;136:7               128:13;129:3             67:25;108:21             regular (1)
  28:25;48:23;50:15;       public (1)                 quoted (1)               recall (20)                  58:11
  69:11;80:1;92:9;110:2;     23:24                      36:21                    7:18;10:6,17,24;         regulate (1)
  119:24                   publication (6)                                       11:2,13;12:24;14:25;       16:18
producing (2)                69:19,22;71:6;92:22;                 R              15:7,10;21:8;24:7;       regulating (2)
  70:15,23                   104:20,24                                           28:1;36:21;40:1,5;         16:8;17:3
product (1)                publications (3)           raises (2)                 44:7;62:10;68:25;        regulation (3)
  43:9                       104:18;130:22,25           56:21;112:7              81:23                      18:20;108:13,18
production (26)            published (7)              ramifications (1)        received (1)               regulations (2)
  7:5;81:8,19;91:1;          50:20;68:20;69:20;         23:23                    122:6                      18:21;108:10
  94:25;95:12,15,24;         71:7,9;92:19;104:21      rapid (17)               recent  (1)                relative (1)
  97:13,17;99:12,17;       pull (9)                     43:7,16,20,22;44:9;      91:10                      42:6
  100:1,9;101:9;102:24;      27:11;123:18;              45:1;49:3;51:20,23;    recertified (1)            release (1)
  103:6,11,25;104:8;         126:14,22,25;127:4,24;     52:23;53:2,7,12;54:24;   15:1                       79:9
  111:18;118:19,22;          129:6,11                   55:5,9;117:9           recess (2)                 released (1)
  119:12,21;120:4          pulled (7)                 rare (1)                   39:17;85:7                 79:3
profession (1)               89:21;122:23;123:9,        101:2                  recognized (2)             reliability (2)
  69:23                      10;127:11;128:21;        rate (2)                   72:9;91:17                 72:20;130:6
professional (5)             130:15                     65:9,10                recognizes (2)             reliable (16)
  23:25;24:4;25:12;        pulmonologist (1)          rates (1)                  46:13,15                   43:9;51:2,7;69:22,
  105:16;130:3               61:3                       12:2                   recollect  (2)               25;71:22;73:20,21;
professionals (1)          pumping (4)                rather (1)                 10:3;40:17                 92:25;93:3;104:17,19,
  72:19                      30:22;31:8;129:3,8         76:20                  recollection (1)             23;105:10,18;128:22
professions (1)            purple (1)                 ratio (4)                  12:18                    reliance (1)
  69:24                      132:3                      94:1;102:4,10,20       reconstruct    (1)           43:6
professor (1)              purported (1)              ratios (1)                 29:9                     relied (8)
  24:8                       43:6                       99:3                   record (2)                   39:3,9;68:2;92:22;
profile (1)                purpose (2)                reached (1)                7:13;121:3                 100:22;109:3;117:24;
  25:25                      55:11,11                   109:6                  records  (5)                 122:19
progressive (1)            put (15)                   react (1)                  7:3;118:24;119:9,10,     relies (2)
  30:25                      6:4;9:11;14:1;18:10;       50:12                    11                         47:4,5
proliferation (2)            24:23;27:14;38:13;       read (35)                recredentialing    (1)     rely (8)
  82:16;112:12               69:10;76:18;90:3;92:8;     30:5;34:6;41:11,25;      23:10                      41:18;43:16;51:16;
prone (1)                    107:23;109:24;123:13;      42:18;43:12;66:24;     red (1)                      69:24;101:17;105:3;
  31:24                      131:20                     68:12;75:21;76:8;        86:12                      122:15,18
pronunciation (1)                                       77:15;92:16;96:8,10,   reevaluate (1)             relying (1)

Min-U-Script®                             Court Reporting Service, Inc. (316) 267-1201                      (12) printout - relying
             Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 49 of 53
Ruth Gray v                                                                                                 John F. McMaster, M.D.
Conner Industries                                                                                                November 15, 2021

  117:9                      126:2                        14:9                  sawdust (68)                selected (1)
remain (4)                 required (4)                right (55)                  30:10,12;31:9,12;           93:14
  47:12;49:4,5;66:17         22:2;47:8;95:11;             6:8;10:16;19:24;         33:23,25;43:18;51:21;    self-confidence (1)
remember (14)                113:11                       21:10;27:13;30:5;32:1,   52:7,11,13,15,18,20;        41:10
  10:12,14;11:6;12:25;     research (1)                   2;34:6;39:20;40:5;       54:11;55:7;57:11,21;     self-explanatory (1)
  13:3;28:13,19;29:1,3;      130:23                       41:11;43:12;46:14;       58:1,15,17,21;59:6,11,      36:2
  40:19;50:22;107:3;       residency (1)                  48:9;50:16;55:14;        22,23;60:17;61:14,18,    send (2)
  125:15,16                  17:23                        64:17;66:1,24;69:3;      21;86:13,16,19;87:2,9,      19:24;136:20
remodel (1)                respect (4)                    72:18;74:13;75:5,21;     19;88:17,23;115:20;      senior (3)
  64:10                      15:16;63:10;92:13;           76:14;83:1;85:12,13,     120:11,12;122:22;           15:22;17:11,15
remodeling (1)               129:1                        22;87:23,23,25;88:2,6,   123:9,10,16,18;124:12,   sense (1)
  64:11                    respectfully (1)               7;89:22;90:16;98:18;     14,19;125:11,14,20,23;      61:14
rendered (1)                 135:4                        99:4,14;100:20;102:3;    126:1,10,22;127:4,11,    sent (2)
  124:17                   respiratory (21)               107:6;110:22;111:2;      24;128:21;129:6,11,14,      6:10;19:22
rendering (1)                30:3;44:17;46:11;            117:15;118:9;120:23;     16,25;130:7;135:20,24    sentence (5)
  44:3                       52:2;60:24;61:1,22,23;       134:19;135:1,4,10,15, saying (10)                    29:25;60:2;75:17;
renewable (1)                87:6;117:18;123:22;          16                       36:10;42:25;54:7;           88:16;99:1
  18:3                       124:9,20,24;125:1,20;     right-hand (1)              59:3;67:1;88:23;99:6;    sequence (17)
rephrase (2)                 127:8,18;128:16;             131:21                   101:2;102:15;107:25         43:7,17,21,22;44:10;
  58:18,23                   129:7,10                  rigor (2)                scab (2)                       45:1;49:3;51:20,23;
replenished (1)            response (3)                   80:4;95:9                89:6,18                     52:23;53:2,7,12;54:24;
  46:11                      7:4,9;124:13              risky (2)                scatter (2)                    55:5,9;117:9
report (60)                responsive (2)                 67:8,17                  102:7,8                  serve (1)
  8:2,7,9;11:22;27:11,       6:24;7:10                 Rock (3)                 scenario (1)                   16:8
  19,22;29:12,12,18;       rest (1)                       24:19;25:2,8             61:6                     serves (1)
  40:25;42:1,3,13,19;        86:24                     role (6)                 scene (1)                      16:20
  43:3,4;54:21;55:20;      result (6)                     19:12;20:2,12,24;        28:17                    services (3)
  56:19,20;57:1,24;          52:17,19;60:1;122:5;         112:17,19             schedule (8)                   20:5;24:17;26:11
  66:19;78:16,23;81:18,      124:3;134:10              room (5)                    6:21,23;11:25;12:3,      set (2)
  21;83:2,4;85:13,24;      results (9)                    37:23;39:15;47:9;        5,13,19,22                  80:5;133:19
  87:4;89:20;91:8;92:17;     19:25;26:15,18,22,           68:15;130:5           scheme (1)                  setting (1)
  95:3,9;99:24;100:12;       22;27:6;40:9;68:21;       RSI (1)                     65:24                       7:17
  101:22;103:4,8,10;         84:20                        50:18                 school (3)                  settings (1)
  106:4,18;107:8,24;       resuscitation (1)           rule (2)                    23:5;24:9;97:19             22:13
  108:19;109:25;110:24;      132:25                       104:6,12              scientific (4)              several (2)
  115:2,3;116:19;          resuscitative (1)           rules (2)                   49:1;50:15;72:20;           40:22;119:23
  117:16;118:8;119:14;       134:6                        5:14;18:20               114:5                    severe (1)
  122:10,13;132:6          retained (5)                                         scientifically (1)             132:11
reported (4)                 8:19;9:22;10:15,20;                  S                128:23                   shall (1)
  84:21;98:2;100:19;         11:7                                               sclerae (1)                    56:21
  101:22                   retrograde (1)              same (21)                   86:6                     share (1)
reporter (11)                75:17                       12:2,16;13:13,15,19,   scope (1)                      133:23
  6:3;69:4;70:16;          review (32)                   20,25;22:6;25:13;         81:6                     short (4)
  84:23;96:10;97:1;          10:23;15:6,13,18,19;        53:15;55:8;59:18;76:5; screening (1)                  55:25;124:21,24;
  104:10;121:21;124:5;       26:13,14,19,24;37:24;       90:12,13;110:19;          15:16                       127:7
  126:17;131:7               42:14;50:21;68:14;          116:21,23;121:23;      second (11)                 shoulder (1)
reports (4)                  69:15,18,20;70:1,6;         129:7;136:13              17:14,17;18:5,24;           134:2
  16:22;78:18;104:13;        71:5,6,8,11,23,24;        sample (7)                  24:3,15;70:11;86:1;      shovel (1)
  112:20                     72:10,17,19,24;109:15;      64:18;65:2;93:8;          98:25;99:10;102:3           60:14
represent (2)                112:19;115:1;126:6          95:21;98:13;103:13;    second-to-the-last (1)      show (4)
  77:15;134:23             reviewed (21)                 122:6                     74:14                       45:17;75:2;133:14;
representative (1)           5:20;6:11,13;27:23,       samples (2)              section (3)                    136:3
  11:21                      25;28:12,13,14,19;          84:6;98:8                 22:23;24:1;90:18         shown (1)
request (2)                  71:14,21;72:2,3,4,8,11;   sat (1)                  sedentary (1)                  49:2
  6:25;7:5                   73:2,4;109:20;119:16;       49:7                      60:15                    shows (1)
requested (2)                131:10                    saturation (3)           seeing (2)                     54:15
  6:18;78:25               reviewing (4)                 46:21;50:19;53:21         8:17;132:19              sic (1)
requesting (1)               5:24;26:20,22;110:1       saturations (3)          seemed (3)                     8:2
  81:15                    reviews (1)                   51:4;117:16,17            51:2,6,8                 side (7)
requests (1)                 26:14                     saved (1)                seems (1)                      14:1,2;76:18,18;
  70:16                    revise (1)                    68:17                     72:15                       110:22;111:2;135:4
require (4)                  110:2                     saw (1)                  sees (1)                    sign (3)
  10:2;95:19;123:23;       revised (1)                   135:14                    20:20                       31:2,4;136:20

Min-U-Script®                             Court Reporting Service, Inc. (316) 267-1201                             (13) remain - sign
              Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 50 of 53
Ruth Gray v                                                                                                  John F. McMaster, M.D.
Conner Industries                                                                                                 November 15, 2021

significant (5)              37:1;44:22;81:10;          39:25                       53:25;55:6,16,23           54:9;57:9;58:19,21;
   28:9;95:15,24;97:11;      105:11,19;123:15        staff (5)                   stopping (1)                  59:19;60:4,12;79:2,10;
   118:22                  sometime (2)                 24:16,18,19,20,22           39:15                      128:10;129:2
similar (4)                  12:25;25:21             stage (5)                   stops (1)                   sudden/irreversible (1)
   22:6;76:10;91:14;       somewhat (3)                 66:4,12;70:20;76:11;        49:16                      30:3
   126:23                    51:22;66:17;95:3           91:22                    storage (2)                 suffer (1)
simple (2)                 sorry (9)                 stages (2)                     98:17;111:17               60:12
   72:15;107:23              42:21;48:12;55:1;          73:8;127:17              stored (1)                  suffered (2)
single (2)                   96:25;101:6;102:14;     stamped (1)                    78:11                      57:9;58:19
   117:3,5                   109:7;131:23;132:14        7:11                     stress (11)                 suffering (1)
sit (25)                   sort (6)                  stand (1)                      57:10,20,22,25;58:5,       43:12
   7:18;10:6,16;12:24;       18:16;31:2;41:13;          16:3                        11,12,14;59:7,16,25      suffocating (2)
   15:10;28:1;31:12;         49:17;54:9;89:11        standard (2)                stressed (1)                  49:25;54:11
   32:24;33:19;39:25;      sounds (6)                   21:23;108:18                59:20                    suffocation (1)
   40:16;41:23;70:9;         20:17;45:25;71:20;      standpoint (1)              strike (7)                    51:21
   82:10;83:22;94:19;        72:1;117:22;129:19         26:15                       40:6;43:15;44:20;        suggest (2)
   109:1,10,11,15;111:6,   source (9)                start (2)                      45:7;82:21;93:17;          13:25;67:6
   12;112:16;114:19;         73:15,21;74:8;77:6,        62:15;124:13                109:7                    suggestive (2)
   118:16                    11,16;92:12;111:11,16   started (1)                 striking (1)                  34:4;66:22
sitting (3)                sources (4)                  124:2                       134:10                   suitability (2)
   10:2;40:21;135:8          79:15,18,25;80:2        state (3)                   strongest (2)                 18:8,8
situation (9)              span (1)                     17:23;43:24;92:1            115:4,21                 supplement (1)
   52:24;55:22;92:1;         24:2                    stated (3)                  struggle (1)                  7:4
   123:1,2;128:3,5,7,11    spare (1)                    118:24;119:7,8              132:8                    support (1)
situations (2)               61:4                    statement (2)               struggling (4)                44:17
   52:23;114:8             speak (2)                    97:6;112:9                  45:7;90:12;124:16;       supports (1)
six (3)                      58:7;68:23              statements (1)                 129:5                      109:8
   27:23;28:12,20          speaking (3)                 57:6                     studied (2)                 suppose (1)
size (3)                     65:22;66:7;94:12        statistical (1)                45:6;79:9                  7:8
   31:12;89:12;93:8        speaks (1)                   93:9                     studies (11)                Sure (16)
sized (1)                    60:2                    statistician (1)               45:12,17;46:17,23,         8:22;9:8;10:19;
   31:16                   spec (1)                     93:10                       25;47:10;53:10;            14:11;22:18;27:3,8;
skip (1)                     83:4                    status (1)                     117:24;122:9,12;126:3      32:22;39:16;71:20;
   8:1                     special (1)                  14:17                    study (10)                    72:1;80:18;82:17;
slash (1)                    24:3                    statute (10)                   16:4;53:15;61:4;           87:13;102:18;135:7
   24:4                    specialization (1)           35:25;36:5,21;106:2,        77:15;78:2;93:4,11,16,   surrounding (1)
sleep (1)                    100:11                     20,21;107:7;108:3,8,17      17;130:18                  95:5
   61:4                    species (3)               statutes (2)                subclinical (8)             survive (2)
sleeps (1)                   101:10;110:13,16           37:4;108:9                  34:4;66:22;67:3,13;        48:8,10
   61:2                    specific (4)              statute's (1)                  70:14,20;76:20;77:19     sweating (2)
small (2)                    41:20;54:1;58:9;           37:13                    subclinically (1)             35:9,14
   89:17;129:14              97:18                   statutorily (5)                71:1                     sworn (1)
smaller (1)                specifically (6)             105:22;106:5,7,19;       subdivides (1)                5:6
   88:4                      8:23;17:3;42:11;           107:1                       88:1                     synthesis (3)
snow (1)                     68:1,13;82:10           statutory (6)               subject (7)                   79:12;97:22;100:16
   60:14                   specifics (2)                35:24;107:10,14,19;         44:3,10;45:8;51:23;      system (12)
sobriety (4)                 42:2;119:24                108:1,2                     53:7;96:16,18              35:5;44:18;46:2,8,
   76:14,15,20;77:19       specify (1)               step (1)                    subjects (2)                  13,15;64:21;87:6;
societies (1)                37:5                       44:13                       52:25;53:6                 120:13;121:8,17;122:2
   25:13                   specimen (3)              steps (3)                   submission (1)              systems (2)
society (3)                  19:6,24;98:13              44:2,9;52:1                 72:19                      46:6;75:2
   24:4;33:9;130:3         specimens (3)             sterile (1)                 submit (1)
someone (33)                 19:21;22:8;27:4            83:25                       16:22                               T
   31:16;34:17,23,25;      speculate (3)             still (15)                  subscribe (1)
   35:11;37:16;38:10,19,     33:18;115:24;132:24        14:12,12,21;15:22,          50:24                    table (10)
   24;39:23;40:9;43:20;    speculation (5)              25;24:8;54:10;56:10;     substance (2)                  73:6,7,10,16;74:8;
   47:12;60:20;61:2;         32:25;118:4;121:24;        91:18,24;124:20,22;         34:9;126:14                 76:5,6;77:12,13;102:4
   65:12;70:20;79:1,6;       134:7,7                    125:19;127:7;128:16      substances (2)              talk (4)
   80:15;89:4,4;115:18;    speculative (2)           stomach (2)                    126:22,23                   42:9;47:10;69:1;
   116:11,22;122:21;         75:17;115:23               91:18,25                 substrates (1)                 70:19
   123:8,9;124:11,17;      speed (3)                 stop (1)                       94:21                    talking (17)
   126:14;127:24;129:6       41:8;77:2,7                56:25                    sudden (15)                    34:8;37:13;41:13;
someone's (6)              spending (1)              stopped (4)                    30:2;31:24,25;32:18;        43:4;48:13;54:18;68:7,

Min-U-Script®                            Court Reporting Service, Inc. (316) 267-1201                        (14) significant - talking
               Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 51 of 53
Ruth Gray v                                                                                                      John F. McMaster, M.D.
Conner Industries                                                                                                     November 15, 2021

   9;80:20;83:13;86:5;          40:8;42:10;68:18,21,        5:18                        21:5                       43:24;55:24;56:2,4;
   106:13,14,16,21,25;          24;81:12,15;82:3;        together (1)                tree (1)                      122:22;123:9,12,15,16;
   107:1                        83:18,20;84:6,12;           123:13                      88:11                      124:3,12,17;126:15,24;
talks (10)                      90:23;92:2;93:5;95:11;   told (1)                    trial (2)                     127:3,12,17;128:14,21;
   41:16;47:15;68:3;            98:21;122:5                 107:2                       9:18;10:18                 129:21;135:25
   81:18,21;88:17;93:25;     tests (9)                   took (5)                    tried (1)                   unconsciously (1)
   99:24;103:23;132:6           18:19,22,23;20:25;          81:14;95:2;97:19;           133:16                     130:7
teach (5)                       38:18;44:21;70:24;          102:24;103:1             trier (2)                   uncontaminated (1)
   23:16,19,21,23;              71:12;84:10              top (6)                        116:6,15                   27:4
   114:25                    textbook (1)                   21:9;42:22;74:13,13;     triers (1)                  under (20)
teaching (1)                    71:22                       85:21;136:11                114:6                      18:19;29:23,24;
   114:9                     that'll (1)                 topic (2)                   tries (1)                     55:10,22;59:10,15;
technique (1)                   79:5                        68:24;69:1                  68:7                       66:20;74:20,25;75:7;
   98:14                     therefore (2)               topics (1)                  triggered (1)                 78:10;86:3;87:7,8,13;
technology (1)                  67:18;119:7                 23:11                       59:5                       89:3;106:14;108:1;
   22:5                      Thereupon (2)               torso (1)                   trust (1)                     121:5
telling (3)                     39:17;85:7                  131:25                      6:7                      undergo (2)
   48:17;128:18,24           thickening (4)              total (1)                   try (7)                       17:20;54:9
tells (2)                       30:21;31:6,7;32:6           61:8                        7:25;8:23;9:19;11:9;     undergoes (4)
   100:23;105:17             third (6)                   totally (1)                    12:19;62:15;125:14         43:20;56:3;79:1;
temperature (1)                 7:4;17:14,17;18:5,          45:18                    trying (10)                   82:13
   101:12                       24;86:3                  towards (2)                    37:15;42:22;51:3;        undergoing (1)
ten (1)                      though (5)                     17:3;75:16                  60:16;61:20;124:23;        53:7
   45:18                        15:18;20:18;51:14;       toxicologist (1)               125:6;127:1,21;128:17    undertake (1)
tend (2)                        79:20;85:17                 21:10                    tube (2)                      67:7
   12:18;24:23               thought (2)                 toxicology (4)                 44:16;49:10              underwent (3)
tendency (1)                    24:15;58:13                 73:22;89:20;92:20;       tubes (1)                     57:13,14;79:6
   19:8                      three (9)                      110:11                      87:21                    unilaterally (1)
ten-year (1)                    16:16;19:3;29:5,6;       toxin (1)                   turn (1)                      70:10
   15:3                         38:7;88:2,7;91:15;          64:3                        86:1                     units (1)
term (3)                        109:24                   Trachea (4)                 two (22)                      90:13
   43:22;58:11;134:3         threshold (4)                  88:6,19;136:6,14            5:13;20:18;24:2;         University (1)
terminology (2)                 47:19,21;49:13;          track (1)                      26:8;42:5,12,23;50:19,     24:9
   36:6;76:25                   107:24                      11:10                       25;52:23;55:3;70:12;     unless (5)
terms (3)                    throat (1)                  tracking (1)                   77:19;88:2,8;91:9,12;      49:25;58:8;110:6,24;
   37:14;77:19;90:3             88:25                       42:24                       109:23;112:21,22;          113:10
terrible (1)                 throughout (2)              tract (1)                      123:12;130:16            unreliable (1)
   79:19                        34:18;65:16                 80:24                    Tyler (2)                     43:14
test (7)                     tibia (1)                   trailer (1)                    8:4;85:14                unresponsive (1)
   18:2,16;19:7;21:4;           133:6                       29:3                     type (4)                      53:5
   39:6;67:22;90:19          tightly (2)                 training (21)                  19:14;36:23;37:6;        untimely (3)
tested (2)                      87:9,18                     16:8,13,14,17;17:1,         83:18                      112:23;121:9,15
   91:15;110:21              till (1)                       25;19:16;23:10;43:8;     types (1)                   untrained (1)
testified (4)                   95:20                       63:5;83:7;97:14;            22:13                      125:2
   5:7;40:3;119:23;          times (5)                      101:24;106:17;117:1;     typically (5)               unwitnessed (2)
   125:10                       40:7;119:23;126:9,          119:20;122:19;126:5;        22:12;50:24;83:9;          54:2;118:13
testify (1)                     13;130:24                   127:2;128:19;134:25         100:16;133:10            up (22)
   29:14                     tissue (7)                  training/verification (1)                                 7:17,25;8:24;9:19;
testimonies (1)                 36:17,23;37:5;39:7,         16:1                                U                  14:8;24:17;25:25;
   10:5                         10;47:5;136:13           transected (1)                                            34:19;49:11;62:13;
testimony (29)               tissues (5)                    136:13                   ultimate (1)                  78:24;79:20;85:5,21;
   5:21,25;6:21,23;             34:20;45:21;105:15;      transferable (2)              16:23                       87:25;97:22;100:23;
   7:20;8:11,14,18;9:5,         111:16;121:8                90:2,11                  unable (10)                   101:3;105:5;109:18;
   18;10:4,17,19,23;11:9;    today (26)                  transpired (1)                44:3;45:8;52:18,20,         117:24;136:11
   12:16;27:23;32:7;            5:15;6:18;11:24;            117:21                     25;53:8;61:10,11,14;      up-close (1)
   39:22;55:14;57:12,24;        12:24;14:22;24:12;       transpires (2)                103:4                       134:1
   70:3;75:6;97:5;107:3;        28:1;31:12;32:24;           128:9;129:2              unanticipated (1)           update (1)
   124:11,15;135:24             33:19;40:21;41:23;       transportation (1)            30:2                        12:20
testing (44)                    50:25;82:10;83:22;          22:2                     unaware (2)                 updated (17)
   19:6,10,14,17,20,22;         94:19;109:2,10,11,15;    trauma (6)                    53:5;61:17                  6:21,23,23;7:20;
   20:3,4,14;21:3,7,16,24;      112:16;114:19;118:16;       49:18;50:1;98:14;        unbiased (2)                  8:20;9:5;11:24;12:5;
   22:1,4,5,15,17;23:7,14,      119:23;136:17,19            101:13;132:8,12            116:10,20                   13:2;15:7,9,11;23:1;
   17,20,22;26:16,21,25;     today's (1)                 treat (1)                   unconscious (21)              24:6;25:7,15;39:21

Min-U-Script®                               Court Reporting Service, Inc. (316) 267-1201                              (15) talks - updated
               Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 52 of 53
Ruth Gray v                                                                                                  John F. McMaster, M.D.
Conner Industries                                                                                                 November 15, 2021

updates (1)                validity (4)                 19;93:19;99:3,6             10:22;40:22;41:6;
  16:15                       27:6;84:9,11;93:9       water-contained (1)           76:3;80:7;88:18;90:21;              0
upon (3)                   variable (2)                 34:20                       98:23;99:21;104:3;
  46:7;48:4;129:25            94:3;102:20             way (25)                      121:8                    0 (1)
upper (4)                  variety (2)                  32:4,12,15;35:4;          without (4)                   102:14
  50:11;88:1;125:21;          82:25;116:25              56:8,8;58:24;64:1,6;        10:7,10;29:19;39:25      00 (1)
  132:3                    various (2)                  81:5;85:24,25;88:24;      witness (2)                   108:14
uptake (1)                    42:10;103:23              90:3;100:10;101:14;         114:4,10                 01 (1)
  65:9                     vein (2)                     102:18,23;105:10,18;      witnesses (2)                 76:11
UpToDate (2)                  94:15;133:11              120:21,23;125:3,11;         52:11;117:20             039 (4)
  50:18;51:10              ventricular (4)              131:2                     wondering (1)                 89:25;90:3;94:9;
UpToDate's (1)                30:18;31:14,23;54:3     weather (1)                   132:21                      102:10
  50:23                    venture (2)                  59:24                     Woolf (2)                  04 (16)
urinalysis (2)                40:14;101:19            week (2)                      6:11;7:16                   35:23;36:16;63:12,
  18:25;19:5               veracity (1)                 6:13,15                   word (3)                      16,18,22;67:16;94:8;
urinating (1)                 112:21                  weeks (1)                     57:11;76:8,8                105:21;106:4,18;
  35:16                    verify (1)                   120:6                     words (6)                     107:9,12,20,24;108:12
urine (13)                    111:7                   welcome (1)                   32:5;35:18;44:9;         041 (1)
  19:7;35:10,11;38:5,      versus (3)                   58:24                       58:10;59:9;124:22           67:19
  6,23;39:11;63:25;           10:7;92:14;105:18       well-respected (1)          work (7)                   05 (1)
  90:18,19,21,25;91:9      vessel (4)                   73:2                        11:16;15:12;113:8,          76:11
use (20)                      89:12,13,15,17          weren't (1)                   10,12;116:11,22          051 (2)
  14:16;23:23;38:18,       Via (5)                      113:23                    working (3)                   90:7,10
  20,23;39:1;44:6,16;         24:18;25:8,9;26:5,6     Wesley (1)                    11:11;12:3;47:8          07 (3)
  51:10,13;53:15;54:24;    victims (1)                  24:21                     works (1)                     97:23;100:17;101:3
  55:5;57:11;58:7;69:20;      20:6                    what's (7)                    72:17
  72:7;105:12;108:10;      viruses (2)                  13:4;17:10;36:20;         worth (1)                             1
  133:19                      86:23,24                  65:3;66:3;115:4,9           126:19
used (16)                  visual (1)                 whenever (1)                write (5)                  1 (6)
  22:3,5,10;37:9;             19:2                      38:17                       36:20;100:12;103:8;         30:3;94:1,6;100:18,
  50:24;62:6;69:17;        vitreous (64)              when's (2)                    106:1;133:17                24;102:19
  82:22,25;83:24;84:1;        34:3,8;36:3,14,18;        10:19;12:21               writing (1)                10 (1)
  90:13;94:21;117:18;         38:1;42:11,15;62:24;    whereupon (2)                 122:13                      40:16
  133:8;134:3                 63:17;64:13,15,18,20,     39:18;136:22              wrong (2)                  100 (6)
uses (2)                      21,24,25;65:4,8,9,19,   whole (1)                     70:5;117:23                 100:17,19;114:12,
  73:7;105:7                  20;66:8,16,20;67:1,9,     11:13                     wrote (2)                     14,17,22
Using (5)                     22,24;68:4,5;73:11;     Wichita (3)                   36:11;92:16              12 (4)
  27:5;58:10;76:1;            74:17;75:9,12;76:2;       20:8,12;126:9                                           95:25;104:15;
  105:17;108:7                78:15;81:25;82:22;      WILSON (90)                             X                 134:13,15
usual (1)                     84:5,17;90:6,15,24;       5:10;6:9;7:7,14;8:4,                                 12/16 (2)
  70:24                       91:8,20;92:4,14;93:5,     9,13,25;9:4,8,10;13:10,   x-ray (1)                     8:16,17
usually (2)                   11,18,20,23;94:2;         16,22;14:3,4;33:12,21;      135:6                    12:10 (1)
  64:25;78:18                 102:4,10,20;105:7,17;     37:12;38:16;39:16,19;                                   136:23
utilize (5)                   112:3;120:15,16,19;       42:8,17;43:1,2;45:3,16,               Y              14 (2)
  46:6;48:22;71:22,23;        121:9                     23;46:24;47:18;49:24;                                   135:11,16
  95:17                    Vituity (1)                  50:8;56:16;59:1;69:2,     year (1)                   18 (2)
utilized (11)                 26:4                      5,9;70:17,18;73:24;         10:22                       136:3,4
  21:25;22:7;42:12;        volunteer (1)                74:5;84:22,24;85:3,11,    yearly (1)                 19 (1)
  43:23;67:25;71:4;83:3,      24:10                     14,18;91:5;96:6,8,13,       40:15                       136:12
  10;92:12;118:3;133:10                                 14,24;97:9;98:4;99:23;    years (11)                 1982 (1)
utilizes (1)                         W                  101:7;102:17;103:2;         12:19;15:8;16:16;           23:5
  48:5                                                  104:14;106:3,12;            20:9,11;40:16;68:25;
utilizing (2)              wait (1)                     107:17;108:16;111:9;        97:15;114:3;126:8,19                2
  16:10;114:5                27:12                      115:10,17;116:1,8,17;     yeast (4)
                           wake (1)                     117:4;118:6,14,23;          78:14;86:22;110:16,      2 (13)
           V                 49:11                      119:4;122:3;123:3;          17                          14:20,21;28:18;
                           walls (5)                    124:10;126:21;129:23;                                   29:23;30:15;32:5,5;
VAC/BAC (1)                  30:21;31:7;32:7;           130:14;131:6,8,15,19;                 Z                 35:8;40:24;66:19;73:6;
  99:2                       33:4;80:16                 132:16,18;133:25;                                       102:2;107:7
vague (1)                  warning (1)                  136:9                     Zero (1)                   2/24 (1)
  115:13                     59:19                    winter (1)                     126:12                     14:10
valid (2)                  water (8)                    60:13                     zip (1)                    20 (3)
  27:7;128:23                34:12,15,18;65:16,       within (11)                    28:21                      28:14;40:16;114:2

Min-U-Script®                             Court Reporting Service, Inc. (316) 267-1201                               (16) updates - 20
                Case 6:20-cv-01037-TC Document 147-3 Filed 03/18/22 Page 53 of 53
Ruth Gray v                                                                             John F. McMaster, M.D.
Conner Industries                                                                            November 15, 2021

2015 (4)                   8:2;14:5
  10:7,11,11,16          68 (3)
2016 (3)                   8:2,10;9:13
  14:10;15:11;25:21      69 (2)
2018 (1)                   12:9;13:5
  15:2
2019 (3)                             7
  12:23;13:1;78:5
2020 (5)                 7 (1)
  8:16,17;12:6,23;13:1      78:5
2021 (4)                 70 (7)
  9:15;13:17;15:9;          5:2;27:12,17;28:18;
  83:22                     29:12,21;41:4
2028 (1)                 71 (6)
  15:2                      9:1,2,11,17;39:21;
209 (1)                     93:13
  93:13                  72 (14)
24-hour (1)                 69:2,6,7;74:8;76:6,
  120:8                     17,19,23;77:1,9,12;
25 (1)                      130:17,21;131:1
  114:3                  73 (6)
295 (1)                     73:25;74:3;77:3,11,
  93:5                      13,22
                         74 (3)
            3               84:22;85:9,12
                         749 (2)
3 (3)                       74:14;75:16
   33:1;87:7,15          75 (5)
30 (3)                      85:9;92:8;130:17,21;
   48:25;49:8;53:12         131:1
35 (2)                   76 (4)
   20:9;97:15               131:7,9,11,23
36 (5)
   20:10,11,11;126:8,                9
   19
37 (1)                   9 (1)
   20:9                     133:13
                         90 (1)
            4               33:16
                         98 (1)
4 (6)                       35:6
   66:19;76:5;94:8;
   131:23,24;132:16
4,775 (1)
   11:18
44-501 (2)
   106:14;108:17

            5
5 (4)
   35:21;36:11;89:19;
   133:1
51 (1)
   57:17

            6
60 (1)
  27:12
66 (2)
  5:1;6:5
67 (2)

Min-U-Script®                            Court Reporting Service, Inc. (316) 267-1201            (17) 2015 - 98
